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                                                                            Page 1
                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                NO. 9:18-cv-80176-BB/BR
              - - - - - - - - - - - - - - - - - - - - - - - - x
              Ira Kleiman, as the personal
              representative of the Estate
              of David Kleiman, and W&K Info
              Defense Research, LLC,
                          Plaintiffs,
                     v.
              Craig Wright,
                          Defendant.
              - - - - - - - - - - - - - - - - - - - - - - - - x
                                 *** CONFIDENTIAL ***
                           DEPOSITION OF GAVIN A. ANDRESEN
                     Wednesday, February 26, 2020 at 9:11 a.m.
                          COURTYARD MARRIOTT HADLEY AMHERST
                                   423 Russell Street
                              Hadley, Massachusetts 01035


              Reporter:     Lori-Ann London, RPR
                                 ____________________
                                 MAGNA LEGAL SERVICES

       Defendant's Designations
                       g              866-624-6221
       Plaintiffs' Objections        www.MagnaLS.com
       Plaintiffs' Counters
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         1                      APPEARANCES OF COUNSEL
         2    On Behalf of the Plaintiffs:
         3                By:   Velvel Freedman, Esquire
         4                Kyle Roche, Esquire (on telephone)
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        12    On Behalf of the Defendant:
        13                By:   Zalman Kass, Esquire
        14                RIVERO MESTRE
        15                2525 Ponce de Leon Boulevard, Suite 1000
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        19
        20    ALSO PRESENT:
        21                Mati Kiin, Vidgeographer
        22                Ira Kleiman (on telephone)
        23
        24
        25
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         1                       P R O C E E D I N G S
         2                      THE VIDEOGRAPHER:       Good morning.
         3    We're now going on the record.           This begins
         4    media -- videotape No. 1 in the deposition of Gavin
         5    Andresen in the matter of -- in the -- in the
         6    matter of the Estate of David Kleiman, et al,
         7    versus Craig Wright.        This matter is held in the
         8    United States District Court, Southern District of
         9    Florida.
        10                      Today is February 26, and the time is
        11    approximately 9:11 a.m.         Our deposition is being
        12    taken at the Courtyard Marriott Hadley Amherst at
        13    the request of Roche Cyrulnik Freedman LLP.
        14                      I am the videographer, and, again, my
        15    name is Mati Kiin, on behalf of Magna Legal
        16    Services.     And our court reporter is Lori London,
        17    here also for Magna Legal Services.
        18                      I will now ask counsel and all
        19    parties present to state their appearances and whom
        20    they represent.
        21                      MR. FREEDMAN:      Vel Freedman, for the
        22    Plaintiffs.
        23                      MR. KASS:     Zalman Kass, for Dr. Craig
        24    Wright.
        25                      THE WITNESS:      I'm Gavin Andresen, I'm
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         1    being deposed.
         2                      THE VIDEOGRAPHER:       Thank you.
         3                      Is there anyone remotely?
         4                      No.   Okay.
         5                      MR. FREEDMAN:      There is a conference
         6    line open, and people may be joining and dropping.
         7                      Do you want a record of who's on?
         8                      MR. KASS:     If somebody's on now, I
         9    think they should just state that they are.
        10                      MR. FREEDMAN:      If anyone's on the
        11    record -- if anyone's on the conference line, can
        12    you please announce yourself?
        13                      (Discussion off the record.)
        14                      MR. ROCHE:     We're having trouble
        15    hearing on the line.        Is there any chance you can
        16    move the phone or the microphone closer to the
        17    witness?     That would be helpful.
        18                      MR. FREEDMAN:      The witness hasn't
        19    spoken really yet.        You're hearing the videographer
        20    from across the room.        But we'll -- we'll push it a
        21    little closer to the witness.
        22                      In the interim, you guys were not on
        23    speaker, so we couldn't hear you.            Can you
        24    re-announce who's on the line telephonically?
        25                      MR. ROCHE:     Kyle Roche, Roche
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                                                                             Page 9
         1    Cyrulnik Freedman, counsel for Plaintiff.
         2                      MR. KLEIMAN:      Ira Kleiman, Plaintiff.
         3                      THE STENOGRAPHER:       I can't hear the
         4    name.
         5                      MR. FREEDMAN:      Ira Kleiman.
         6                      Anyone else?
         7                      (No response.)
         8                      MR. FREEDMAN:      All right, with that,
         9    I'm gonna take you off speaker and put you back
        10    next to Mr. Andresen.
        11                      (Pause.)
        12                      THE VIDEOGRAPHER:       At this point, I
        13    would like the court reporter to please swear in
        14    the witness, and we can get started.
        15                         GAVIN A. ANDRESEN,
        16    a witness called for examination by the Plaintiff,
        17    having been satisfactorily identified by the
        18    production of his Massachusetts driver's license,
        19    and duly sworn by the Notary Public, was examined
        20    and testified as follows:
        21                              EXAMINATION
        22    BY MR. FREEDMAN:
        23           Q     Good morning, Mr. Andresen.          My name is
        24    Vel Freedman, I represent the Plaintiff in this
        25    action.
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        1                      Have you ever been deposed before?
        2          A      I have never been deposed before, no.
        3          Q      So I'm gonna go over some of the ground
        4    rules so we can get through this easier and
        5    quicker.
        6                      It's sometimes more natural for
        7    people to respond with -- non-verbally with shaking
        8    your head yes or no, but in order for the court
        9    reporter to take down your answers, I need you to
       10    try to remember to give a verbal "yes" or a verbal
       11    "no" so we have a record of -- of the way you
       12    responded.
       13          A      Okay.
       14          Q      This is not a marathon.        If you need a
       15    break, let me know, we'll stop; you can go to the
       16    bathroom, take a drink, stretch your legs.
       17                      You understand that you're under oath
       18    today, and the testimony that you're going to give
       19    may be shown to a judge or jury, and they may rely
       20    on that testimony?
       21          A      Yes, I do.
       22          Q      And if you don't understand a question, I
       23    need you to ask [verbatim] me that you didn't
       24    understand the question.         If you don't ask me and
       25    you answer the question, I'm gonna assume you
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        1    understood it, and I'm gonna rely on that answer;
        2    is that fair?
        3          A      Yes.
        4          Q      Okay.   With that, are there any
        5    medications that you're taking today that would
        6    affect your ability to testify or recall events?
        7          A      No.
        8          Q      Okay.   Thank you.
        9                       Mr. Andresen, can you state your name
       10    and date of birth for the record.
       11          A      Gavin Alexander Andresen,
       12    1966.
       13          Q      And is that your birth name?
       14          A      That is the name on my birth certificate.
       15          Q      That was an interesting response.
       16          A      It's complicated.       I could get into it if
       17    you really want.
       18          Q      Why don't you give me the 30-second
       19    version.     We'll see if it has any relevance.
       20          A      The 30-second version is, actually I was
       21    born Gavin Alexander Andresen.          My birth
       22    certificate was changed to Gavin Alexander Bell,
       23    when my mom married my dad way back in 1970 -- '70.
       24    And then it was changed back, again -- I actually
       25    changed my name back to Gavin Alexander Andresen.
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        1    So it's complicated.
        2          Q      Got it.    And it sounds like it has no
        3    relevance, so thank you for that.
        4                      Can you tell us your residential
        5    address, please.
        6          A                                                        .
        7          Q      Okay.   And do you have a business
        8    address?
        9          A      I have an office at AmherstWorks,
       10    11 Amity Street in Amherst, Massachusetts.
       11          Q      Okay.   And you were born where?
       12          A      Melbourne, Australia.
       13          Q      And what -- sorry.       You told me your date
       14    of birth, but I've forgotten it.           What -- what was
       15    the year?
       16          A      1966.
       17          Q      '66.
       18                      And when did you leave Australia?
       19          A      1972.
       20          Q      And where did you go from there?
       21          A      Seattle, Washington.
       22          Q      And how long were you in Washington for?
       23          A      Let's see.     Moved from Seattle to Alaska
       24    when I was in third grade, which would be '74,
       25    maybe '75.
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        1          Q      And then...
        2          A      And then from Alaska, we moved to
        3    southern California; that was in '76, I believe.
        4          Q      Okay.   And were you in southern
        5    California for a while, or did you --
        6          A      I was in southern California, yeah,
        7    through most of high -- excuse me -- through most
        8    of school, although we did spend a couple months
        9    living in Arkansas --
       10          Q      Okay.
       11          A      -- when I was a freshman in high school.
       12    But most of that time was southern California.
       13          Q      All right.     And so when did you come to
       14    leave southern California?
       15          A      I went to college at Princeton University
       16    in Princeton, New Jersey, in 1984.
       17          Q      Okay.   And graduated...
       18          A      1988.
       19          Q      Okay.   And where did you go after you
       20    left Princeton?
       21          A      To -- let's see -- Mountain View,
       22    California.
       23          Q      Okay.
       24          A      Silicon Valley.
       25          Q      And were there until...
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        1          A      Well, I moved around different places in
        2    the Bay area from '88 until '96.
        3          Q      Okay.     And in '96, where did you -- did
        4    you -- were you still in California?
        5          A      I was still in California, yeah.
        6          Q      Did there come a time you left
        7    California?
        8          A      Yes.    In '96 we moved from Palo Alto,
        9    California, to Madison, Wisconsin.
       10          Q      Okay.   And when you left Wisconsin -- did
       11    there come a time you left Wisconsin?
       12          A      I left -- left Wisconsin --
       13          Q      You're here in Massachusetts.          Certainly
       14    there came a time you left Wisconsin.
       15          A      Yeah.   We moved from Madison, Wisconsin,
       16    to Amherst, Massachusetts --
       17          Q      There we go.
       18          A      -- in 1999.
       19          Q      Okay.   And have you been in Amherst
       20    since 1999?
       21          A      I have.
       22          Q      Okay.   Thank you for that.
       23                      And so let me take you back a second
       24    to your Princeton education.          Where -- what did you
       25    major in in Princeton?
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        1          A      I majored in computer science.
        2          Q      And then when you graduated in '88 and
        3    you moved to California, did you do that for job
        4    purposes or --
        5          A      Yes, I was hired by Silicon Graphics
        6    Computer Systems.
        7          Q      Okay.     And did you work for Silicon
        8    Graphics Computer Systems for a long time or --
        9          A      Eight years.
       10          Q      Eight years.
       11                      And what did you do for them?
       12          A      I wrote software.
       13          Q      Got it.
       14                      And so that would bring us to '96,
       15    when you moved to Wisconsin, also for job-related
       16    purposes?
       17          A      My wife got her PhD from Stanford.
       18          Q      Okay.
       19          A      And we moved to Wisconsin because she got
       20    a job at the University of Wisconsin.            So that's
       21    why we moved to Wisconsin.
       22          Q      And what about your job with Silicon
       23    Graphics?
       24          A      I left Silicon Graphics and started a
       25    startup with a -- a former coworker from Silicon
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        1    Graphics that failed.
        2          Q      Okay.   When -- when did it fail, what
        3    year?
        4          A      It was clear that it failed probably a
        5    year and a half, two years later.
        6          Q      Like around '98?
        7          A      Around '98.
        8          Q      And what did you do in '98?
        9          A      Let's see.     At that time, we moved here
       10    to Amherst, and I joined a startup up in North
       11    Adams.
       12          Q      What was the name of that startup?
       13          A      Resounding Technology.
       14          Q      How long were you with Resounding
       15    Technology?
       16          A      Oh, gosh.    They were -- two years.         They
       17    were purchased by another Silicon Valley company,
       18    Empath Entertainment.
       19          Q      Okay.   And what did you do for them?
       20          A      I wrote software again.        I was the chief
       21    technical officer.
       22          Q      And so when they sold, in about
       23    2000-ish --
       24          A      It was 2000-ish, yeah.
       25          Q      -- what did you -- did you leave at that
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        1    point?
        2          A      At that point, actually, I worked
        3    remotely for Empath for about a year.
        4          Q      Okay.
        5          A      And then -- let's see.        Our daughter was
        6    born around that time, and I stopped working for a
        7    while.
        8          Q      Got it.
        9                        And are you currently employed?
       10          A      No.
       11          Q      Okay.    Have you been employed since
       12    Empath?
       13          A      Yes.
       14          Q      Okay.    For who or in what capacity?
       15          A      Let's see.     After Empath -- I may get the
       16    order of -- of -- of this wrong, because I've done
       17    a fair number of things.
       18                       I believe after Empath I joined two
       19    University of Massachusetts graduates, and we
       20    formed a company called "Zform," which made games
       21    for blind people and their sighted friends and
       22    family.    I was the -- again, the chief technical
       23    officer and wrote a lot of the code.            That company
       24    eventually failed.       I -- I -- I stayed there for I
       25    think it was three or four years.
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        1                        I worked halftime for a web
        2    development company in Northampton, Massachusetts,
        3    called Gravity Switch --
        4          Q      Um-hm.
        5          A      -- doing kind of back-end web development
        6    stuff, three years -- two years, three years,
        7    something on that order.
        8                        Let's see.   After that, I joined a
        9    research group at UMass run by Andrew McCallum, who
       10    was a friend, doing machine learning stuff.              And,
       11    again, I was -- I was a programmer in that group
       12    doing various programming tasks that their -- their
       13    research group needed.
       14                      That takes me up to, I believe, 2009.
       15    And I quit that job in 2009 to go on a sabbatical
       16    in Australia.
       17          Q      Okay.    And since 2009, have you worked
       18    for anyone else, besides yourself?
       19          A      Yes.    I was hired by the Bitcoin
       20    Foundation as the chief scientist of the Bitcoin
       21    Foundation in -- I forget which year -- 2012,
       22    maybe.    I would have to go back and -- and check
       23    the years.     I'm very good at forgetting dates.           And
       24    was the chief scientist at the Bitcoin Foundation
       25    for several years.
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        1          Q      Okay.    Thank you.     That's very helpful.
        2                        Why don't we start with, can you tell
        3    me when you first heard about Bitcoin?
        4          A      I first heard about Bitcoin in May of
        5    2010, after I had gotten back from sabbatical in
        6    Australia.     I was looking for something interesting
        7    to do, and I ran across a magazine article about
        8    interesting open-source software projects, and I
        9    think Bitcoin was one of seven or eight interesting
       10    open-source software projects, and it struck my
       11    interest, and that's how I became interested in it.
       12          Q      Can we take one step back before we
       13    continue down this line, which is, would it be a
       14    fair -- would it be fair to say that the vast
       15    majority of your professional career has been in
       16    writing and developing code?
       17          A      Yes.
       18          Q      So you find out about Bitcoin in a
       19    magazine article in May of 2010.           What do you do
       20    after that?
       21          A      I remember reading the magazine article,
       22    and then finding the Bitcoin forum, which is where
       23    all of the technical and other discussion about
       24    Bitcoin was happening at that time.            Through that,
       25    I found the source code, so I could actually
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        1    download and read the source code.
        2                      Because, at first, I was skeptical
        3    that it would work.        It seemed like a crazy idea.
        4    But I could see that there was real source code
        5    there; there was actually a program I could run.
        6    So I downloaded it.        I ran it.    I tried it out.       I
        7    think I mined some Bitcoins.
        8                      And then shortly after that I decided
        9    I would do a little project involving Bitcoin, and
       10    so I created what's called the "Bitcoin faucet,"
       11    which is -- was a website that gave away Bitcoin to
       12    anybody who wanted some.         I think the faucet
       13    launched in June of 2010.
       14          Q      And how did the faucet get supplied with
       15    Bitcoin?
       16          A      I bought $50 worth of Bitcoin with my
       17    very own money.
       18          Q      And when is the first time you had
       19    contact with Satoshi Nakamoto?
       20          A      I think it was fairly early in -- again,
       21    in -- in May of 2010, and I contacted him via the
       22    Bitcointalk forums.
       23          Q      Did you -- so you mined Bitcoin in May of
       24    2010, approximately; is that -- is that right?
       25          A      I think so.     I'd have to go back and
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        1    check when I actually flipped the switch to mine
        2    some Bitcoin.
        3          Q      And then did you ever mine Bitcoin again
        4    after that?
        5          A      Very briefly in, maybe, 2011.          I got an
        6    early hardware miner and turned that on and ran it
        7    for a little bit and measured its power consumption
        8    and realized I was spending more in electricity
        9    than I was getting in Bitcoin, so then turned
       10    around and resold it.
       11          Q      So from -- from -- you mined some in May
       12    of 2000 -- or about circa May of 2010, and then not
       13    again until sometime in 2011?
       14          A      I think that's right.        Again, I'd have to
       15    go back and check when I actually got that
       16    hardware.     It might have been 2012.
       17          Q      Okay.   But at no point after that initial
       18    mining -- strike that.
       19                      After that initial mining, you did
       20    not mine again until you purchased the hardware, be
       21    that in 2011 or 2010 --
       22          A      Correct.
       23          Q      -- '12?    I'm sorry.
       24                      That's correct.      Okay.
       25                      So how did you come to be the --
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                                                                           Page 22
        1    well, let me strike that.
        2                        Did there come a time when you became
        3    the lead core developer of Bitcoin?
        4          A      At the end of 2010, Satoshi -- the --
        5    the -- the pseudonym I was communicating with,
        6    Satoshi, told me he was going to step back from
        7    day-to-day Bitcoin stuff, and he left me with the
        8    root privileges, with the -- with the
        9    administrative privileges for the source code
       10    repository.     So at that time only he and I had
       11    access to the source forge -- source code
       12    repository.
       13                      And I had -- through 2010, I had
       14    become more and more involved with developing code
       15    for the core Bitcoin system.          And then by the end
       16    of 2010, Satoshi stepped away, and I was left as
       17    the -- the lead developer.
       18          Q      By default, because you were the only one
       19    with access?
       20          A      Yes.
       21          Q      And I'm handing you, Mr. Andresen, what
       22    we're gonna mark as Plaintiffs' Exhibit 1.             Just
       23    take a look at that for me.
       24                      (Exhibit 1 marked for
       25                      identification.)
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        1          Q      Do you recognize this email?
        2          A      Yes, I do.
        3          Q      And this is an email from Satoshi
        4    Nakamoto to you?
        5          A      Yes.
        6          Q      Did you always communicate with Satoshi
        7    through the satoshin@gmx.com address?
        8          A      Either -- yes, either through that email
        9    address or via private messages in the Bitcointalk
       10    forums.
       11          Q      Did you ever use the Vistomail account?
       12          A      I don't think so.
       13          Q      And is this the email that you've just
       14    described where Satoshi is leaving you the -- the
       15    access to the Bitcoin repository?
       16          A      No.    So before this, there's a -- there's
       17    a -- there's a -- a website called "SourceForge"
       18    that a lot of open-source software projects use,
       19    and people can have administrative rights to be
       20    able to write to a source-code repository.             And so
       21    that was a separate privilege that I got sometime
       22    in 2010.
       23                       This was the final -- this is about
       24    an -- an alert key that would allow anybody to send
       25    a message -- excuse me -- send a message over the
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        1    network that would appear on everybody's Bitcoin
        2    software warning them that they need to upgrade or
        3    that there's some security bug, those kinds of
        4    things.
        5            Q    Got it.    So the adding to privileges of
        6    SourceForge didn't necessarily come through an
        7    email; it was just an action Satoshi took to give
        8    you those privileges?
        9            A    Yeah, I don't remember exactly how that
       10    happened.     There was probably an email or a forum
       11    message where he told me that he had done that,
       12    but...
       13          Q      After this email from Satoshi, where I
       14    think he -- he requests that you stop talking to
       15    him as a myster -- about him as a mysterious
       16    shadowy figure, and he says, "I've moved on to
       17    other things and will probably be unavailable," did
       18    you ever hear from Satoshi again through this email
       19    account?
       20          A      I'd have to go back and look.          I don't
       21    know.
       22          Q      Okay.   Do you recall, sitting here today,
       23    ever hearing from him again?
       24                      Let me -- let me -- let me rephrase
       25    the question.
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        1                        I want you to exclude for a moment
        2    the conversations you've had with Craig Wright, and
        3    I want to ask, subsequent to this email, have you
        4    had, in your mind, conversations with Satoshi
        5    Nakamoto subsequent to this email?
        6          A      I don't know.     The reason I --
        7          Q      Because people have reached out to you
        8    claiming to be Satoshi --
        9          A      Yes.
       10          Q      -- and you don't know if it's real?
       11          A      Yes.    Many people have -- have contacted
       12    me claiming to be Satoshi Nakamoto, and I just
       13    don't know if any of them are.
       14          Q      Okay.    Is it fair to say that no one
       15    has -- and, again, I want to exclude the
       16    conversations with Craig Wright in 2016 for
       17    purposes of this question.
       18                       Is it -- is it fair to say that no
       19    one has convinced you that they are Satoshi
       20    Nakamoto -- you know what, strike that question.
       21                       Sitting here today, do you believe
       22    you had communications with Satoshi Nakamoto after
       23    this email?
       24          A      No.
       25          Q      Okay.    So you're, at this point in time,
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        1    the lead core developer of Bitcoin; is that
        2    correct?
        3          A      At --
        4          Q      At --
        5          A      Currently?
        6          Q      So about April of 2011.
        7          A      Oh, April of 2011, yes.
        8          Q      And when did -- when did you step back
        9    from being the lead core -- or stop being the lead
       10    core developer in Bitcoin?
       11          A      Again, I'm very good at forgetting dates,
       12    but it's been a few years.
       13          Q      Approximately.
       14          A      2017.
       15          Q      Okay.   Why did you stop being the lead
       16    core developer at Bitcoin?
       17          A      Several reasons.      The most immediate
       18    reason was I believed that, for Bitcoin to grow,
       19    there needed to be more than one implementation;
       20    there needed -- needed to be more than one software
       21    that people were using.
       22                      And so I had taken on the role of
       23    chief scientist of the Bitcoin Foundation, and I
       24    wanted that role to be not working on one
       25    particular implementation of Bitcoin, not one
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        1    particular open-source software project, but to be
        2    kind of bigger picture and try to encourage other
        3    implementations of the Bitcoin protocol and to
        4    think about kind of bigger issues facing Bitcoin.
        5                       And the other reason I stepped away
        6    is just because we had a -- a -- there was a team
        7    of people who were able to do the job of working on
        8    the open-source software.         So I felt comfortable
        9    stepping back and letting them take over the
       10    day-to-day software engineering of the project.               So
       11    I think those are the two major reasons I -- I
       12    stepped back as lead developer.
       13          Q      But you stayed on as the chief scientist
       14    of the Bitcoin Foundation?
       15          A      Yes, I stayed on as chief scientist of
       16    the Bitcoin Foundation.
       17          Q      Are you still the chief scientist of the
       18    Bitcoin Foundation?
       19          A      No.   I resigned that position a year or
       20    two ago.
       21          Q      Why did you resign that position?
       22          A      The Bitcoin Foundation is a troubled
       23    organization.      We had two members of our board of
       24    directors go to jail, and I -- I believe the
       25    Bitcoin Foundation lost the respect of the Bitcoin
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        1    community, partly for that reason.           Probably mostly
        2    for -- for that reason, just the fact that the, you
        3    know, members of the board of director turned out
        4    not to be trustworthy.
        5          Q      Did you take part in forming the Bitcoin
        6    Foundation when it -- in its -- when it was
        7    originally formed?
        8          A      I did, yes.
        9          Q      And who did you do that with?
       10          A      Peter Vessenes, Roger Ver, Charlie Shrem.
       11    I think those were the main people involved in the
       12    formation.     I could go back and check my notes, see
       13    who else was on the -- the emails.
       14          Q      And -- and who were the members of the
       15    board of directors that went to jail?
       16          A      Charlie Shrem and Mark Karpeles.
       17          Q      Do you -- I want to segue back -- well,
       18    actually, strike that.
       19                      Do you -- what is your current
       20    involvement with the Bitcoin community?
       21          A      I have very little involvement with the
       22    Bitcoin community, so I have shed all of my
       23    responsibilities.
       24          Q      And are you doing anything
       25    employment-wise now or...
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        1          A      My only title is
        2    Entrepreneur-in-Residence, UMass, Data Sciences.
        3    That's an unpaid, volunteer position.            So I -- I'm
        4    not getting a paycheck from anybody.
        5          Q      Did you -- the -- approximately how much
        6    Bitcoin did you mine in May of 2010?
        7          A      I think I mined 11 blocks, each --
        8    which -- 50 Bitcoins per block, so that would be
        9    550 Bitcoin.
       10          Q      And have you moved those -- have you
       11    spent those coin bases?
       12          A      Probably.
       13          Q      All of them?
       14          A      Probably.
       15          Q      Can you check, if I were to ask you to?
       16          A      Yes, I could check if you asked me to.            I
       17    could see what happened to them.
       18          Q      Can you do that, like, on a break, or
       19    would you need to go home and have access to your
       20    computers?
       21          A      I need to go home and have access to my
       22    computers.     I don't have those -- I -- you know,
       23    I'd have to go back in it and dig out an old
       24    wallet, find out what the Bitcoin addresses were,
       25    find out where they moved, see if I'm still holding
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        1    them in some cold wallet somewhere.            I just don't
        2    know.
        3            Q    Do you know the identity of any other
        4    miners who mined Bitcoin prior to August 20th of
        5    2010?
        6            A    No.
        7            Q    Are you aware of any blocks that
        8    Satoshi Nakamoto mined?
        9            A    Yes.   Block No. 10, I believe, is a
       10    famous Bitcoin block.        Because Satoshi Nakamoto
       11    sent some Bitcoin to Hal Finney as, I believe, the
       12    first person-to-person Bitcoin transaction that we
       13    know about.
       14          Q      Block 9 or block 10?
       15          A      Depends on if you start counting at zero
       16    or not.
       17          Q      Interesting.     So the genesis block is
       18    zero?
       19          A      The genesis block, I believe, is usually
       20    counted as zero.
       21          Q      And then block 9, it could be 9 or 10,
       22    depending if you count the first -- zero block
       23    as -- as a -- as a block?
       24          A      Correct.
       25          Q      Got it.
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                                                                          Page 31
        1                      Are you aware of any others that
        2    Satoshi mined?
        3          A      Not directly.
        4          Q      And did you ever send Bitcoin to Satoshi
        5    or receive Bitcoin from Satoshi?
        6          A      Not to my knowledge.
        7          Q      Are you aware of any patterns within the
        8    blockchain that would reveal which blocks were
        9    mined by Satoshi?
       10          A      There is a very interesting blog post by
       11    Sergio, Sergio Demian Lerner, where he found some
       12    patterns that are plausible that might be
       13    associated with Satoshi's mined Bitcoins.
       14          Q      This is the Patoshi research?          I think he
       15    calls it the Patoshi research?
       16          A      Maybe.    I'm not familiar with that.
       17          Q      They call it the Patoshi --
       18          A      I'm not familiar with that term.
       19          Q      Is it -- is it based on the Nonce value?
       20          A      Yes, it's based on the Nonce values.           And
       21    I have --
       22                      THE STENOGRAPHER:       The what value?
       23    Sorry.
       24                      THE WITNESS:     Nonce, N-O-N-C-E.       It
       25    means number used once.
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        1           A     I have no direct knowledge of that, but
        2    his research seems plausible to me.
        3           Q     Okay.    Is there any reason you can think
        4    of that a miner would try to create a coin-based
        5    transaction that did not hash to within a specific
        6    range of values?
        7                        MR. KASS:   Object to form.
        8           Q     Do you understand the question?
        9           A     I'm not sure I understand the question.
       10           Q     Okay.    Strike the question.
       11                      When did you first learn of Craig
       12    Wright?
       13           A     Again, I'm very bad with dates, but Jon
       14    Matonis sent me an email saying that I should pay
       15    attention to this person, Craig Wright, back in
       16    whatever year that was -- sorry.           2020, '19 -- '17?
       17    '18?
       18           Q     Did there come a time before that where
       19    Craig Wright applied for a job at the Bitcoin
       20    Foundation?
       21           A     Yes.    When I was responding to the
       22    subpoena for this lawsuit, I went back through
       23    my old emails, and I did get an email from a
       24    Craig Wright asking for a job at the Bitcoin
       25    Foundation that I never responded to and,
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        1    frankly, I had not recalled until I went through
        2    my old emails.
        3                        MR. FREEDMAN:    So I'm gonna hand you
        4    what's been marked as Plaintiffs' Exhibit 2.              And
        5    it's -- for the record, it's Bates Gavin 1296.
        6                        (Exhibit 2 marked for
        7                        identification.)
        8          Q      Do you recognize this email?
        9          A      Yes.
       10          Q      And is it fair to say this is Jodie
       11    Brady, at the Bitcoin Foundation, forwarding you a
       12    job application that she had received?
       13          A      Yes.
       14          Q      And the job application is from
       15    Craig S. Wright with the email address
       16    craig@panopticrypt.com?
       17          A      That's --
       18                      MR. KASS:    Object to form.
       19                      THE STENOGRAPHER:       Wait.   What's the
       20    address?
       21                      MR. FREEDMAN:      Craig@panopticrypt.
       22    P-A-N-O-P-T-I-C-R-Y-P-T.
       23                      MR. KASS:    And object to form.
       24          Q      So, from time to time, either myself or
       25    Mr. Kass, depending on who's asking questions, may
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        1    object to form.       You can just pause, let them
        2    object, and then you can answer the question.
        3          A      Okay.
        4                       Yes.
        5          Q      Okay.    Do you -- did you review this job
        6    application back in November 2014 when you got it?
        7          A      No.
        8          Q      You didn't even see it?
        9          A      I don't recall.
       10          Q      Okay.    It's fair to say he did not get a
       11    job with the Bitcoin Foundation?
       12          A      He did not.
       13          Q      Looking back at it now, would he have fit
       14    the criteria you were looking for?
       15                       MR. KASS:    Object to form.
       16          A      We were not actively looking for people,
       17    there was no job opening, so there was no criteria.
       18          Q      Fair enough.
       19                       So I want to jump back to the 2016
       20    contact that you received from Jon Matonis, and
       21    that was...
       22                       (Pause.)
       23          Q      Let me hand you what's been marked as
       24    Plaintiffs' Exhibit 3.         And for the record, it's
       25    Gavin 796.
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                                                                          Page 35
        1                      (Exhibit 3 marked for
        2                      identification.)
        3          Q      Is this the email you received from
        4    Jon Matonis in March -- on March 14, 2016?
        5          A      Yes.
        6          Q      And in this email, Jon invites you to a
        7    proof session in London?
        8          A      Yes.
        9          Q      And he ends the third paragraph saying, I
       10    per -- "I've never asked you for anything before,
       11    so you are just going to have to trust me on this
       12    and what I personally witnessed with the block
       13    No. 1 sign and verify"?
       14          A      What was the question?
       15          Q      Is that -- I'm just taking you through
       16    the document, highlighting the portions of the
       17    document that I -- that -- that I'd like you to
       18    take a look at.
       19          A      Okay.
       20          Q      And what did you take Jon as asking you
       21    to do here?
       22                      MR. KASS:    Object to form.
       23          A      I believe Jon was asking me to physically
       24    go to London, and then witness the -- a
       25    cryptographic proof of possession of a private key
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        1    that corresponds to the public key of one of the
        2    early Bitcoin blocks.
        3          Q      He says, "As we discussed" in the emails,
        4    implying that there had been a previous telephonic
        5    communication.
        6          A      I believe we did have a telephone call.
        7          Q      Do you know what he said on the telephone
        8    call?
        9          A      I don't recall.
       10                      MR. KASS:    Now, I'm just going to put
       11    a standing objection out there to -- oh, well, if
       12    you're gonna give it to me, so I don't have to
       13    repeat it all the time.        In this email it mentions
       14    there's a non-disclosure agreement.            That
       15    non-disclosure agreement was executed.            So to the
       16    extent you're asking information that is protected
       17    by the non-disclosure agreement, I'm just putting a
       18    standing objection that there is a non-disclosure
       19    out there, agreement out there, and that
       20    information needs to be protected.
       21                      MR. FREEDMAN:      What's the objection?
       22    I don't understand the basis of the objection.
       23                      MR. KASS:    I'm just putting on the
       24    record that --
       25                      MR. FREEDMAN:      Are you maintaining
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        1    Mr. Andresen --
        2                      THE STENOGRAPHER:       One at a time.
        3                      MR. FREEDMAN:      Are you maintaining
        4    Mr. Andresen cannot respond to deposition
        5    questions?
        6                      MR. KASS:    I am not instructing him
        7    not to answer.       I'm just putting on the record that
        8    there's a non-disclosure agreement, and that this
        9    testimony that you're asking may not be permitted
       10    under the non-disclosure.
       11                      MR. FREEDMAN:      So you are entitled to
       12    seal this deposition and designate it confidential,
       13    and you can exercise your right to do so, but
       14    I'm -- I'm not sure what you -- I'm not sure what
       15    your objection is, so...
       16                      MR. KASS:    All right.      It's on the
       17    record, it is what it is.
       18    BY MR. FREEDMAN:
       19           Q     Okay.   We were talking about the
       20    telephonic communication between you and -- and
       21    Jon.    You said you don't recall what he said?
       22           A     I don't recall.
       23           Q     Did he mention Craig Wright during that
       24    phone call?
       25           A     I don't recall.
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        1          Q      Did he -- when you received this email,
        2    were you aware that Craig Wright was the person
        3    they wanted you to come meet?
        4          A      I don't know.
        5          Q      Okay.
        6          A      I don't recall when the name "Craig
        7    Wright" entered the conversation.
        8          Q      So what was your initial reaction to --
        9    when you finally did find out that there was
       10    -- strike that.
       11                      What was your initial reaction to
       12    somebody claiming to be able to prove that they
       13    were Satoshi Nakamoto?
       14                      MR. KASS:    Object to form.
       15          A      I was skeptical.
       16          Q      Fair to say you were extremely skeptical?
       17          A      I think that's fair to say.
       18          Q      I'm handing you what's been marked as
       19    Plaintiffs' Exhibit 4, I believe.
       20                      (Exhibit 4 marked for
       21                      identification.)
       22          Q      Do you recognize this email
       23    correspondence?      This is -- sorry -- for the
       24    record, Bates Gavin 1433.
       25          A      Yes.
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        1          Q      And if you look at the email from you --
        2    this is an email from you to Jon Matonis and then
        3    Jon Matonis responding back?
        4          A      Yes.
        5          Q      And in it you write to Jon Matonis that
        6    you're seeing whispers that Craig Wright is the
        7    real deal?
        8          A      Yes.
        9          Q      So fair to say at this point you were
       10    aware it was Craig Wright they were asking you to
       11    come meet?
       12          A      Yes.   I'm trying to remember my state of
       13    mind at that time.
       14                      I don't know if Jon had mentioned the
       15    name "Craig Wright," and I was just seeing Craig
       16    Wright in others -- other venues and putting the
       17    pieces together.       But, yes, certainly the name
       18    "Craig Wright" was -- was in the air at that time.
       19          Q      Got it.
       20                      And right there in the email you
       21    said, "I'm extremely skeptical"?
       22          A      Yes.
       23          Q      Why were you extremely skeptical?
       24          A      I have been contacted by many people
       25    claiming to be Satoshi Nakamoto in the past.              So
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        1    yet another claimed Satoshi made me extremely
        2    skeptical.
        3          Q      And in it you -- you lay out four
        4    different things that you'd like to see any real
        5    Satoshi candidate do?
        6          A      Yes.
        7          Q      And those were that you'd want to see a
        8    message signed with the same PGP key that Satoshi
        9    used in 2010; is that correct?
       10          A      Yes.
       11          Q      And a message signed with the keys from
       12    early Bitcoin blocks?
       13          A      Yes.
       14          Q      And a copy of an email or private forum
       15    post between you and Satoshi?
       16          A      Yes.
       17          Q      And you wanted to have a conversation
       18    about technical things via email?
       19          A      Yes.
       20                       MR. KASS:   Object to form.
       21          Q      Did you get all four of those things
       22    during your interactions with Craig Wright in 2016
       23    and 2017?
       24          A      No.
       25          Q      Which did you get and which did you not
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                                                                          Page 41
        1    get?
        2           A     I believed I got a message signed with
        3    keys from early Bitcoin blocks.
        4           Q     Okay.
        5           A     And I did get a conversation about
        6    technical stuff.       I don't believe I got any email
        7    or private forum posts.        And I did not get any
        8    messages signed with the PGP key that he was using
        9    in 2010.
       10           Q     Okay.    Did you ask for the PGP signature?
       11           A     I vaguely recall a conversation about PGP
       12    signatures, and I believe Craig gave me some reason
       13    why he either did not have the key, or it would not
       14    be good proof, but I don't recall the details.
       15           Q     And...
       16           A     And the private posts, again, I think I
       17    recall him giving me -- I believe there was a claim
       18    that all of those were deleted.           Yeah, if I recall
       19    correctly, he claimed that he had deleted those,
       20    and they were unavailable.
       21           Q     Did you find that credible at the time?
       22           A     Yes.
       23           Q     Do you still find that credible?
       24           A     I have my doubts.
       25           Q     Okay.    Jon Matonis responds, asking you
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                                                                          Page 42
        1    to -- or -- or suggesting that you forward your
        2    four expectations to Stefan in advance.
        3                      Do you see that?
        4          A      Yes.
        5          Q      Who is he talking about?
        6                      MR. KASS:    Object to form.
        7          A      Craig Wright was working with a couple of
        8    venture capital-type people.          I've forgotten the
        9    name of their company.        Excuse me, I've forgotten
       10    who is who.     But he was one of those venture
       11    capital-type people who, I believe, were interested
       12    in helping Craig through this whole process of
       13    claiming to be Satoshi Nakamoto.
       14          Q      And did you -- had you had interactions
       15    with Stefan before this date?
       16          A      I -- there might have been emails before
       17    this date.
       18          Q      Okay.
       19          A      I'd have to go back and check.          I had not
       20    met him.
       21          Q      And at this point, were you aware that
       22    they wanted you to participate in a public
       23    endorsement of Craig Wright as Satoshi?
       24                      MR. KASS:    Object to form.
       25          A      I think so, yes.
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                                                                          Page 43
        1          Q      Okay.    I'm gonna hand you what's been
        2    marked as -- sorry -- been marked as Plaintiffs'
        3    Exhibit 5.     And for the record, it's Gavin 1286.
        4                        (Exhibit 5 marked for
        5                        identification.)
        6          Q      Take a moment to review that.
        7                        Do you recognize this email?
        8          A      Yes.
        9          Q      And is it an email from you to
       10    craig@ncrypt.com?
       11          A      Yes.
       12          Q      This was Craig Wright?
       13          A      Yes.
       14          Q      And in it is it fair to say that you're
       15    asking Craig to give you some of his backstory and
       16    thoughts on the state of Bitcoin?
       17          A      Yes.
       18          Q      Okay.    Did he give you his backstory and
       19    his thoughts on the state of Bitcoin?
       20          A      I don't recall.
       21          Q      Do you --
       22          A      I'd have to go back and look at the email
       23    thread.
       24          Q      Okay.    Did -- did you have a telephonic
       25    communication with Craig Wright as of this date?
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                                                                          Page 44
        1          A      I don't believe so, no.
        2          Q      Okay.    And just -- this is about five
        3    days or so before the proof session in London that
        4    took place on April 7th?
        5                        MR. KASS:   Object to form.
        6          A      Correct.
        7          Q      Is -- so you don't believe you had spoken
        8    to him telephonically yet?
        9          A      I don't believe so, but my recollection
       10    could be faulty.
       11          Q      Fair enough.
       12                      I'm gonna hand you what's been marked
       13    as Plaintiffs' Exhibit --
       14                      THE STENOGRAPHER:       6.
       15          Q      -- 6 -- thank you -- and for the record
       16    is Gavin 307.
       17                      (Exhibit 6 marked for
       18                      identification.)
       19          Q      Do you recognize this email?
       20          A      Yes.
       21          Q      It's an email from Craig to you?
       22          A      Yes.
       23                      MR. KASS:     Object to form.
       24          Q      In response to your last email on the
       25    state of affairs of Bitcoin?
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                                                                          Page 45
        1          A      Yes.
        2          Q      So he did respond to you.         Does this help
        3    refresh your recollection that he did respond to
        4    you about the state of affairs of Bitcoin as of
        5    2016?
        6          A      Yes.
        7          Q      Okay.   And did you read this email at the
        8    time?
        9          A      Yes, I did.
       10          Q      Did you find it convincing?
       11          A      I found it convincing enough for me to
       12    get on an airplane to London.
       13          Q      Fair enough.
       14                      I'm handing you what's been marked as
       15    Plaintiffs' Exhibit 7.        And for the record, it's
       16    Gavin 1120.
       17                      (Exhibit 7 marked for
       18                      identification.)
       19          Q      Do you recognize this email?
       20          A      Yes.
       21          Q      And it's one from Craig to you?
       22          A      Yes.
       23          Q      And it -- it includes, underneath that,
       24    the thread of a -- of a message from you to Gav --
       25    from you to Craig and then, initially, from Craig
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                                                                          Page 46
        1    to you?
        2            A      Yes.
        3            Q      And, actually, it includes that email way
        4    at the bottom where you're actually asking, that we
        5    looked at previously --
        6            A      Yes.
        7            Q      -- Plaintiffs' Exhibit 5?
        8                          MR. KASS:   Objection to form.
        9                          THE STENOGRAPHER:   Wait, wait, wait.
       10          Q        So if you take a look at the email from
       11    Craig to you, can you look at the -- the last line
       12    of that email?         He tells you, "The backstory is
       13    long.       You will have it in installments for this
       14    reason, but you will have it."
       15                       Do you see that?
       16          A        Yes.
       17          Q        Did you end up having it?
       18          A        I -- some of it --
       19          Q        Okay.
       20          A        -- maybe.    I have my doubts on -- I have
       21    many, many doubts in my head about what parts of --
       22    what things Craig told me are true and what are not
       23    true.
       24          Q        Okay.    Did he give you a long backstory?
       25          A        He gave me a fairly long backstory.
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                                                                          Page 47
        1            Q    Okay.    And when did he give you that
        2    fairly long backstory?
        3            A    In London, in the -- the hotel room.
        4            Q    Okay.
        5            A    Or the hotel basement.
        6            Q    I'm gonna come back to that.
        7                        In the interim, let me hand you
        8    what's been marked as Plaintiffs' Exhibit --
        9                        MR. KASS:   8?
       10          Q      -- 8.    And for the record, it's Gavin
       11    1720.
       12                      (Exhibit 8 marked for
       13                      identification.)
       14          Q      Do you recognize this email -- or these
       15    emails, I should say?
       16          A      Yes.
       17          Q      And it's a -- it's a series of emails
       18    between you and Craig?
       19          A      Yes.
       20          Q      On or about April 6, 2016?
       21          A      Yes.
       22          Q      And it looks like -- if you look on the
       23    midway point of page that's marked 1720 at the
       24    bottom, it looks like what you did is you responded
       25    to Craig's email by inserting your own comments in
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                                                                            Page 48
        1    line with his email below?
        2                        MR. KASS:   Object to form.
        3          Q      Is that what happened?
        4          A      Yes.
        5          Q      And if you look at the second paragraph
        6    up from the bottom of that page, you state to
        7    Craig, "I know nothing about your business.              One
        8    question on my list of things to ask you: Why lots
        9    of businesses if you have lots of coin already?"
       10                       Do you see that?
       11          A      Yes.
       12          Q      That was from you?
       13          A      Yes, that was from me.
       14          Q      Okay.    Did he ever explain that to you?
       15          A      No.
       16          Q      I am handing you what's been marked as
       17    Plaintiffs' Exhibit 9 --
       18                       THE STENOGRAPHER:      Yeah.
       19          Q      -- 9, and I didn't -- accidentally did
       20    not print with the Bates label, but for the record,
       21    it should match to Bates Gavin 1077 -- 77.
       22                       (Exhibit 9 marked for
       23                       identification.)
       24          Q      Do you recognize this email -- these
       25    emails?
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                                                                          Page 49
        1          A      Yes.
        2          Q      And this, similarly, is a email chain
        3    between you and Craig on or about April 6 of 2016?
        4          A      No --
        5                       MR. KASS:   Object to form.
        6          A      -- this is between me and Andrew O'Hagan.
        7          Q      Maybe I handed you the wrong email.           Can
        8    I grab that back?
        9                       MR. KASS:   Is this still Exhibit 9,
       10    though?
       11                      MR. FREEDMAN:      No, that's not.      We're
       12    gonna redo Exhibit 9.        I gave you all the wrong
       13    email.    Sorry.
       14                      (Pause.)
       15                      THE WITNESS:     So many email.
       16                      MR. FREEDMAN:      Yeah.   I apologize.      I
       17    just used my printer this morning at the hotel.
       18                      THE STENOGRAPHER:       Do you want this
       19    on?
       20                      MR. FREEDMAN:      Oh, actually, why
       21    don't we go off the record for two minutes.
       22                      THE VIDEOGRAPHER:       Sure.   The time
       23    now is 10:04 a.m.       We're going off the record.
       24                      (Exhibit 9 marked for
       25                      identification.)
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                                                                          Page 50
        1                        (Off record.)
        2                        THE VIDEOGRAPHER:     The time now is
        3    10:13 a.m.     We're coming back on the record.
        4    BY MR. FREEDMAN:
        5            Q    Okay.    I've now handed you the remarked
        6    Plaintiffs' Exhibit 9.        Do you recognize this
        7    email?
        8            A    Yes.
        9            Q    And is this email an email exchange
       10    between you and Craig Wright?
       11          A      Yes.
       12          Q      On or about April 6, 2016?
       13          A      Yes.
       14          Q      I've handed you the correct exhibit this
       15    time.
       16                      So I want to -- I want to ask you
       17    some questions about some of the statements in
       18    this -- in this email.
       19                      In the first paragraph, Craig opens
       20    up, he says, "Only time will tell, but I" -- "I
       21    made some incredible mistakes."
       22                      Do you see that?
       23          A      Yes.
       24          Q      The email doesn't say what those
       25    incredible mistakes are, as far as I'm aware, but
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        1    do you know what those incredible mistakes are?
        2          A      No.
        3                       MR. KASS:   Object to form.
        4          Q      Did you ever come to learn what those
        5    incredible mistakes were?
        6          A      No.
        7          Q      Okay.    Did you ask him what he meant by
        8    "incredible mistakes"?
        9          A      I don't think so, no.
       10          Q      Okay.    He then -- about halfway down the
       11    page, he quotes your email that says, "I know
       12    nothing about your businesses."
       13                       MR. KASS:   Object to form.
       14          Q      Do you see that?
       15          A      Yes, I do.
       16          Q      And then he responds, That was part of
       17    the idea.     It was a front in some ways.          I have
       18    made some really stupid mistakes.
       19                       Do you know what he meant by saying
       20    his businesses were a "front" in some ways?
       21                       MR. KASS:   Object.     Object to form.
       22          A      No.
       23          Q      Did you ever come to learn what he meant
       24    by that?
       25          A      No.
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                                                                          Page 52
        1          Q      Did you ever ask him what he meant by the
        2    fact that his businesses were a "front"?
        3          A      No.
        4          Q      Did you come to learn that he's claimed
        5    millions of dollars in tax rebates from the
        6    Australian Tax Office based on these businesses?
        7                       MR. KASS:   Object to form.
        8          A      I saw that in media reports.
        9          Q      Did it strike you as odd that he would be
       10    using a front to claim millions of dollars in tax
       11    rebates?
       12                       MR. KASS:   Object to form.
       13          A      I don't think I ever thought about it.
       14          Q      So you didn't learn what the incredible
       15    mistakes were.       Did you learn what the really
       16    stupid mistakes were?
       17          A      No.
       18          Q      Did you ask him what really stupid
       19    mistakes he made?
       20          A      No.
       21          Q      Then the next paragraph, he says, "The
       22    ones that matter remain hidden."
       23                       Did you take this to mean the really
       24    stupid mistakes that matter remain hidden?
       25                       MR. KASS:   Object to form.
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                                                                          Page 53
        1          A      Yes.
        2          Q      And then he says, "The media has grabbed
        3    all of the shit and low-hanging fruit, and they
        4    have done no real investigation.           Thank God for the
        5    laziness of human nature."
        6                       Do you know what he was concerned the
        7    media would find out?
        8                       MR. KASS:   I'm gonna object to form.
        9          A      No.
       10          Q      Did you ever ask him what he was
       11    concerned the media would find out about?
       12          A      No.
       13          Q      In the bottom paragraph on the page, he
       14    says, "Now I am this guy who does what the hell he
       15    likes, cannot be fired, and who has finally learnt
       16    to delegate all he hates."
       17                       Did you ever ask him what it is he
       18    likes to do?
       19          A      Did I ever ask him?       He told me what he
       20    likes to do.
       21          Q      What did he say he likes to do?
       22          A      He likes to get PhDs.        He likes to do
       23    research.     He likes to write papers.
       24          Q      Okay.    And then, if you turn to the next
       25    page for me, marked Gavin 1078, on the top of the
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                                                                          Page 54
        1    page, Craig quotes your email again that says, "One
        2    question on my list of things to ask you: Why lots
        3    of businesses if you have lots of coin already?"
        4                       Do you see that on the top?
        5          A      Yes.
        6                       MR. KASS:   Object to form.
        7          Q      And then he responds, "Bad decisions,"
        8    full stop.
        9                       Do you know what he meant by "bad
       10    decisions"?
       11          A      No.
       12          Q      Did you ever ask him what he meant by
       13    "bad decisions"?
       14          A      No.
       15          Q      You didn't ask him if stealing Bitcoin
       16    had anything to do with bad decisions?
       17                       MR. KASS:   Object to form.
       18          A      No.
       19          Q      Then he says, "I was advised about risk
       20    diversification in the early days."
       21                       Did you ask him -- do -- do you know
       22    what he means there?
       23          A      No.
       24                       MR. KASS:   Object to form.
       25          Q      Did you ask him what he meant?
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                                                                          Page 55
        1                        THE STENOGRAPHER:     Wait.
        2          A      No.
        3                        MR. KASS:   Vel, if you could pause.
        4    There's gonna be a lot of objections --
        5                        THE STENOGRAPHER:     Yeah.
        6                        MR. KASS:   -- throughout the email.
        7                        MR. FREEDMAN:    No problem.
        8                        THE WITNESS:    Sorry.
        9          Q      Then, in the -- in the third paragraph
       10    down from the top, he says, "Then, none of this is
       11    about money."
       12                       Do you see that?
       13          A      Yes.
       14          Q      Did you ask him what he meant by none of
       15    it being about money?
       16          A      No.
       17          Q      Did it strike you as odd that it was not
       18    at all about money?
       19                       MR. KASS:    Object to form.
       20          A      No.
       21          Q      So he has a venture capital firm reach
       22    out to you; is that -- that's right?
       23          A      Yes.
       24          Q      And paying for you to come to London,
       25    right?
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                                                                          Page 56
        1                      MR. KASS:    Object to form.
        2           A     Yes.
        3           Q     And funding your trip there?
        4           A     Yes.
        5           Q     And coordinating an entire media blitz;
        6    is that an accurate statement?
        7                      MR. KASS:    Object to form.
        8           A     Yes.
        9           Q     And it didn't strike you as odd that none
       10    of this was about money?
       11                      MR. KASS:    Object to form.
       12           Q     Or, I mean, maybe it just didn't occur to
       13    you.    I mean, like, tell me how -- what -- give me
       14    your reaction to the statement that none of this --
       15    this is -- "none of this is about money," and, yet,
       16    it apparently appears, at least to me, that a ton
       17    of it's about money.
       18                      MR. KASS:    Object to form.
       19           A     I -- yeah, I was not thinking about money
       20    when I received this email.          I was thinking about,
       21    is this person Satoshi Nakamoto or not.             And...
       22           Q     That's fair.
       23           A     Yeah, that -- that's -- so, yeah, I was
       24    not thinking about the money.
       25           Q     In retrospect, does it strike you as odd
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        1    that he said "none of this is about money"?
        2                        MR. KASS:   Object to form.
        3          A      No.
        4          Q      Why?
        5          A      Being Satoshi Nakamoto is about much more
        6    than money.     He's almost a God-like figure in the
        7    Bitcoin community.       He's the holy founder of this
        8    world-changing technology.         So saying "this is not
        9    about money" did not strike me as strange because
       10    of that.
       11                       Because, you know, having been the
       12    chief scientist of the Bitcoin Foundation and the
       13    lead developer for the project, I had felt the kind
       14    of weight of that responsibility, and to take on
       15    the mantle of being Satoshi Nakamoto struck me as,
       16    you know, much more important than -- than the
       17    money.    So that's where my head space was through
       18    this conversation.
       19          Q      So consistent with something Satoshi
       20    might actually say?
       21          A      Yes.
       22          Q      Sitting here today, do you believe this
       23    was stated honestly, that it really wasn't about
       24    money?
       25                       MR. KASS:    Object to form.
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        1          A      I don't know.
        2          Q      At the end of that paragraph, the
        3    second-to-bottom line, he says, "I have access to
        4    systems that transfer more value and transactions a
        5    day than the existing BTC network does in a year."
        6                       Do you understand what he meant by
        7    that?
        8          A      No.
        9          Q      Did you ever come to understand what he
       10    meant by that?
       11          A      No.
       12          Q      Is this a statement that you think is --
       13    is -- is possible?
       14                       MR. KASS:   Object to form.
       15          A      I don't know.     I've never thought about
       16    it.
       17          Q      And then if we go down, from there, two
       18    paragraphs, Craig tells you, "I want to stay as
       19    close to the edge as I can without going over."
       20                       Do you know what he meant by that?
       21                       MR. KASS:   Object to form.
       22          A      No.    And I think that might be a quote
       23    from somebody.       It sounds familiar.
       24          Q      But you can't recall who?
       25          A      No.
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        1          Q      And then if you go down, you'll see
        2    there's a line that begins with the word
        3    "frustration"?
        4          A      Yes.
        5          Q      He says, "Frustration should be my middle
        6    name."
        7                       Do you know why he said frustration
        8    should be his middle name?
        9                       MR. KASS:   Object to form.
       10          A      No.
       11          Q      What did you take that statement to mean?
       12          A      I can't put myself back when this email
       13    was received, so I am projecting backwards.              I
       14    don't know what I would have thought when I first
       15    read this email.       Knowing what I know now, my
       16    assumption would be he was frustrated that he
       17    didn't have complete control over kind of the
       18    process.
       19                       Because, to me, he claimed that he
       20    had been extorted, and, basically, he was forced to
       21    step forward and reveal himself as Satoshi
       22    Nakamoto.     I don't think I knew that when I first
       23    read this email, but if I project backwards, I'm --
       24    that -- that is what I would assume he meant.
       25          Q      And then he says, "Here... well, I have a
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        1    plan that is likely to leave me more hated."
        2                       Do you know what he meant by that?
        3                       MR. KASS:   Object to form.
        4          A      No.
        5          Q      And then if you -- if you look down
        6    toward the -- the end of the -- I guess it's one,
        7    two, three, four up from the bottom, he says, "Your
        8    mistake may have been the BTC Foundation, mine was
        9    that bloody response to a DoS."
       10                       Do you know what a "DoS" is?
       11          A      DoS is a denial-of-service attack.
       12          Q      Do you know what he meant by responding
       13    to denial-of-service attack?
       14                       MR. KASS:   Object to form.
       15          A      No.    Wait.   Yes, I think he was assuming
       16    in 2010 there were denial-of-service attacks
       17    against the Bitcoin network and what are called
       18    "transaction spamming attacks," where somebody
       19    floods the network with lots of tiny transactions.
       20                       And as part of that, that was --
       21    there was a technical change made by Satoshi to
       22    limit the Bitcoin block size to 1 megabyte, and
       23    that had been, and is still, actually, hugely
       24    controversial on whether to increase the block size
       25    to allow more transactions.          So I believe that's
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        1    what he was referring to.
        2            Q    Okay.    If you turn to the next page,
        3    Gavin 1079, and you look two down from the top, he
        4    starts the paragraph with, "Some of all this is
        5    stranger than fiction."
        6                      Do you agree with that statement?
        7            A    "Some of all of this is stranger than
        8    fiction."     It's hard to agree with a statement
        9    that's so vague.
       10          Q      Fair enough.     And then if you -- if you
       11    go down to the -- I guess two paragraphs down from
       12    that, he says, "Why?        That is the question.        Why
       13    not have a life of leisure?          Why not a yacht?      Yada
       14    Yada Yada."
       15                      And then if you read the next
       16    paragraph he says, "My wife and I spend time in
       17    Antigua from time to time.         We have friends who
       18    live there.     It becomes a life draining of vampiric
       19    exercise fast.       I do not relax well.       As for the
       20    boat, tried that, a hole in the water that you have
       21    to maintain and my wife gets seasick."
       22                      What did you take these statements to
       23    mean?
       24          A      What did I take them to mean?          I just
       25    took them to be his way of telling me that he has
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        1    resources and -- and, again, trying to tell me that
        2    it's not about money; that he has money already.               I
        3    think that's probably the way I took it when I read
        4    that email.
        5          Q      And then if you drop down, he quotes you
        6    again, "Why lots of businesses if you have lots of
        7    coin already."
        8                       Do you see that?
        9          A      Yes.
       10                       MR. KASS:   Object to form.
       11          Q      And then he responds, "Lots is not the
       12    issue.    Lots has allowed the media to focus in the
       13    wrong places.       They have no idea what the main
       14    business is."
       15                       Did you ever get additional detail on
       16    what the main business is?
       17          A      No.
       18          Q      Did you ask?
       19          A      No.
       20          Q      Do you find that inconsistent with his
       21    statement that it's not about money?
       22                       MR. KASS:   Object to form.
       23          A      Did I find it inconsistent -- I'm not
       24    sure I understand the -- the question.
       25          Q      Aren't businesses usually about money?
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                                                                          Page 63
        1                       MR. KASS:   Object to form.
        2          A      I think at the time I did not find it
        3    inconsistent.       I mean, if I think back on it now,
        4    yeah, it might be inconsistent.
        5          Q      He said that -- that the -- the lots of
        6    coin or the -- the large amount of coin has allowed
        7    the media to focus in the wrong places.
        8                       Do you know what the right places
        9    they should have focused on was?
       10          A      No.
       11                       MR. KASS:   Object to form.
       12          Q      And then he says, "They even missed that
       13    we paid out Hotwire and that none really failed,"
       14    smiley face.
       15                       Do you know what that meant -- means?
       16          A      No, I don't know.
       17          Q      Did you ever get additional detail?
       18          A      No.
       19          Q      All right.     If you turn to page 1080 for
       20    me.
       21                       You see in the bottom of the page,
       22    this is -- I think now we're in an email that you
       23    sent that began on the previous page, and you,
       24    again, inserted your comments in line with his
       25    email; is that right?
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                                                                          Page 64
        1                        MR. KASS:   Object to form.
        2          A      Let me see.      Yes.
        3          Q      And then way at the bottom, you've told
        4    him -- and this is a paraphrase, but let me know if
        5    it's fair -- that you've given some thought to the
        6    meeting with him tomorrow; you'll be bringing your
        7    laptop and a new USB stick, and you'd like a couple
        8    of things to verify, one being a PGP signed
        9    message, like you had said earlier, and you even
       10    gave the phrase "so it goes" as what you wanted him
       11    to sign, right?
       12          A      Yes.
       13                      MR. KASS:     Object.
       14          Q      And then one or more messages signed
       15    using keys from the early Bitcoin blocks, right?
       16          A      Yes.
       17          Q      And then copies of never-before published
       18    private emails or forum posts between you and
       19    Satoshi?
       20          A      Yes.
       21                      MR. KASS:     Object to form.
       22          Q      And consistent with your -- would it be
       23    consistent with your testimony earlier that you may
       24    have gotten No. 2, but you did not get No. 1 and
       25    No. 3?
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                                                                          Page 65
        1          A      Yes.
        2          Q      Okay.    Thank you.
        3                        And this was the day before you met
        4    Craig in London for the proof session, right?
        5                        MR. KASS:   Object to form.
        6          A      Yes.
        7          Q      If -- if you look before -- no.          Sorry.
        8    Strike that.
        9                        So the next day is April 7th, and you
       10    arrive in London for this proof session; is that
       11    right?
       12          A      Yes.
       13          Q      Can you walk -- you know what, why don't
       14    we -- it's not really a memory test, so let me give
       15    you back what we're now gonna call Plaintiffs'
       16    Exhibit 10.     And this is missing the -- the Bates,
       17    but it is 10 -- no.       I'm sorry.      It's Gavin 810.
       18                      (Exhibit 10 marked for
       19                      identification.)
       20          Q      Do you recognize this email?
       21          A      Yes.
       22          Q      And is this correspondence between you
       23    and Andrew O'Hagan?
       24          A      Yes.
       25          Q      And in it are you describing a meeting
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                                                                          Page 66
        1    you had this day, the April 7th day?
        2                      MR. KASS:    Object to form.
        3          A      Yes.
        4          Q      Okay.    Do you want to take a minute to
        5    review it?
        6                      (Witness perusing document.)
        7                      MR. KASS:    Vel, I'm just gonna raise
        8    my same objection about the non-disclosure.              Do you
        9    just agree I don't have to raise it again and
       10    whatever validity it has, it has?
       11                      MR. FREEDMAN:      I don't understand.       I
       12    mean, you've -- you've made your statement before,
       13    and the witness --
       14                      MR. KASS:    Fine.
       15                      MR. FREEDMAN:      -- is under a subpoena
       16    to testify.     There's no protective order granted
       17    for a nondisclosure.        You didn't raise it in front
       18    of the Court.       So I'm not sure what you're saying,
       19    but whatever you're saying, it's certainly there,
       20    you don't have to keep saying it.
       21                      MR. KASS:    Okay.    That's all I wanted
       22    to know.     I just wanted to avoid having to resay it
       23    if you agree it's kind of said in that still.
       24                      MR. FREEDMAN:      Standing -- whatever
       25    you said is standing.
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                                                                          Page 67
        1                        MR. KASS:   Perfect.    That's all I
        2    wanted.
        3    BY MR. FREEDMAN:
        4          Q      Have you completed your review?
        5          A      Yes.
        6          Q      So is it an accurate high-level summary
        7    of what happened that day?
        8          A      Yes.
        9          Q      I want to go into it in a little bit more
       10    detail with you, if that's all right.
       11          A      Okay.
       12          Q      You got off the plane at around 11:00 or
       13    so; is that right?
       14                      MR. KASS:     Object to form.
       15          Q      Arrived at the hotel, I should say,
       16    around 11:00?
       17          A      That's probably correct.
       18          Q      The email, "It was a red-eye flight, so I
       19    arrived at the hotel at 11:00 a.m."
       20                      We were not following you that day.
       21          A      It was a red-eye flight, so I was very
       22    tired.
       23          Q      Yes.    And who -- who were the first folks
       24    that you met with that day?
       25          A      The venture capital people, who,
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                                                                          Page 68
        1    according to this email, are named Andrew and Rob.
        2          Q      Yeah, or -- right.       And -- and what did
        3    they -- where did that meeting take place?
        4          A      That meeting took place in the -- in a
        5    conference room in the basement of the hotel I was
        6    staying at.
        7          Q      Okay.    And what did they -- what did they
        8    tell you?
        9          A      They -- let's see.       One of them said he
       10    had known Craig for a long time, and that Craig had
       11    been talking to him about Bitcoin for a long time,
       12    and that over time he had become convinced that
       13    Craig was Satoshi and had invented Bitcoin.
       14                      And the other one, I believe -- I'm
       15    trying to remember the conversation.            It's been a
       16    very long time.       I don't recall the details of that
       17    conversation, but it was also -- let's see, he
       18    talked about how he was working with Craig
       19    business-wise and, you know, was helping facilitate
       20    everything that was happening.          And, again, I -- I
       21    have very little recollection of what exactly we
       22    talked about.
       23          Q      Did they explain why they were involved?
       24                      MR. KASS:    Object to form.
       25          A      Yes.    Again, one of them, I don't recall
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                                                                          Page 69
        1    which, said he had been in -- a business partner or
        2    a business associate or somehow involved in Craig's
        3    businesses in the past.
        4                      And then the -- the other one, the
        5    money person, I don't recall if he -- he mentioned
        6    how he had gotten involved, if it was Craig or if
        7    it was this other person who brought him in.
        8    Frankly, I just don't recall.
        9          Q      Did there come a time when you learned
       10    that this venture capital group intended to sell or
       11    license many of Craig's purported intellectual
       12    properties and patents under the Satoshi name to
       13    monetize those inventions?
       14                      MR. KASS:    Object to form.
       15          A      At some point, I learned that, I don't
       16    recall when.
       17          Q      Could it have been in this conversation?
       18                      MR. KASS:    Object to form.
       19          A      It's possible it was in that
       20    conversation, yes.
       21          Q      In the email to Andrew O'Hagan you say,
       22    "They gave me a lot of background and explained
       23    their involvement before meeting with Craig."
       24                      Was that part of the background that
       25    they gave you?
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                                                                          Page 70
        1                      MR. KASS:    Object to form.
        2          A      Was what part of the background?
        3          Q      That -- this investment and what they
        4    were hoping to do with it.
        5                      MR. KASS:    Object to form.
        6          A      Possibly.    Again, I don't -- I don't
        7    recall details of that conversation.
        8          Q      And then, from that meeting, did you go
        9    to meet Craig?
       10                      MR. KASS:    Object to form.
       11          A      That meeting I think -- I'm trying to
       12    recall physically where what happened.            I believe I
       13    met them in the same room, and then Craig came into
       14    the room, and I met with Craig for the first time.
       15          Q      And what did he tell you there?
       16                      MR. KASS:    Object to form.
       17          A      What did he tell me?       Again, I don't
       18    recall details.      If you want to ask something
       19    specific, I might be able to --
       20          Q      Did he say, "Hi, I'm Satoshi Nakamoto"?
       21    Like, do you remember, did he claim to be Satoshi
       22    in that -- in that conversation?
       23                      MR. KASS:    Object to form.
       24          A      I don't think he ever directly claimed to
       25    be Satoshi, although, I might be mistaken.
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                                                                          Page 71
        1          Q      Did you talk at all about Satoshi
        2    Nakamoto during that initial conversation?
        3          A      I don't recall.
        4          Q      Did he -- did you ask him about where all
        5    his coins were?
        6          A      No.
        7          Q      Did you discuss any of the trusts that
        8    had been set up?
        9          A      No.
       10          Q      Did you discuss the creation of Bitcoin
       11    at all during that initial conversation?
       12          A      I don't think so.
       13          Q      Did he mention Dave Kleiman in that
       14    initial conversation?
       15                       MR. KASS:   Object to form.
       16          A      I -- I think he did, but I'm not certain.
       17    I remember him getting emotional.           I believe -- I
       18    believe at one point there was some mention of Dave
       19    Kleiman, and I remember Craig being emotional.
       20          Q      Emotional in what way?
       21          A      Sad about Dave's death.        I did not press
       22    or ask.
       23          Q      And do you know in what context Dave
       24    Kleiman was raised in this initial conversation?
       25          A      I think we had a conversation about the
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        1    person of Satoshi actually being three people --
        2            Q    Okay.
        3            A    -- being Dave Kleiman, Craig Wright, and
        4    some other mysterious person, who I never asked
        5    about.
        6            Q    And you say you think you had this
        7    conversation.      Are you sure you had this
        8    conversation, or do you think you had this
        9    conversation?
       10          A      I think I had this conversation.          Again,
       11    I was jet lagged, and this was four years ago,
       12    so --
       13          Q      And is the doubt --
       14          A      -- my recollection is -- my recollection
       15    is very fuzzy.
       16          Q      And this -- this conversation -- let me
       17    strike that.
       18                      Is the doubt that you don't know if
       19    it was during this conversation or a later
       20    conversation, or are you concerned you might be
       21    imagining the whole thing?
       22          A      Yeah, I'm -- I'm certain that, you know,
       23    it could have been this conversation or the
       24    following breakfast.        It's also possible...
       25          Q      So is it fair to say Craig told you this,
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                                                                          Page 73
        1    you just don't remember when?
        2                      MR. KASS:    Object to form.
        3          A      Yes.
        4          Q      Okay.    So after you -- you met with Craig
        5    in this initial conversation, did you go right to
        6    the proof section -- proof session?
        7                      MR. KASS:    Object to form.
        8          A      Yes.    The proof session was -- it was one
        9    continuous meeting in that room at the hotel.
       10          Q      Can you -- can you walk me through that
       11    proof session?
       12          A      Sure.   I -- I do recall producing a
       13    brand-new USB stick.        So I had my laptop with me
       14    and a -- put a brand-new, sealed-in-the-package USB
       15    stick on the table, which I expected Craig to take
       16    and produce some digital signatures that I could
       17    then verify on my laptop.         That did not happen.
       18    Instead, a laptop was procured, a brand-new laptop
       19    was procured by an assistant.          I think it was an
       20    assistant for one of the -- I don't know whose
       21    assistant it was.
       22                      Craig and I waited in the room while
       23    the laptop was purchased.         It was then unpacked and
       24    booted up for the first time in front of me.              And
       25    the proof then was Craig downloaded and installed
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        1    software.
        2                        And then, after some -- many hours, I
        3    don't recall how many hours, but it took much
        4    longer than -- than expected, at the end of that, I
        5    was convinced that he had taken one of the early
        6    blocks and signed a message using its private key.
        7          Q      Which block did he use?
        8          A      It was the block that -- I believe it was
        9    block 10, the block that -- that had the
       10    transaction from Satoshi to Hal Finney.
       11          Q      So the assistant that went to get the
       12    computer -- sorry.       Strike that.
       13                       Did you accompany the assistant to go
       14    purchase the new computer?
       15          A      No.
       16          Q      When the computer came back, how -- did
       17    you verify that it was factory sealed?
       18          A      No.
       19          Q      When the -- when the computer started up,
       20    did it boot up with the typical initial startup
       21    that's required on a new computer?
       22          A      Yes.
       23          Q      Which Bitcoin wallet did -- did
       24    Dr. Wright use for the demonstration?
       25                       MR. KASS:   Object to form.
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        1          A      Which -- I be -- I'm not sure -- do
        2    you -- do you mean which software did he use?
        3          Q      Meaning, yes, which software did Craig
        4    use to -- to initiate the transaction, the signed
        5    transaction?
        6          A      I went back and checked my notes this
        7    morning, and it was Electrum.
        8          Q      Do you have notes of that actual meeting
        9    somewhere?
       10          A      I don't have contemporaneous notes.           The
       11    best I have is a -- a Reddit private message thread
       12    that I had with a person on Reddit that -- that I
       13    gave up as part of discovery.          Those are the
       14    best -- that's the best notes that I have.
       15          Q      And whose -- did you suggest that he use
       16    Electrum?
       17                       MR. KASS:   Object to form.
       18          A      No.
       19          Q      He chose Electrum?
       20                       MR. KASS:   Object to form.
       21          A      He chose Electrum, yes.
       22          Q      How was -- how was -- how was it -- how
       23    was it downloaded?       How was it -- how did Electrum
       24    end up on the computer?
       25          A      It was downloaded via the hotel Wi-Fi
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        1    from the -- and I don't recall if it was from the
        2    Electrum website or from GitHub.
        3          Q      And did you verify -- did you watch the
        4    laptop connect to the hotel's Wi-Fi?
        5          A      I don't recall.
        6          Q      Did you see him input, like, the log-in
        7    codes that are typically associated with a hotel
        8    Wi-Fi?
        9          A      I don't recall.
       10          Q      Is it possible it was not the hotel's
       11    Wi-Fi?
       12          A      Yes, it --
       13                      MR. KASS:    Object to form.
       14          A      Yes, it is possible.
       15          Q      When Electrum was downloaded either from
       16    GitHub or from Electrum's website, did you verify
       17    that it had the HTTPS security certificate on the
       18    website?
       19          A      I don't recall.
       20          Q      Did you verify the hash digest of the
       21    download against something you had brought with you
       22    independently?
       23                      MR. KASS:    Object to form.
       24          A      The hash digest of the Electrum software?
       25    No, I did not.
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        1          Q      And I understand you were jet lagged
        2    during this.       Is it fair to say you were exhausted
        3    at this point?
        4          A      Yes, I was.
        5          Q      So how did -- as I understand it, Craig
        6    signed the message on his own computer, and then
        7    you verified that signature on the new computer.
        8    Is that -- is that right?
        9                       MR. KASS:   Object to form.
       10          A      No.    Everything happened on that new
       11    computer.     That's not true.       There had to be a
       12    private key involved.
       13                       I don't recall -- I don't recall if
       14    he signed a message on his computer and then
       15    transferred it to the new computer, or if he
       16    transferred the private key to that new computer.
       17    I don't recall which method was used.
       18                       (Pause.)
       19                       (Exhibit 11 marked for
       20                       identification.)
       21          Q      So I'm handing you what's been marked as
       22    Plaintiffs' Exhibit 11, and it's been produced by
       23    you as -- we've marked it as Gavin 2007.
       24                       Take a moment to familiarize yourself
       25    with it, and then, if you would, turn to 2009 at
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        1    the bottom.
        2                      Is this that Reddit private message
        3    you discussed earlier?
        4          A      Yes, it is.
        5          Q      And if you go to the bottom of page 2009,
        6    do you see it says, CSW signed on his laptop using
        7    Electrum.     GA -- which I assume is Gavin Andresen
        8    -- did not witness the procedure on CSW's screen.
        9    CSW put the signature in a text file and put the
       10    text file on GA's USB stick.
       11                      Does this help refresh your
       12    recollection of --
       13          A      2009.
       14          Q      -- what happened?       Sorry?    Do you want to
       15    keep reading?
       16          A      Let me --
       17          Q      Yeah.    Go ahead.
       18          A      -- find the...
       19                      MR. KASS:    I'm just objecting to the
       20    use of this document.
       21                      MR. FREEDMAN:      Okay.    On what basis?
       22                      MR. KASS:    It's not clear if this is
       23    a Reddit post.       It looks like something that was
       24    copied and pasted into a Word document.             Nothing
       25    has been established as to the providence of this
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        1    document.     So until that's established...
        2                      (Pause.)
        3    BY MR. FREEDMAN:
        4          Q      All right.     Let me take a step back,
        5    actually, before you do that and address Mr. Kass's
        6    concern.
        7                      Do you recognize this particular
        8    document?
        9          A      Yes.
       10          Q      Can you explain to me how I obtained
       11    possession of this document?
       12          A      I went into my Reddit account and went
       13    back through my Reddit private messages, and then I
       14    copied and pasted into a text document that I sent
       15    to you as part of my response to the subpoena I
       16    received.
       17          Q      And is this an accurate copy and paste of
       18    the Reddit messages?
       19          A      Some of the formatting is a little weird,
       20    but, yes, all of the text is.
       21          Q      The substance is accurate?
       22          A      The substance is accurate, I believe.
       23                      MR. FREEDMAN:      Okay.   Still have an
       24    objection?
       25                      MR. KASS:    We'll get to it on cross.
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        1    I mean --
        2                        MR. FREEDMAN:    Okay.
        3                        MR. KASS:   -- a little better.
        4          Q      So, Mr. Andresen, does this help -- is
        5    this a completely accurate description of exactly
        6    what occurred in that demonstration?
        7          A      The -- the text that we were talking
        8    about, the -- let's see.
        9                        (Pause.)
       10          A      Yes.    I believe at least everything on
       11    page 2009 and 2010, this person I was corresponding
       12    with put together from things I had said publicly
       13    around the time that this was being discussed.
       14          Q      And there's a message here, it says you
       15    got -- are you Etmet -- Etmetm?
       16          A      No, I am not Etmetm.       That was the person
       17    I was discussing with that.          Etmetm is one of
       18    the -- I believe he says he's an Electrum
       19    developer.
       20          Q      Got it.    And there's a message on the --
       21    on page 2011, it says, "You got several details
       22    wrong.    I'll correct when on my computer next."
       23                      Is that -- is that from you?
       24          A      That is from me, yes.
       25          Q      Did you ever correct?
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        1          A      No.
        2          Q      Okay.    What was wrong?
        3          A      Oh, boy.    Yeah, I don't recall what was
        4    wrong.
        5          Q      Regardless, does this -- does this
        6    exchange -- does this document help refresh your
        7    recollection as to whether the signature was -- the
        8    sig -- the proof process was done completely on the
        9    new computer or whether it involved two computers?
       10          A      I have no memory of it.        So this document
       11    is the best record of what probably happened.
       12          Q      Okay.    So you would defer to this
       13    document?
       14          A      Yes.
       15                       MR. KASS:   Object to form.
       16          Q      Is one of the mistakes -- do you believe
       17    one of the mistakes in the document is that it was
       18    signed on Craig's laptop and transferred to yours
       19    with a USB stick?
       20                       MR. KASS:   Object to form.
       21          A      It's possible that that is one of the
       22    mistakes, because I don't remember the USB stick
       23    ever being removed from its bubble shell factory --
       24    but it might have been.
       25          Q      So how did Craig get -- assuming that it
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        1    was all done on the new computer, how did Craig get
        2    the private key to block 9 onto the new computer?
        3                      MR. KASS:    Object to form.
        4          A      I don't know.
        5          Q      And then what -- what would have been the
        6    -- did you go ahead and verify it after he had
        7    signed it?
        8                      MR. KASS:    Object to form.
        9          A      Did I?    If I recall correctly, Craig
       10    signed a message, and I saw him do the command to
       11    -- to sign the message.        I think it must have been
       12    on his personal computer.         And we probably did use
       13    a USB stick to move it to the -- the fresh
       14    computer.     And then Craig typed on the fresh
       15    computer the verify command, which failed
       16    initially.     We did it a second time, and -- and
       17    that verification succeeded.
       18          Q      What was different?       Why did it fail and
       19    then why did it succeed?
       20          A      We were verifying a slightly different
       21    message.     I think that it was, you know, Gavin's
       22    favorite number is 11, maybe, if I recall
       23    correctly, dash, CSW versus Gavin's favorite number
       24    is 11.    And we had just -- again, it had been a
       25    long day.     I was jet lagged.       I think Craig was
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        1    tired after wrestling with new computers and
        2    software, and -- and, hence, the -- the failed
        3    first attempt and the -- the successful second
        4    attempt.
        5          Q      Wasn't the message copied from the
        6    original signed message and then pasted and then
        7    again copied and pasted to verify?
        8                      MR. KASS:    Object to form.
        9          A      I'm not sure I understand the question.
       10          Q      Was the message, Gavin's favorite -- so
       11    we had the signed -- we had the signed message,
       12    right?
       13          A      You have a message that you then sign and
       14    create a digital signature --
       15          Q      Right.
       16          A      -- yes.
       17          Q      Then how did you go about verifying that
       18    signature?
       19          A      You take the digital signature, you
       20    transfer it to -- well, you don't have to transfer
       21    it to another computer, but you can then -- given
       22    the -- the public key, which -- which I knew from
       23    the early Bitcoin block, public key, the signature,
       24    and the message that you signed, together, form a
       25    verification, so you need those three things.
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                                                                          Page 84
        1          Q      And so my question is:          You didn't --
        2    there -- there wasn't a copy and paste of the
        3    message you were signing, you didn't create a Word
        4    file or a text file of "Gavin's favorite number is
        5    11-CSW," save that, put it on the USB, reopen that,
        6    and use that as one of the three factors?
        7          A      No, the --
        8                       MR. KASS:   Object to form.
        9          Q      Sorry.     Go ahead.
       10          A      No.    The message was --
       11          Q      Retyped.
       12          A      -- entered, retyped.
       13                       THE VIDEOGRAPHER:      Counsel, I'm sorry
       14    to interrupt.       I have a bit of a technical issue.
       15    Could we go off the record --
       16                       MR. FREEDMAN:     Sure.
       17                       THE VIDEOGRAPHER:      -- for a moment?
       18                       MR. FREEDMAN:     Time is 11:01.      We're
       19    going off the record.        This will mark the end of
       20    Media Unit No. 1.       We're off the record.
       21                       (Off record.)
       22                       THE VIDEOGRAPHER:      The time now is
       23    11:10 a.m.     We're coming back on the record.           Now
       24    beginning Media Unit No. 2 in our deposition with
       25    Gavin Andresen.       We're on the record.
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        1    BY MR. FREEDMAN:
        2          Q      Has this discussion at all refreshed your
        3    recollection of whether there was, in fact, a
        4    transfer of the signature from one computer to
        5    another?
        6                        MR. KASS:   Object to form.
        7          A      No.     Again, my -- I don't recollect that
        8    level of detail.
        9          Q      Is it fair to say that if -- if there was
       10    a transfer, you did not verify that there was no
       11    other software installed on the USB stick?
       12                       MR. KASS:    Object to form.
       13          A      Yes.
       14          Q      Can you guarantee there was an authentic
       15    version of Electrum used for this signing event?
       16                       MR. KASS:    Object to form.
       17          A      Can I guarantee?      No.    It's possible that
       18    a rogue version was downloaded.
       19          Q      Can you guarantee that no code under
       20    Craig's control was installed on the computers used
       21    to verify the message?
       22                       MR. KASS:    Object to form.
       23          A      No.
       24          Q      Did you verify the public address of
       25    block 9 or 10 with the public address that had been
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        1    used to sign the block?        Did you go through every
        2    letter and verify it matched?
        3          A      I brought a list of all the early block
        4    public addresses, and I did verify -- I don't
        5    recall if I went through every single letter, but I
        6    probably did at least the first four to six and the
        7    last four to six, which is typically how I verify a
        8    public address is -- is what I think it is.
        9          Q      During the public proof demonstration,
       10    was there any mention of a -- of needing a trust's
       11    permission to use the private key?
       12          A      I don't recall.
       13          Q      Do you recall how the private key to
       14    block 9 was stored on Craig's laptop in order for
       15    him to sign?
       16                       MR. KASS:   Object to form.
       17          Q      Let me strike that.
       18                       Do you recall how the pub -- the
       19    private key to block 9 was stored by Craig Wright?
       20          A      No.
       21          Q      But if it was a valid signing, he had to
       22    have had access to the private key of -- of
       23    block 10?
       24                       MR. KASS:   Object to form.
       25          A      Yes.
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                                                                          Page 87
        1          Q      Okay.    I think I said 9 before, but if
        2    I'm saying block 9 or 10, I'm referring to the same
        3    block, it's that one that Satoshi sent to Hal and
        4    Hal sent back.       10 versus 9 being where you're
        5    starting from counting, right?
        6          A      Yes.
        7          Q      Okay.
        8          A      And, again, my recollection of the block
        9    number could very well be incorrect.
       10          Q      Did you choose the message you wanted
       11    signed?
       12          A      Yes.
       13          Q      Including the CSW at the end of the
       14    message?
       15                      MR. KASS:    Object to form.
       16          A      No, I did not choose the including CSW at
       17    the end of the message.
       18          Q      So he added that on his own?
       19                      MR. KASS:    Object to form.
       20          A      Yes.
       21          Q      I think you've publicly stated that it's
       22    certainly possible you were bamboozled by Craig.
       23    Do you recall saying that?
       24                      MR. KASS:    Object to form.
       25          A      Yes.
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                                                                          Page 88
        1          Q      What led to you thinking that it was
        2    certainly possible you were -- well, let me take a
        3    step back.
        4                      Sitting here today, do you believe
        5    that you saw a proper signature with the private
        6    key to block 9?
        7          A      Sitting here today, I think it's more
        8    likely than not that I saw a proper signature, but
        9    I -- but I do have some doubt.
       10          Q      And what made you acknowledge that it's
       11    certainly possible you were bamboozled?
       12          A      As I think I state in this kind of Reddit
       13    private message, I did not expect the private
       14    proving session to have as much weight as it did.
       15    So there were certainly, you know, pos -- there are
       16    places in the private proving session where I could
       17    have been fooled, where somebody could have
       18    switched out the software that was being used or,
       19    perhaps, the laptop that was delivered was not a
       20    brand-new laptop, and it had been tampered with in
       21    some way.     I was also jet lagged.
       22                      And, again, I was not in the head
       23    space of this is going to prove to the world that
       24    Craig Wright is Satoshi Nakamoto.           I was in the
       25    head space of, you know, this will prove to me
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        1    beyond a reasonable doubt that Craig Wright is
        2    Satoshi Nakamoto.
        3                      And my doubts arise because the proof
        4    that was presented to me is very different from the
        5    pseudo proof that was later presented to the world.
        6          Q      So after the -- after the proof session
        7    was over, what happened next?
        8          A      I went and got fish and chips, I had a
        9    lovely fish-and-chips dinner, and then went to
       10    sleep.
       11                      The next morning, met with Craig and
       12    what's his name and who's his face, the money guys,
       13    for a traditional English -- English breakfast at
       14    the hotel, the hotel restaurant.
       15          Q      Okay.   And during the proof session, did
       16    Dave Kleiman get brought up at all?
       17                      MR. KASS:    Object to form.
       18          A      Again, I believe he was mentioned as one
       19    of the three people.
       20          Q      Let's take that -- let's take that out of
       21    it, 'cause I understand you're not sure whether
       22    that was said in the first meeting at the proof
       23    session or at the breakfast in the morning, so
       24    let's take that out.
       25                      Aside for this conversation --
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                                                                          Page 90
        1          A      Okay.
        2          Q      -- with Dave Kleiman being one of the
        3    three people behind the Satoshi Nakamoto moniker,
        4    was there any other mention of Dave Kleiman during
        5    the proof session?
        6                        MR. KASS:   Object to form.
        7          A      I don't recall.
        8          Q      So then you -- the next morning you had a
        9    proper English breakfast with the money men.              Did
       10    Craig attend that meeting?
       11          A      Yes.
       12          Q      So it was four people?
       13          A      Four people, yes.
       14          Q      Was it four people the entire time?
       15          A      Yes, I believe so.
       16          Q      Okay.    And aside for, again, the
       17    conversation, we don't know when it took place,
       18    about Dave Kleiman's involvement with Satoshi being
       19    one of the three people, was Dave Kleiman raised at
       20    that breakfast?
       21                      MR. KASS:     Object to form.
       22          A      I don't recall.
       23          Q      Were the trusts raised at that breakfast?
       24                      MR. KASS:     Object to form.
       25          A      I don't recall.
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                                                                          Page 91
        1          Q      Were any trusts raised at that breakfast?
        2                       MR. KASS:   Same objection.
        3          A      I don't recall.
        4          Q      During any of these three conversations
        5    with Craig, did you ever talk to Craig about where
        6    all of his Bitcoin were?
        7          A      No.
        8                       MR. KASS:   I'm gonna object to form.
        9          Q      Can you tell me a bit more about the
       10    conversation, whenever it occurred, with Craig
       11    about the three people behind Satoshi Nakamoto?
       12                       MR. KASS:   Object to form.
       13          A      Can I tell you more about that
       14    conversation?       I don't think so.      My memory is very
       15    fuzzy.    I believe we had a conversation, a short
       16    two sentences, about that, but I don't recall
       17    details.
       18          Q      How did it come up?
       19          A      I don't recall.
       20          Q      And -- and how did he reference the
       21    mysterious third character; what -- what did he --
       22    how did he refer to that character?
       23                       MR. KASS:   Object to form.
       24          A      I think he just said, "And there was
       25    somebody else."
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                                                                          Page 92
        1          Q      And -- sorry.
        2          A      And that's it.      I -- I did not -- it
        3    didn't seem to be any of my business to ask who the
        4    other mysterious third person was.
        5          Q      And -- and what was the -- the statement,
        6    that these three people what?
        7          A      That these three people were involved in
        8    creating Bitcoin in 2009.
        9          Q      Did he --
       10                      MR. KASS:    Object to form, prior
       11    question.
       12          Q      Did he describe what the duties of each
       13    of the three were?
       14                      MR. KASS:    Object to form.
       15          A      Not that I recall, no.
       16          Q      Did he claim one was more Satoshi than
       17    the rest?
       18                      MR. KASS:    Object to form.
       19          A      I believe he claimed that he was the
       20    primary inventor.
       21          Q      And what did you -- what did he mean by,
       22    or did he explain what he meant by, being the
       23    "primary inventor"?
       24                      MR. KASS:    Object to form.
       25          A      I got the impression, or at least I
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        1    believe he -- again, I don't recall details, but he
        2    might have said something like, "It was my idea."
        3            Q    So did he claim credit for anything more
        4    than just saying it was his idea or --
        5                        MR. KASS:   Object.
        6            Q    -- did he leave it at, "It was my idea"?
        7                        MR. KASS:   Object to form.
        8            A    I believe he left it at, "It was my
        9    idea."
       10          Q      During any of these conversations, did
       11    you ask him why he had disappeared in 2011?
       12          A      No.
       13          Q      Did he explain why he disappeared in
       14    2011?
       15          A      I believe he said that he was, at that
       16    time, going through a divorce.
       17          Q      Um-hm.    And, therefore...
       18                       MR. KASS:    Object to form.
       19          A      That he was going through a divorce and
       20    just the personal stress of that contributed to him
       21    stepping back, away from the project.
       22          Q      I think it was Plaintiffs' Exhibit 1 was
       23    Satoshi's message to you that he was moving on to
       24    other things.       Do you recall that?
       25          A      Yes.
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                                                                          Page 94
        1           Q     Did you ask him what those other things
        2    were?
        3           A     I don't recall.      I don't think I did.
        4           Q     Did the topic of the other two members of
        5    the Satoshi team ever come up in front of the money
        6    men?
        7                       MR. KASS:   Object to form.
        8           A     They were there during all of my
        9    conversations with Craig, at least one of them --
       10    one or the other of them were there, so, yes, it
       11    would have been in front of them.
       12           Q     Do you remember which?
       13           A     No, I don't recall.
       14           Q     Did they ever express concern about who
       15    might have the rights to Satoshi's work product?
       16                       MR. KASS:   Object to form.
       17           A     No.
       18           Q     Did that issue ever get discussed?
       19                       MR. KASS:   Object to form.
       20           A     No.
       21           Q     During the conversations with Craig, did
       22    his wealth ever come up?
       23                       MR. KASS:   Object to form.
       24           A     Did his wealth ever come up?         No.
       25           Q     Did you ever ask him what he intended to
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        1    do with the fortune of Bitcoin he was sitting on?
        2                        MR. KASS:   Object to form.
        3          A      No.
        4          Q      Did he say what he intended to do with
        5    the fortune of Bitcoin?
        6                        MR. KASS:   Object to form.
        7          A      Not that I recall.
        8          Q      It seems you exercised extreme restraint
        9    in not asking.
       10          A      Yes, I did.
       11                       MR. KASS:    Object to form.
       12                       (Exhibit 12 marked for
       13                       identification.)
       14          Q      I want to pull you out of the timeline
       15    for a second, just so you see where I'm going with
       16    things.
       17                       I'm handing you what's been marked as
       18    Plaintiffs' Exhibit 12, and it is comprised of
       19    Gavin 683 and 684.
       20                       Do you recognize this email?
       21          A      Yes.
       22          Q      To put this email -- and this is an email
       23    from Robert MacGregor to you and Jon Matonis?
       24          A      Yes.
       25          Q      CC'ing Stefan Matthews from nCrypt?
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        1          A      Yes.
        2          Q      And these are the money men?
        3                        MR. KASS:   Object to form.
        4          A      Rob.    Yes, I believe they are.
        5          Q      Okay.    And 683 is the email, 684 is its
        6    attachment?
        7                        MR. KASS:   Object to form.
        8          Q      It's the next page.
        9          A      Yes.
       10          Q      Do you recall receiving this email and
       11    its attachment?
       12          A      I recall -- do I recall receiving it?            I
       13    recall giving it to you as part of the discovery
       14    process for the subpoena.
       15          Q      So at some point you received it?
       16                      MR. KASS:     Object.
       17          A      At some point I did receive it, yes.
       18          Q      Okay.    And to put this in context, and
       19    we'll get back to the timeline in a minute, Craig
       20    attempts to prove to the world publicly that he is
       21    Satoshi, and provides less than perfect proof.              Is
       22    that an accurate statement?
       23                      MR. KASS:     Object to form.
       24          A      Yes.
       25          Q      And when that proof fails to demonstrate
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        1    who he says he is, the money men go into crisis
        2    mode to save the day.         Is that an accurate
        3    paraphrase of what's going on?
        4                        MR. KASS:   Object to form.
        5          A      Yes.
        6          Q      And as part of that saving of the day to
        7    recover Craig's reputation, they propose that there
        8    will be -- that Craig will actually send Bitcoin
        9    from block 9 or block 10, that -- I think they're
       10    referring to it as block 9, but it's the same
       11    block, to you and Jon Matonis as unequivocal,
       12    uncontrovertible proof that he has the private key
       13    to block 9 --
       14                      MR. KASS:     Object to form.
       15          Q      -- is that fair?
       16          A      Yes.
       17          Q      And in the attachment, it lays out kind
       18    of the process of what they're going to release --
       19    or, rather, it is, in fact, a blog post that they
       20    were going to post; is that right?
       21                      MR. KASS:     Object to form.
       22          A      Yes.
       23          Q      And it was -- it was a draft blog post
       24    for Craig to post?
       25                      MR. KASS:     Object to form.
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        1          A      Yes.
        2          Q      And in it, it starts off saying, "While
        3    Hal Finney was not the second person to actually
        4    run Bitcoin as he had speculated, that distinction
        5    goes to Dave Kleiman."
        6                      You see that?
        7          A      Yes, I see that.
        8          Q      Is this consistent with your
        9    conversations with Craig that Dave Kleiman was the
       10    second person to run Bitcoin?
       11                      MR. KASS:    Object to form.
       12          A      I don't know that we ever discussed
       13    running Bitcoin.
       14          Q      Okay.
       15          A      So, no, I don't think I ever had any
       16    discussion about who was running Bitcoin when with
       17    Craig.
       18          Q      After you received this message, did you
       19    communicate with Craig at all about Dave Kleiman
       20    being the second person to run Bitcoin?
       21          A      Not that I recall.
       22          Q      Did you understand that Craig had signed
       23    off on this blog post?
       24                      MR. KASS:    Object to form.
       25          A      I don't think I had any knowledge about
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        1    whether Craig had seen this blog post prior to me
        2    seeing this blog post.
        3            Q    And then if you look down at the fourth
        4    paragraph, it says, "Obviously, I'm well aware of
        5    the furore that has been created because I did not
        6    immediately sign a message with the private key
        7    from this block.       I will make the reasons for this
        8    clear and provide further context in an upcoming
        9    post."
       10                      Do you see that?
       11          A      Yes.
       12          Q      Did he ever make the reasons for his
       13    failure clear?
       14          A      I don't think so, no.
       15          Q      And did he ever provide further context?
       16          A      He wrote a lot -- he wrote a lot
       17    afterwards, and -- and a lot I didn't read, so I
       18    don't know.
       19                      MR. FREEDMAN:      Do we want to maybe
       20    take a minute and see if we can get them to quiet
       21    down?
       22                      THE VIDEOGRAPHER:       Great idea.
       23                      The time is 11:31.       We're going off
       24    the record.
       25                      (Off record.)
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         1                       THE VIDEOGRAPHER:     The time is
         2    11:33 a.m.     We're back on the record.
         3    BY MR. FREEDMAN:
         4            Q   Are you aware that -- did Craig ever
         5    mention Patrick Paige to you?
         6            A   Not that I recall.
         7            Q   Are you aware that Patrick Paige is --
         8    was one of Dave's best friends, Dave Kleiman's best
         9    friends?
       10            A    No.
       11            Q    Are you aware that he testified that in
       12     2014 Craig told him Craig was a part of a group of
       13     people that had created Bitcoin?
       14                       MR. KASS:    Object to form.
       15            A    No.
       16            Q    Is that consistent with what Craig told
       17     you?
       18                       MR. KASS:    Object to form.
       19            A    Yes.
       20            Q    Did you ever read Andrew -- did you ever
       21     come to meet Andrew O'Hagan -- or, sorry.             Strike
       22     that.
       23                       Did you ever come to be introduced to
       24     Andrew O'Hagan?
       25            A    I don't think I've met him in person.
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         1           Q    But you spoke with him?
         2           A    I don't know if we ever had a phone
         3    conversation.       I've definitely emailed with him.
         4           Q    You've communicated with Andrew O'Hagan?
         5           A    I have communicated with Andrew O'Hagan,
         6    yes.
         7           Q    Did you ever come to read the story he
         8    put together called "The Satoshi Affair"?
         9           A    Yes, I did.
       10            Q    I'm gonna hand you what we're marking as
       11     Plaintiffs' Exhibit 13.
       12                      (Exhibit 13 marked for
       13                      identification.)
       14                      MR. FREEDMAN:      I might have a second
       15     copy for you, but it's 83-1.
       16                      MR. KASS:     Well, if you have one for
       17     me, that will be helpful.
       18                      (Pause.)
       19                      (Document exhibited to counsel.)
       20            Q    Do you recognize -- do you recognize what
       21     I've just handed you as Plaintiffs' Exhibit 13?
       22            A    Yes.
       23            Q    Okay.    And can you turn -- and is this
       24     "The Satoshi Affair" article that Andrew O'Hagan
       25     drafted or wrote -- authored?
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         1          A     I believe so, yes.
         2          Q     And is the characterization of the
         3    signing session, the proof session, is that
         4    accurate?
         5                       MR. KASS:   Object to form.
         6          A     I would have to go back and reread it.
         7          Q     All right.     Well, let's come back to
         8    that.
         9                       Can you page -- turn to page -- see
       10     on the top there's blue page numbers?            Sorry.
       11     They're not blue in your copy.
       12                      Do you see in the top that there's a
       13     header, it says page X --
       14           A     Yes.
       15           Q     -- of Y?
       16           A     Yes.
       17           Q     Can you -- can you turn to page 26.
       18           A     Yep.
       19           Q     If you go to the middle paragraph, do you
       20     want to read that first sentence for the record?
       21           A     "Dave Kleiman was to become the most
       22     important person in Wright's professional life, the
       23     man he says helped him do Satoshi's work."
       24           Q     Is this consistent with statements you
       25     heard from Craig?
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                                                                         Page 103
         1                       MR. KASS:   Object to form.
         2           A     Yes.
         3           Q     And can you turn to page 76.
         4                       And way at the bottom, this is Andrew
         5    O'Hagan recounting a conversation he had with
         6    Craig.     Can you go ahead and read that back and
         7    forth?
         8           A     In a conversation I had, right?
         9           Q     No.    Andrew O'Hagan with Craig Wright.
       10     Starting from "but you can say," can you read that
       11     for the record, please?
       12                        MR. KASS:   Object to form.
       13            A    "But you can say, hand on heart, I am
       14     Satoshi Nakamoto."
       15            Q    And then Craig's response on the next
       16     page, 77.
       17                        MR. KASS:   Same objection.
       18            A    "I was the main part of it.          Other people
       19     helped.    At the end of the day, none of this would
       20     have happened with Dave Kleiman, without Hal
       21     Finney, and without those who took over, like Gavin
       22     and Mike."
       23            Q    Are these statements about Dave Kleiman
       24     consistent with other statements Craig has made to
       25     you?
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         1                       MR. KASS:   Object to form.
         2          A     Yes.
         3          Q     Can you turn back to page 27.
         4                       And on page 27 -- sorry.
         5                       (Pause.)
         6          Q     Do you see the paragraph that starts off,
         7    "We needed people to respond to us"?
         8          A     Yes.
         9          Q     Halfway through that paragraph there is a
       10     sentence that begins with "If"?
       11           A     Yes.
       12           Q     It's a -- it's a quote from Craig.           Can
       13     you read that for the record?
       14           A     "If I" -- "if I had come out originally
       15     as Satoshi, without Dave, I don't think it would
       16     have gone anywhere.       I've had too many
       17     conversations with people who get annoyed because
       18     it's me."
       19           Q     Is that also consistent with your
       20     conversations with Craig?
       21                      MR. KASS:     Object to form.
       22           A     Yes.
       23           Q     And consistent with statements Craig has
       24     told you?
       25                      MR. KASS:     Object to form.
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                                                                         Page 105
         1          A     Yes.
         2          Q     Can you go to page 31 for me?
         3          A     (Witness complied.)
         4          Q     And in the second paragraph of page 31,
         5    Andrew O'Hagan quotes an email dated 12th
         6    March 2008.     Do you see that?
         7          A     Yes.
         8          Q     And can you read the -- can you read the
         9    quote that he's quoting from that article -- I'm
       10     sorry -- can you read the quote of the email that
       11     he's quoting?
       12           A     That begins, "I need your help"?
       13           Q     Yes.
       14           A     "I need your help editing a paper I am
       15     going to release later this year.           I have been
       16     working on a new form of electronic money, Bit
       17     cash, Bitcoin.      You are always there for me, Dave.
       18     I want you to be part of it all.          I cannot release
       19     it as me.    GMX, Vistomail, and Tor, I need your
       20     help and I need a version of me to make this work
       21     that is better than me."
       22           Q     Is this email consistent with the story
       23     Craig told you about his and Dave's collaboration?
       24                      MR. KASS:     Object to form.
       25           A     Yes.
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                                                                         Page 106
         1                     (Discussion off the record.)
         2                     THE VIDEOGRAPHER:       There's a signal
         3    going through the audio that is disruptive, but it
         4    doesn't prevent you from hearing everything.             It's
         5    just annoying.      I don't know -- it just popped up.
         6    I don't know where it's coming from.           We could go
         7    off the record, we could try to track it down, but
         8    I don't know.
         9                     MR. FREEDMAN:      How bad is it?
       10                      Maybe we should go off the record
       11     while we're doing this.
       12                      THE VIDEOGRAPHER:       Let's go off,
       13     yeah.     The time is 11:41.     We're going off the
       14     record.
       15                      (Off record.)
       16                      THE VIDEOGRAPHER:       The time is
       17     11:45 a.m.     We're coming back on the record.          Now
       18     beginning -- no, continuing with Media Unit No. 2.
       19     Sorry.     We're on the record.
       20     BY MR. FREEDMAN:
       21           Q      If you turn to page 36, and you go to the
       22     bottom of the page, you'll see a sentence that
       23     says, "I asked Wright about this, and he told me it
       24     was true, that his and Kleiman's mining activity
       25     had led to a complicated trust."
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                                                                         Page 107
         1                       Did you discuss trusts at all with
         2    Craig?
         3                       MR. KASS:   Object to form.
         4          A     I don't recall.
         5          Q     Did you discuss his and Dave Kleiman's
         6    mining activity?
         7                       MR. KASS:   Object to form.
         8          A     No.
         9                       (Exhibit 14 marked for
       10                       identification.)
       11           Q     I'm gonna hand you what has been marked
       12     as Plaintiffs' Exhibit 14.         And for the record,
       13     it's Gavin 1007.
       14                       Do you recognize this email?
       15           A     Yes.
       16           Q     And it's an email from Craig to you and
       17     Jon Matonis?
       18           A     Yes.
       19           Q     On April 27, 2016?
       20           A     Yes.
       21           Q     If you look three paragraphs down from
       22     the top, do you see where Craig writes to you, "In
       23     the past I would joke with Dave before he died
       24     about being Bond villains"?
       25           A     No, I'm not seeing that.         Third paragraph
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                                                                         Page 108
         1    from the --
         2                       (Counsel indicating.)
         3          A     Oh, there.     Sorry.    I was going from the
         4    bottom.    Yes, I see that.
         5          Q     So you understood this to be a reference
         6    to Dave Kleiman?
         7                       MR. KASS:   Object to form.
         8          A     Yes.
         9          Q     So, clearly, you had discussed Dave
       10     Kleiman before this date?
       11                      MR. KASS:     Object to form.
       12           A     Yes.
       13           Q     Beyond the statements that he, Dave
       14     Kleiman, and a mysterious third person had created
       15     Bitcoin together, did the other -- did he make any
       16     other statements about Dave Kleiman?
       17                      MR. KASS:     Object to form.
       18           A     I don't recall.
       19           Q     "Starting a Bitcoin company has meant
       20     dealing" --
       21                      THE STENOGRAPHER:       I'm sorry.     Can
       22     you start again?
       23           Q     "Starting a Bitcoin company has meant
       24     dealing with so many people in the past that it
       25     made me feel that way."
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         1                       Did you ever understand why he felt
         2    like a Bond villain starting a Bitcoin company?
         3          A     No.
         4          Q     Do you see the paragraph that starts,
         5    "This time"?
         6          A     Yes.
         7          Q     The last sentence of it, can you read it
         8    for the record?
         9          A     "I wonder how long I can keep my other
       10     wallets secret.      Soon it won't matter."
       11           Q     Do you know what he meant here by "other
       12     wallets"?
       13                       MR. KASS:    Object to form.
       14           A     No.
       15           Q     Did you ever come to learn what he meant
       16     by "other wallets"?
       17                       MR. KASS:    Object to form.
       18           A     No.
       19           Q     Do you see the second-to-last sentence of
       20     the paragraph after that?        It starts, "But most
       21     importantly," and then the whole sentence says,
       22     But, most importantly, I have capital?
       23           A     Yes.
       24           Q     Did you understood -- did you ever come
       25     to understand where that capital came from?
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                                                                         Page 110
         1                       MR. KASS:   Object to form.
         2           A     No.
         3           Q     Do you understand how much capital he
         4    had?
         5           A     No.
         6                       MR. KASS:   Object to form.
         7                       (Exhibit 15 marked for
         8                       identification.)
         9           Q     I'm going to hand you what's been marked
       10     as Plaintiffs' Exhibit 15 and is Bates labeled
       11     Gavin 357.
       12                        Do you recognize this email?
       13            A    Yes.
       14            Q    Can you explain what these emails were?
       15                        (Witness perusing document.)
       16            A    Let me -- let me parse out the thread.
       17     So I was contacted by Uyen Nguyen -- I don't know
       18     how you pronounce the name.
       19            Q    I think that's right.
       20            A    -- Uyen Nguyen back in 2016.          They were
       21     -- they claimed that they were trustee for some
       22     trust that Craig Wright had set up.           And, if I
       23     recall correctly, they were -- they were asking if
       24     I could help put them in touch with Craig, because
       25     they were running into some issues with the IRS or
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         1    something.     I think that's what the -- and I may be
         2    misremembering, 'cause I may have had several
         3    communications with them.
         4                      Third -- and then this particular
         5    document is from Ian Grigg, who was asking me not
         6    to make all of the information public about trusts
         7    and -- and various other -- I guess about -- about
         8    trusts.
         9          Q     Do you know Ian Grigg from before this
       10     email?
       11           A     No.
       12           Q     But did you know him by reputation?
       13           A     I don't know if I knew him by reputation
       14     before this email.
       15           Q     Do you know him now?
       16           A     I do know him now, yes.         He's a technical
       17     guy, cryptographer-type person.
       18           Q     Have you discussed this email with him?
       19           A     I have not, no.
       20           Q     If you look on the page Bates-labeled
       21     358, second page, maybe it's the third paragraph up
       22     from the bottom, it says, "Craig Wright is
       23     one-third of Satoshi Nakamoto.          He is the only
       24     survivor now."
       25           A     I see that, yes.
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                                                                         Page 112
         1            Q   Is that consistent with statements Craig
         2    has made to you?
         3                      MR. KASS:    Object to form.
         4            A   I don't know that Craig ever talked about
         5    the mysterious third person dying, but I suppose it
         6    would be consistent.
         7            Q   Do you see in the first paragraph Uyen
         8    writes, "I was the one chosen, since I knew who and
         9    what they were back in 2010"?
       10           A     Where is that?
       11           Q     It's in the first paragraph of her email.
       12           A     I see it, yes.
       13           Q     Did you ever have a conversation with
       14     Uyen?
       15           A     No.    I think the email conversations that
       16     I produced as part of discovery was the only
       17     communications I've had with Uyen.
       18           Q     Did you ever talk to Craig about these
       19     emails from Uyen?
       20           A     No.
       21           Q     Did you keep the emails confidential?
       22           A     Until I was subpoenaed, yes.
       23                       (Exhibit 16 marked for
       24                       identification.)
       25           Q     I'm handing you what's been marked as
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                                                                         Page 113
         1    Plaintiffs' Exhibit 16, Bates 622.
         2                       Do you recognize this email?
         3                       (Witness perusing document.)
         4          A     Yes.
         5          Q     And do you see your email -- this is
         6    the -- the email we just looked at a moment ago
         7    from Uyen that was at the bottom of the chain of
         8    Plaintiffs' Exhibit 15, right?
         9          A     Yes.
       10           Q     And then above that, you respond back to
       11     Uyen, right?
       12           A     Yes.
       13           Q     And you say, "Is it possible there are no
       14     Bitcoins in the trust, and David and Craig were
       15     making up a story all along?"
       16                      Which trust are you referring to?
       17           A     The trust that Uyen Nguyen claimed they
       18     were a trustee for.
       19           Q     But Craig had never mentioned a trustee
       20     before this?
       21                      MR. KASS:     Object to form.
       22           A     I don't recall.
       23           Q     And then you say -- well, why don't you
       24     read the second paragraph for me, of your email.
       25           A     "Given his extreme efforts to avoid
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         1    releasing a public signature, I'm starting to doubt
         2    that Craig actually possesses the key he claims he
         3    has, and he did somehow manage to trick me and,
         4    perhaps, has been deceiving people for many years."
         5          Q     What do you think now?        Was -- let me
         6    take a step back.
         7                      Was that an accurate statement
         8    when -- when you made it?
         9          A     Yes.
       10           Q     And what do you think now?
       11                       MR. KASS:    Object to form.
       12           A     I'm not sure what to think.          I am -- I
       13     might have been bamboozled.
       14           Q     In the email that Uyen responds back to
       15     your last email, she says, "The troublemaker is
       16     Craig himself, not Dave."
       17                       Do you see that?      Top -- top -- or
       18     second sentence of the email.
       19           A     Yes, I see that.
       20           Q     Do you know what she's referring to?
       21                       MR. KASS:    Object to form.
       22           A     No.
       23           Q     Did you ever ask Craig what she was
       24     referring to?
       25           A     No.
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         1          Q     And she finishes the email with,
         2    "nLockTime is what controls the trust."
         3                       Do you see that?
         4          A     Yes.
         5          Q     Do you know what she means?
         6                       MR. KASS:   Object to form.
         7          A     Yes.    NLockTime is a feature of Bitcoin
         8    transactions that allows you to create a
         9    transaction that cannot be published to the network
       10     to transfer Bitcoins from one person to another
       11     until sometime in the future.
       12           Q     Okay.    Did you ever get any more detail
       13     on what she means by "nLockTime is what controls
       14     the trust"?
       15           A     No.
       16                       (Exhibit 17 marked for
       17                       identification.)
       18           Q     Okay.    I'm gonna hand you what's been
       19     marked Plaintiffs' Exhibit 17, and it's been
       20     Bates-labeled Gavin 33.
       21                       Do you recognize this email?
       22           A     Yes.
       23           Q     What is this email?
       24           A     This is an email from me to Stefan
       25     Matthews about a blog post that I wrote saying that
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                                                                         Page 116
         1    I believe Craig Wright is Satoshi Nakamoto.
         2          Q     Did you end up publishing this blog post?
         3          A     Yes, I did.
         4          Q     In this form?
         5          A     Very close to this form.         You can check
         6    my blog, it's actually still there.
         7          Q     Okay.    And that final form is obviously
         8    what you, yourself, posted?
         9          A     Yes.
       10           Q     In the draft, you write, on the second
       11     paragraph, last sentence, "After spending an
       12     afternoon with him" -- him meaning Craig, right?
       13           A     Yes.
       14                      MR. KASS:     Object to form.
       15           Q     -- "I am convinced beyond a reasonable
       16     doubt he is Satoshi."
       17                      What convinced you beyond a
       18     reasonable doubt at the time?
       19           A     It was the combination of speaking with
       20     him, communicating with him via email.            It -- he
       21     seemed to have the same prickly personality of the
       22     person I was communicating with in 2010, combined
       23     with a plausible backstory about why he would have
       24     stepped away, and then combined with -- I was
       25     convinced that he actually did sign and verify a
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         1    message using a key from one of the early Bitcoin
         2    blocks.    So those three things convinced me at the
         3    time.
         4          Q     And did the convincing -- the convincing
         5    reason for why he stepped away was that he was
         6    going through a divorce in 2011?
         7          A     Yes.
         8          Q     Any -- anything else?
         9          A     No.
       10           Q     Can you look at the third -- or maybe
       11     it's fourth paragraph down, and the second sentence
       12     starts with "and."       Can you read that for me?
       13           A     "And he cleared up a lot of mysteries,
       14     including why he disappeared when he did and what
       15     he's been busy with since 2011."
       16           Q     So what are the mysteries he cleared up?
       17           A     I don't recall what exactly I was
       18     referring to then.       Yeah, I don't recall.
       19           Q     Is it fair to say that the -- the fact
       20     that Satoshi Nakamoto was a team of three
       21     individuals is one of those mysteries?
       22                       MR. KASS:    Object to form.
       23           A     I guess that's fair to say, sure.
       24           Q     We covered why he disappeared, right, it
       25     was the divorce?
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                                                                         Page 118
         1          A      Yes.
         2          Q      And then what he's been busy with since
         3    2011?
         4          A      Yes.   I believe the academic study.          From
         5    previous emails, the -- the -- you know, busy
         6    getting further degrees I assumed is what he had
         7    been busy with.
         8          Q      So we've covered three things:         Why he
         9    disappeared, what he's been busy with, and the
       10     identity -- the tri-party identity of Satoshi
       11     Nakamoto.
       12                      He wrote, "A lot of mysteries."           Is
       13     there more you just don't recall?
       14           A     There's more --
       15                      MR. KASS:     Object to form.
       16           Q     I'm just -- was it just an inaccurate
       17     statement?     Why did you write, "A lot of
       18     mysteries"?     Because three strikes me as a few, not
       19     a lot.
       20                      MR. KASS:     Same objection.
       21           A     I don't recall details.         I mean, we
       22     discussed some design decisions in Bitcoin
       23     software.    And, again, I don't recall the details
       24     of exactly which of those -- like, you know, why
       25     did he choose C++?       Why did he use Windows?        Why --
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         1    why 21 million Bitcoin?           Why -- why the name
         2    Satoshi Nakamoto?
         3                          I believe we discussed some of those
         4    things either in London or later in emails, and so
         5    those were some of the types of mysteries that I
         6    felt like had been cleared up.
         7            Q      Why did he choose Satoshi Nakamoto?
         8                          MR. KASS:   Object to form.
         9            A      He actually -- oh, he gave me a -- he
       10     gave me a -- a book, which I actually haven't read
       11     yet, it's a Japanese -- story about a Japanese
       12     merchant, I believe.         Again, I haven't read the
       13     book.       But the merchant is named Satoshi.        And so
       14     that was his explanation for why he chose the name
       15     "Satoshi."
       16           Q        Got it.
       17                        So -- okay.     I want to jump back into
       18     the timeline now.         So we left it that you had just
       19     exited the proof session on April 7th, and you
       20     walked away from the meeting, beyond reasonable
       21     doubt, thinking Craig is Satoshi?
       22           A        Yes.
       23           Q        And that was April 7th?
       24           A        Yes.
       25           Q        Craig's press conference was May 2nd.
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         1                       MR. KASS:   Object to form.
         2            Q   So I want to cover the period between
         3    your meeting Craig -- your meeting Craig for the
         4    proof session, and then the ultimate failure of his
         5    public proof session.        Is that okay?
         6            A   Okay.
         7                       MR. KASS:   Object to form.
         8            Q   So on April 12th, I believe, you get an
         9    email from Andrew O'Hagan asking whether or not --
       10     did I run out -- there I am, thank you -- asking
       11     whether or not you could talk.
       12                      This is Plaintiffs' Exhibit 18, and
       13     it's Bates labeled Gavin 1762.
       14                      (Exhibit 18 marked for
       15                      identification.)
       16           Q     And in response -- so is that right, you
       17     get an email from Andrew O'Hagan asking if you can
       18     talk?
       19           A     Yes.
       20           Q     In response, you forward this to the --
       21     the money men and Craig, right?
       22                      MR. KASS:     Object to form.
       23           A     Yes.
       24           Q     And you say, I'm not planning on talking
       25     to anyone, but let me know if you would like me to
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         1    talk to him; is that fair?
         2           A    That's correct.
         3           Q    Did they end up asking you to talk to
         4    him?
         5           A    I don't recall.
         6           Q    And did they explain to you what Andrew
         7    O'Hagan was there to do?
         8           A    I don't think so.
         9           Q    Did you ever come --
       10            A    I don't recall them mentioning Andrew
       11     O'Hagan's name at all.
       12            Q    Did Andrew O'Hagan ever explain to you
       13     what he was there to do?
       14            A    I don't think so.       I think the -- the --
       15     the next time I -- I don't know.          I wouldn't be
       16     surprised if the next time I heard of Andrew
       17     O'Hagan was when the big article was published.
       18            Q    Okay.    Well, you had that email exchange
       19     with him?
       20                      MR. KASS:     Object to form.
       21            Q    We -- we looked at it earlier.          It was --
       22     do you mind passing me your exhibits so I can find
       23     it for you?
       24            A    Sure.
       25            Q    That's the downside of using electronic
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         1    exhibits.
         2                       Here we are, Plaintiffs' Exhibit 10.
         3                       (Document exhibited to witness.)
         4          A     April 29th.       I sit corrected.
         5          Q     So do you recall ever getting explained
         6    who Andrew O'Hagan was or what he was doing there?
         7          A     No.
         8          Q     Somebody must have authorized you to give
         9    this detailed account because you were otherwise
       10     under a embargo; isn't that right?
       11                       MR. KASS:    Object to form.
       12           A     I don't recall.
       13           Q     And, in fact, an -- an NDA of some kind?
       14           A     I don't recall.
       15                       (Exhibit 19 marked for
       16                       identification.)
       17           Q     Okay.    Hand you what's been marked as
       18     Plaintiffs' Exhibit 19, and what is Bates-labeled
       19     Gavin 15.
       20                       Do you recognize this email?
       21                       (Witness perusing document.)
       22           A     Yes.
       23           Q     And this is you writing to Stefan
       24     Matthews, I believe; is that right?
       25                       MR. KASS:    Object to form.
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                                                                         Page 123
         1          A     Probably.     I -- I ma -- I don't know who
         2    srmatt@hushmail.com is.
         3          Q     He was one of the money men?
         4                       MR. KASS:   Object to form.
         5          A     Yes.
         6          Q     Okay.    And in the third paragraph down,
         7    you tell him, "Convincing Andreas Antonopoulos that
         8    Craig has possession of early-in-the-blockchain
         9    keys, convincing him that Craig deeply understands
       10     Bitcoin would, I think, be very helpful."
       11                      Do you see that?
       12           A     Yes.
       13           Q     Why did you believe it would be helpful
       14     to convince Andreas Antonopoulos?
       15           A     An -- Andreas Antonopoulos is well-known
       16     in the Bitcoin community and is considered to be
       17     very trustworthy.      He's also very knowledgeable
       18     about technical stuff.
       19           Q     Do you consider him to be trustworthy?
       20                      MR. KASS:     Object to form.
       21           A     Yes.
       22           Q     Do you consider him to be very
       23     knowledgeable about Bitcoin?
       24                      MR. KASS:     Object to form.
       25           A     Yes.
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                                                                         Page 124
         1          Q     Would you rank him in the top 10 people
         2    in the world in terms of Bitcoin knowledge?
         3                       MR. KASS:   Object to form.
         4          A     Top 10?
         5          Q     Make it top 20.
         6                       MR. KASS:   Object to form.
         7          A     Top 20?    He wrote -- he wrote a whole
         8    book about Bitcoin, so he's definitely an expert.
         9    If it came to actually working on the code, like
       10     doing the software engineering, then he's probably
       11     not in the top 20, but, I mean, he definitely
       12     understands the Bitcoin system very well.
       13           Q     Okay.    So there are better coders than
       14     him, you're saying?
       15           A     There are better coders than him, yes.
       16           Q     Would you consider him to be an expert in
       17     Bitcoin technologies?
       18                      MR. KASS:     Object to form.
       19           A     Yes.
       20           Q     Did Craig convince Andreas Antonopoulos
       21     -- Andreas Antonopoulos that he had the keys to the
       22     early Bitcoin --
       23                      MR. KASS:     Object to form.
       24           Q     -- public addresses?
       25                      MR. KASS:     Object to form.
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                                                                         Page 125
         1          A     No.
         2          Q     Why not?
         3          A     I believe Andreas refused to meet with
         4    Craig.
         5          Q     Do you know why?
         6          A     I don't know why.
         7          Q     Okay.    And in this email you're
         8    referencing the blog post that we -- we took a look
         9    at earlier, right?
       10           A     Yes.
       11                       MR. KASS:    Object to form.
       12                       Vel, do you have an idea as to how
       13     much you have left?       Because we have a cross-
       14     noticed deposition, and you're probably about three
       15     hours.
       16                       MR. FREEDMAN:     I don't know, but we
       17     can take stock of that the next break.
       18                       MR. KASS:    All right.
       19                       MR. FREEDMAN:     I'm not sure how it
       20     helps, though.      I've got to finish, and then we can
       21     see how we proceed.
       22                       MR. KASS:    Well --
       23                       (Exhibit 20 marked for
       24                       identification.)
       25           Q     I'm handing you Plaintiffs' Exhibit 20,
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                                                                         Page 126
         1    and it's Bates marked 1521.
         2                       MR. FREEDMAN:    Let's discuss it
         3    later.
         4                       MR. KASS:   Okay.    I just want to make
         5    clear, though, that we don't consent to you just
         6    finishing and not leaving us sufficient time.              We
         7    can talk about it at the break, but I just wanted
         8    to make sure that I wasn't implicitly conceding to
         9    your statement.
       10                      MR. FREEDMAN:      Okay.    Your objection
       11     is noted.
       12                      MR. KASS:     All right.
       13     BY MR. FREEDMAN:
       14           Q     All right.     So I've just handed you
       15     Plaintiffs' Exhibit 20 that is Bates-marked
       16     Gavin 1521.
       17                      Do you see that email?
       18           A     Yes.
       19           Q     Okay.    Do you recognize it?
       20           A     Yes.
       21           Q     And is it an email from Stefan Matthews
       22     to you?
       23           A     Yes, it is.
       24           Q     Does it help you remember who
       25     srmatt@hushmail.com is?
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                                                                         Page 127
         1          A     No.
         2          Q     Well, do you see the "from" email?
         3          A     Oh, Stefan -- Stefan Matthews.          Yes.
         4    Okay.
         5          Q     So "srmatt" is Stefan Matthews?
         6                       MR. KASS:   Object to form.
         7          A     I think so.
         8          Q     And one of the money men?
         9                       MR. KASS:   Object to form.
       10           A     Yes.
       11           Q     And what is this email?
       12           A     This is Stefan giving me -- encouraging
       13     me to communicate with Andrew about the whole
       14     Satoshi affair.
       15           Q     So I guess it's fair to say this is the
       16     introductory explanation of who Andrew O'Hagan is
       17     vis-a-vis Craig Wright's coming out as Satoshi?
       18                       MR. KASS:    Object to form.
       19           A     Yes.
       20           Q     And then you went ahead and engaged
       21     Andrew O'Hagan as we saw in that email?
       22           A     Yes.
       23           Q     But do you recall if you spoke to him on
       24     the phone yet?
       25           A     I don't recall.
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                                                                         Page 128
         1                     (Exhibit 21 marked for
         2                     identification.)
         3          Q      I'm handing you -- thank you.
         4                     I'm handing you what we're marking as
         5    Plaintiffs' Exhibit 21, and it's Bates-labeled
         6    Gavin 1179.
         7                     Do you recognize this email?
         8          A      Yes.
         9          Q      What is this email?
       10           A     This is an email from Craig Wright to me,
       11     supposedly showing a screenshot that is some early
       12     Bitcoin debug logs from the Bitcoin software.
       13           Q     And he says they have his name in it?
       14                      THE STENOGRAPHER:       I'm sorry?
       15           Q     They say -- it says that -- sorry.           He
       16     says that these debug logs have his name in them;
       17     is that right?
       18           A     Yes, that's what he says.
       19           Q     Do you see Craig.Wright in the debug --
       20     debug log?
       21                      MR. KASS:     Object to form.      Vel, it's
       22     not legible besides.
       23           A     Yeah, kind of.      I think I do, actually,
       24     see it kind of at the beginning.
       25     C:\Users\craig.wright --
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                                                                         Page 129
         1                      MR. FREEDMAN:     I can zoom in on it
         2    for you.
         3          A     -- AppData.
         4                      MR. KASS:    Well, you don't -- well,
         5    if the witness has better eyes than me, he can
         6    testify.
         7          Q     See the --
         8          A     Yes.
         9          Q     All right.     There we go.      This is an
       10     electronically zoomed-in version.
       11                       What is -- what is this debug log?
       12           A     The Bitcoin software can be run with a
       13     command line switch to write debugging information
       14     to a file, just to help developers to figure out if
       15     it makes a mistake.
       16           Q     And does this show in any way that Craig
       17     is Satoshi?
       18           A     No.
       19           Q     I mean, I could have run this debug log,
       20     right?
       21                       MR. KASS:    Object to form.
       22           A     Yeah.    Well, certainly anybody could
       23     produce a screenshot that claims anything, so...
       24           Q     Well, that's certainly true, right?            It
       25     could be a doctored screenshot, right?
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                                                                         Page 130
         1          A     Could be a doctored screenshot.           I mean,
         2    it's possible -- I don't -- I can't read the dates
         3    on here.    Looks like block height.         There's block
         4    index, 12,000 -- I don't know.          I mean, anybody
         5    could have been running Bitcoin very early, so it
         6    doesn't really prove anything.
         7          Q     I mean, if -- if it is not doctored, is
         8    it correct to say that it shows Craig was running
         9    Bitcoin somewhere around the 12,000 block?
       10                      MR. KASS:     Object to form.
       11           Q     I think that's 12,914.        I can -- the
       12     block index says 12,914.        I can kind of zoom in on
       13     it on my...
       14           A     Yeah, and I think 12 -- I -- block index,
       15     12,914.    I think that refers to which block is --
       16     is the latest block that it knows about.            I'd have
       17     to go back and -- and check to double -- make sure
       18     it's not referring to some other index.
       19           Q     Okay.    So when you received this, what
       20     were your -- what were your mental impressions?
       21           A     My only impression was that, I mean, he's
       22     trying to add more evidence that he is Satoshi to
       23     try to reassure me.       But, I mean, frankly, again,
       24     screenshots can be doctored, so it didn't have much
       25     effect on me.
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                                                                         Page 131
         1            Q      So on -- on May 1st you -- you set your
         2    blog post for release on May 2nd when the press
         3    conference was gonna take place.          You recall that?
         4            A      Yes.
         5                       MR. KASS:    Object to form.
         6            A      The idea was that the -- yeah, my blog
         7    post and Craig's blog post would go out at the same
         8    time.
         9            Q      I think you were at a ConsenSys event at
       10     that time, right?
       11           A        I was.   I was at a ConsenSys New York
       12     City conference.
       13           Q        What happened?
       14           A        Bad things.   So the blog post that Craig
       15     released was not at all what I expected him to
       16     release.       I expected him to release a very simple,
       17     you know, I am Satoshi, here is some -- here is a
       18     simple message signed with an early key from an
       19     early block.
       20                        Instead, he released a very wacky
       21     supposed proof that actually wasn't a proof of
       22     anything but was incredibly technical and hard to
       23     follow, and I was as surprised as anybody to see
       24     that.       And it -- it took, I don't know, a few
       25     hours, a day, for somebody to -- to figure out what
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         1    all that technical gobbledygook actually meant and
         2    to show that it wasn't actually a proof of
         3    anything.
         4          Q     So he didn't even almost prove he was
         5    Satoshi?
         6                       MR. KASS:   Object to form.
         7          A     Correct.     Anybody could have produced
         8    that gobbledygook proof.
         9          Q     Why didn't he release a simple signed
       10     message?
       11                      MR. KASS:     Object to form.
       12           A     I don't know.
       13           Q     Did you ask him?
       14           A     I did not.     At least I don't think I did.
       15     You're probably about to pull out an email where I
       16     ask him.
       17           Q     Not yet.     Maybe soon.
       18                      (Exhibit 22 marked for
       19                      identification.)
       20           Q     I'm gonna hand you what's been marked as
       21     Plaintiffs' Exhibit 22, and it's Bates-labeled
       22     Gavin 5.
       23                      This is an email from the money man,
       24     Stefan Matthews; is that right?
       25           A     Yes.
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                                                                         Page 133
         1            Q      To you?
         2            A      Yes.
         3            Q      On May 2nd, 2016?
         4            A      Yes.
         5            Q      So this is after the press release went
         6    south?
         7            A      Yes.
         8            Q      The demonstration went south.
         9                          MR. KASS:   Object to form.
       10           Q        And -- and he opens by telling you that
       11     Craig is working on several corrections to his blog
       12     post.       Do you see that?
       13           A        Yes.
       14           Q        And he delivered some incorrect
       15     screenshots?
       16           A        Yes.
       17           Q        Would there have been correct screenshots
       18     that could have fixed this proof?
       19                        MR. KASS:      Object to form.
       20           A        Yeah, there could have been.       I don't --
       21     let me say I don't recall exactly what was a
       22     screenshot in his blog post and what was not.              So
       23     it's also possible that no -- just new screenshots
       24     would not have done anything because he described
       25     what he did in text.
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                                                                         Page 134
         1          Q     Right.    Did he ever produce the
         2    screenshots to you?
         3          A     No.
         4          Q     Publicly?
         5          A     Not that I know of.
         6          Q     And then in the fourth paragraph,
         7    Matthews asks you, "If we were to be" -- "If we
         8    were able to sign a transaction, say you sent BTC
         9    to an address associated with block 9, and this was
       10     then sent back to you, would that" -- "that be
       11     something you would entertain?"
       12                       Do you see that?
       13           A     Yes.
       14           Q     Was that something you'd entertain?
       15           A     Yes, I believe I actually did send a
       16     transaction to block 9.
       17           Q     Did he ever send it back?
       18           A     No.
       19           Q     He owes you money?
       20           A     Well, the money's still sitting there in
       21     block 9.    So I think it was half -- .11 Bitcoin,
       22     because my favorite number's 11, I think.
       23           Q     Okay.
       24           A     But, again, I -- I could go back and
       25     check the blockchain.
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                                                                         Page 135
         1          Q     It's not an insignificant amount of
         2    money.
         3          A     Yeah.
         4          Q     Have you asked for it back?
         5          A     I have not asked for it back.
         6                       (Exhibit 23 marked for
         7                       identification.)
         8          Q     So then --
         9                       MR. FREEDMAN:    Can I get another...
       10           Q     I'm handing you what we've marked as
       11     Plaintiffs' Exhibit 23, and it's been Bates-labeled
       12     Gavin 47.
       13                      Do you recognize this email?
       14           A     Yes.
       15           Q     And this is, again, from Stefan Matthews
       16     to -- one of the money men, to you?
       17                      MR. KASS:     Object to form.
       18           A     Yes.
       19           Q     On May 2nd, 2016?
       20           A     Yes.
       21           Q     And this is, again, after the fiasco of
       22     the public proof failed?
       23                      MR. KASS:     Object to form.
       24           A     Yes.
       25           Q     And Matthews, the money man, says to you,
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                                                                         Page 136
         1    "Hi Gavin, I've just spoken to CSW" -- that's Craig
         2    Steven Wright?
         3          A      I believe so, yes.
         4          Q      "He has agreed to sign a new message
         5    twice, once with block 9 and once with block 9" --
         6    sorry -- "once with block 1 and once with block 9
         7    keys.     It will include proof of date.         Both signed
         8    messages will be provided to each of you to give
         9    additional evidence should you need it."
       10                       And it's sent to you and Jon Matonis,
       11     right?
       12           A     Yes.
       13           Q     With Craig in CC?
       14           A     Yes.
       15           Q     Did Craig ever respond back and say, "I'm
       16     not gonna do this"?
       17           A     Not that I recall.
       18           Q     Did he say, "I can't do it"?
       19           A     Not that I recall.
       20           Q     Did he ever do it?
       21           A     No.
       22           Q     Why not?
       23                       MR. KASS:    Object to form.
       24           A     I don't know.
       25           Q     I mean, he has -- if -- if the proof
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         1    session you saw was real, he has the key to
         2    block 9 --
         3                       MR. KASS:   Object to form.
         4            Q   -- is that a fair statement?
         5            A   Yes.
         6                       MR. KASS:   Same objection.
         7            Q   Would it have involved significant effort
         8    for him to use that key he clearly has access to,
         9    to send you a message from at least block 9?
       10                       MR. KASS:    Object to form.
       11                       Vel, you're mixing up dates.
       12           A     No.    It would be easy.
       13           Q     It would be easy for him to have done
       14     that?
       15           A     Yes.
       16                       MR. KASS:    Object to form.
       17           Q     But he didn't?
       18           A     No.
       19           Q     Why do you think he didn't?
       20                       MR. KASS:    Object to form.
       21           A     I don't really know.        If you want me to
       22     speculate --
       23           Q     Sure.
       24           A     Do you want me to speculate?
       25           Q     Speculate for this question only.
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                                                                         Page 138
         1                     MR. KASS:     And I'm gonna object to
         2    the speculation.
         3                     MR. FREEDMAN:      Noted.
         4          A     If the -- the Bitcoins were supposed to
         5    be locked in a trust, but Craig kept the private
         6    keys when he was not supposed to, then that would
         7    be a good reason for him not to sign something with
         8    a key that he is not supposed to have access to.
         9    So that is the -- that is my speculation on why he
       10     might have been very resistant to signing any
       11     messages with those early keys.
       12           Q     To show he has access to private keys he
       13     really shouldn't have access to?
       14                      MR. KASS:     Object to form.
       15           A     Correct.     Perhaps there is some legal
       16     reason he was not supposed to have kept the keys.
       17           Q     Is that pure speculation, or can you base
       18     it on anything you've heard or seen from Craig or
       19     the money men?
       20           A     I would say that's mostly speculation.            I
       21     mean, the discussion of this mysterious trust, or
       22     trusts, kind of fed into that theory.
       23                      (Exhibit 24 marked for
       24                      identification.)
       25           Q     So I am handing you what's been marked as
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                                                                         Page 139
         1    Plaintiffs' Exhibit 24, and it's Bates-labeled
         2    Gavin 161.
         3                       And Craig says -- this is an
         4    email from you -- do you recognize this email?
         5          A     Yes.
         6          Q     It's an email from Craig to you?
         7          A     Yes, and Jon Matonis.
         8          Q     And Stefan Matthews?
         9          A     And Stefan Matthews.
       10           Q     And he says, "Please hold that thought.
       11     I'm going to re-sign the message and post a new,
       12     never-used signature from 9."
       13                       So he has clearly committed to sign
       14     using the block key -- using the private key of
       15     block 9; is that right?
       16                       MR. KASS:    Object to form.
       17           A     Yes.
       18           Q     Did he?
       19           A     No.
       20           Q     Even though it would have been simple for
       21     him to do so?
       22                       MR. KASS:    Object to form.
       23           A     Yes.
       24           Q     Okay.
       25                       (Exhibit 25 marked for
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                                                                         Page 140
         1                       identification.)
         2          Q     So I'm now handing you what's been marked
         3    as Plaintiffs' Exhibit No. 25, and it is Gavin 371.
         4                       Do you recognize this email?
         5          A     Yes.
         6          Q     It is a -- it's an email, on the bottom,
         7    from you -- it's an email chain that reflects,
         8    first, an email from you to Craig on bottom and
         9    then a response from Craig to you; do you see that?
       10           A     Yes.
       11           Q     And you might have predicted this
       12     earlier, but do you see the opening sentence of
       13     your email?
       14           A     Yes.
       15                      MR. KASS:     Object to form.
       16           Q     What does it say?
       17           A     "Why the OpenSSL hoop-jumping exercise
       18     and not just a simple Electrum-signed message?"
       19           Q     Which, is it fair, in layman's speak to
       20     say, Why didn't you just do the easy signature
       21     instead of some complex gobbledygook that turned
       22     out to be nothing?
       23                      MR. KASS:     Object to form.
       24           A     Yes.
       25           Q     Okay.    What is his response to that?
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         1          A     He claimed that he -- that the wrong blog
         2    post was posted, and at the time that seemed
         3    unlikely to me.
         4          Q     I mean, like, your question's very
         5    understandable, right, why not just do the simple,
         6    unequivocal proof?
         7                       MR. KASS:   Object to form.
         8          A     Yes.
         9          Q     And did you find his response
       10     unsatisfactory?
       11                      MR. KASS:     Object to form.
       12           A     I did.    I mean, I -- I -- yes, I found it
       13     unsatisfactory.
       14                      (Exhibit 26 marked for
       15                      identification.)
       16           Q     So I'm gonna hand you what we're marking
       17     as Plaintiffs' Exhibit 26, and it is Bates Gavin 4.
       18                      And this is an email that reflects a
       19     chain between you and Stefan Matthews; is that
       20     right?
       21           A     Yes.
       22           Q     The money man?
       23                      MR. KASS:     Object to form.
       24           A     Yes.
       25           Q     And Stefan Matthews says, "CSW" -- it's
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         1    Craig Steven Wright -- "has committed to moving a
         2    coin associated with block 9 address.            The intent
         3    is for you to send a coin to that address, and then
         4    for CSW to return that coin to you."
         5                       Do you see that?
         6          A     Yes.
         7          Q     And you provided the address?
         8          A     Yes.
         9          Q     Did you send the coin?
       10           A     I did.
       11           Q     And you never got 'em back.          We covered
       12     that already, right?
       13           A     Correct.
       14                      MR. KASS:     Object to form.
       15                      (Exhibit 27 marked for
       16                      identification.)
       17           Q     I'm handing you what's been marked as
       18     Plaintiffs' Exhibit 27; it's Bates-labeled Gavin
       19     18.   And this is a -- does this -- do you recognize
       20     this email?
       21           A     Yes.
       22           Q     And does it reflect an email chain
       23     between you and Stefan Matthews and Craig Wright?
       24           A     Yes.
       25           Q     And you initially reach out to the two of
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         1    them saying that you have sent, at the time, $50
         2    worth of Bitcoin to the block 9 address?
         3                       MR. KASS:   Object to form.
         4          A      Yes.
         5          Q      And Stefan Matthews, the money man,
         6    writes back that he sees the transaction, and then
         7    he says, "Will let you know when we do the
         8    transfer.     It could be several days before we get
         9    the necessary authorization fully documented,"
       10     et cetera.
       11                       Do you see that?
       12           A     Yes.
       13           Q     Is this what you were basing your
       14     speculation on earlier?
       15                       MR. KASS:    Object to form.
       16           A     Yes.
       17           Q     What did you understand them to mean when
       18     they said "necessary authorization"?
       19                       I mean, let me take a step back.
       20     Strike that question for a second.
       21                       If I have a private key to a Bitcoin
       22     block -- public address, do I need anyone's
       23     authorization to use that private key?
       24                       MR. KASS:    Object to form.
       25           A     No.
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         1          Q      Okay.   So what did you take this to mean,
         2    that he needed necessary authorization?
         3          A      I'm trying to -- I don't remember what I
         4    knew or thought I knew at that time.           So I think
         5    the best answer would be I don't recall if -- it
         6    might have been -- I might have imagined that there
         7    was some trustee that would have to sign off on any
         8    use of those private keys.         But, again, I don't
         9    recall at what point I learned about the trust.
       10                      MR. KASS:     So, Vel, we have to
       11     resolve the timing issue.        I'm happy to go off the
       12     record if you want to.
       13                      MR. FREEDMAN:      Let's take a break.
       14                      THE VIDEOGRAPHER:       The time is
       15     12:34 p.m.     We're now off the record.
       16                      (Off record.)
       17                      THE VIDEOGRAPHER:       The time is
       18     12:44 p.m.     We're coming back on the record,
       19     continuing Media No. 2.
       20                      (Exhibit 28 marked for
       21                      identification.)
       22     BY MR. FREEDMAN:
       23           Q     I'm now handing you what's been marked as
       24     Plaintiffs' Exhibit 28, which is Bates-marked
       25     Gavin 1708, but I've printed out the wrong version,
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                                                                            Page 145
         1    it doesn't have the Bates marking.
         2                       Do you recognize this email?
         3          A     Yes.
         4          Q     Is this an email from Craig to you?
         5          A     Yes.
         6          Q     And you start off by saying to him, "I'm
         7    starting to doubt myself and imagining clever ways
         8    you could have tricked me."
         9                       Well, let me take that back.          He
       10     wrote you an email on May 2nd saying, We F'd up and
       11     I loaded the wrong post.        I'll be loading the
       12     correct one shortly.
       13                      And then you respond the next day, on
       14     May 3rd, saying, "Today, pretty please.            I'm
       15     starting to doubt myself and imagining clever ways
       16     you could have tricked me."
       17                      Is that accurate?
       18           A     Yes.
       19           Q     And what does Craig say in response?
       20           A     Do you want me to read that?
       21           Q     Sure.
       22           A     He says, "There will be a post soon.              It
       23     is in review to ensure it is all okay.            We are
       24     going to move coin as well, but we need to get the
       25     trust permissions in place.         Lawyers..."
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                                                                         Page 146
         1          Q     So was it really speculation?
         2          A     About permissions from trusts?          No,
         3    apparently not.      Apparently Craig told me that that
         4    was the reason permission was needed.
         5          Q     So it's your understanding that Craig is
         6    refusing to publicly prove that he holds the
         7    private keys to block 9 because it would show he
         8    inappropriately kept private keys from the trust?
         9          A     Or used them in a way that was outside of
       10     some legal agreement in the trust, yes.
       11           Q     So that he has them, as he signed with
       12     them, but isn't allowed to move coin with them?
       13                      MR. KASS:     Object to form.
       14           A     Yes.
       15           Q     Okay.
       16                      (Pause.)
       17                      MR. FREEDMAN:      I seem to be missing a
       18     document.    No, it's just out of order.
       19                      (Pause.)
       20           Q     So as things currently stand, Craig has
       21     provided a public proof that failed; the money men
       22     are attempting to arrange for Craig to send you
       23     Bitcoin from block 9, and they are saying they need
       24     authorization from a trust to do this, even though
       25     he has the private key.        Is that all correct?
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                                                                         Page 147
         1                       MR. KASS:   Object to form.
         2          A      I believe Craig said he needs trust
         3    permission.
         4          Q      That's right.
         5          A      I'm not sure the money men --
         6          Q      Craig said he needs --
         7          A      -- ever said --
         8          Q      Right.    So modify my -- my question to
         9    say Craig said he needed authorization from the
       10     trust; is that correct?
       11                      MR. KASS:     Same -- same objection.
       12           A     Yes.
       13                      (Exhibit 29 marked for
       14                      identification.)
       15           Q     Okay.     And I'm handing you what's been
       16     marked as Plaintiffs' Exhibit 29, which is
       17     Bates-labeled Gavin 1206.
       18                      Do you recognize these emails?
       19           A     Yes.
       20           Q     So if -- if you go to the back of the
       21     email, so the beginning of the email chain, and the
       22     one sent on May 4th, 2016, and it's Robert
       23     MacGregor.     He's one of the money men, correct?
       24           A     Okay.
       25                      MR. KASS:     Object to form.
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                                                                         Page 148
         1          Q     Do you not recall who --
         2          A     I don't recall what Rob -- Robert and
         3    Stefan's exact roles were.         I don't -- and I don't
         4    recall who had known Craig for years and who was
         5    owner of the -- the VC, but if you want to call all
         6    of them --
         7          Q     Part of --
         8          A     -- money men, sure.
         9          Q     Yeah.    Sure.    Okay.    He -- he writes and
       10     says that Rory from the BBC has asked if he could
       11     have a one-liner from interviews, that he is
       12     comfortable that you are participating, and this
       13     isn't yet -- isn't a yet more fantastical hoax.
       14                      So the BBC wanted to know that this
       15     coin was really gonna get sent, right?
       16                      MR. KASS:     Object to form.
       17           A     Yes.
       18           Q     And Jon Matonis says, "I will call Rory"?
       19           A     Yes, I see that.
       20           Q     And then Stefan says, "Gavin, can you
       21     please call Rory"?
       22           A     Yes.
       23           Q     And then Jon -- and then Robert MacGregor
       24     says, "Gavin replied via email, Stefan."
       25                      So do you remember reaching out to
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                                                                         Page 149
         1    Rory at the BBC?
         2          A     I don't recall.
         3          Q     Do you have any reason to doubt that you
         4    didn't?
         5          A     No.
         6          Q     Jon Matonis said, "I just got off the
         7    phone with Rory at the BBC," right?
         8          A     Yes.
         9          Q     And then Robert MacGregor sends a message
       10     on May 4th, 2016, you're all waiting for Craig to
       11     send this transaction, and can you read what he
       12     says to you?
       13           A     "All Stop.     Craig has just tried to
       14     injure himself and is bleeding badly in the
       15     washroom.    Stefan is there with him and Ramona and
       16     I am en route.      Ambulance is on its way."
       17           Q     So Craig tried to hurt himself?
       18                       MR. KASS:    Object to form.
       19           A     That was my understanding, yes.
       20           Q     Did you get any more details then beyond
       21     this email?
       22           A     I believe there was a phone call, I don't
       23     recall with who, who said that -- were they at
       24     Craig's house?      I don't recall the location, but
       25     they were somewhere.       Craig disappeared upstairs
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                                                                          Page 150
         1    and then was found bleeding with cuts to his neck,
         2    and then was taken to the hospital in -- in an
         3    ambulance with an apparent suicide attempt.             I
         4    think the word "suicide" was -- was used.
         5          Q     And this was by someone who was at the
         6    locale?
         7                       MR. KASS:   Object to form.
         8          A     If I recall correctly, yes.
         9          Q     And they were describing what was going
       10     on at the time?
       11           A     I believe this happened -- several days
       12     or maybe a week or more later, the phone call
       13     happened recounting events.
       14           Q     That had -- that had happened --
       15           A     That had happened in the past, on
       16     May 4th.
       17           Q     But you don't recall who that was?
       18           A     No, I don't recall.
       19           Q     Did you ever talk to Craig about this?
       20           A     No.
       21                       Things get dark.
       22           Q     This stopped the public proof -- this
       23     stopped the transfer of Bitcoin?
       24           A     Yes.
       25                       MR. KASS:    Object to form.
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                                                                         Page 151
         1                       (Exhibit 30 marked for
         2                       identification.)
         3            Q   I'm handing you what's been marked as
         4    Plaintiffs' Exhibit 30, and it's been Bates-labeled
         5    Gavin 769.
         6                       Do you recognize this email chain?
         7            A   Yes.
         8            Q   This is an email between you and Robert
         9    MacGregor?
       10           A     Yes.
       11           Q     One of the money men group?
       12                      MR. KASS:     Object to form.
       13           A     Yes.
       14           Q     Okay.    And in it you say to Robert
       15     MacGregor that you see two possibilities about
       16     what's going on, either Craig is Satoshi and is
       17     under incredible pressure not to provide proof --
       18     or, rather, the pressure of providing proof is too
       19     much?
       20           A     Yes.
       21           Q     Or he's lying to everyone for many years,
       22     perhaps from evidence -- perhaps with evidence that
       23     he obtained from the real deal?
       24           A     Yes.
       25           Q     So maybe Dave Kleiman was Satoshi, he got
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                                                                         Page 152
         1    the keys, and he used one of the keys but doesn't
         2    have more?
         3                       MR. KASS:   Object to form.
         4          A     Sure.    Possibly.
         5          Q     Possibly.     And in response, one of --
         6    Robert MacGregor, who has been working with Craig
         7    for at least a few months now on this coming out as
         8    Satoshi -- is that accurate?
         9          A     Yes.
       10           Q     -- says, "I agree completely"?
       11           A     Yes.
       12           Q     Okay.    Do you remember receiving an email
       13     from Stefan Matthews telling you that there was no
       14     indication Craig would default until a minute
       15     before, and that they are checking their public
       16     position and so should you?
       17                       MR. KASS:    Object to form.
       18           A     No, I don't recall.
       19           Q     Did you ever have any conversations with
       20     any of the money men or Craig about why this
       21     default happened?
       22                       MR. KASS:    Object to form.
       23           A     No.
       24                       (Exhibit 31 marked for
       25                       identification.)
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                                                                         Page 153
         1          Q     I'm handing you what's been marked as
         2    Plaintiffs' Exhibit 31.        It's Gavin 41.
         3                      Do you recognize this email?
         4          A     Yes.
         5          Q     It's an apology email from Craig Wright
         6    to you?
         7          A     Yes.
         8          Q     Sent May 7, 2016?
         9          A     Yes.
       10           Q     And in the third paragraph down, it
       11     says -- Craig tells you, "At no point did I lie to
       12     you nor deceive you, but it is better that I am a
       13     hoaxer"?
       14           A     Yes, I see that he said that.
       15           Q     Do you believe that?
       16           A     No.
       17           Q     What do you really believe?
       18           A     He certainly deceived me about what kind
       19     of blog post he was going to publish, and that
       20     gobbledygook proof that he published was certainly
       21     deception, if not an outright lie.           So at the very
       22     least, that, I consider, you know, that -- he
       23     bamboozled me there.
       24           Q     And had you known -- strike that.
       25                       As I understand your testimony, you
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                                                                         Page 154
         1    went into the proof session as kind of one element
         2    of due diligence, but expecting there to be a real
         3    public proof posted afterwards; is that fair?
         4                       MR. KASS:   Object to form.
         5           A    Yes.
         6           Q    And so you were maybe less than careful
         7    -- strike that.
         8                       In reliance on what you knew would be
         9    coming out, or what you assumed would be coming out
       10     based on his word, you weren't as diligent as you
       11     might have been otherwise in checking that the
       12     proof was truly proof --
       13                      MR. KASS:     Object to form.
       14            Q    -- is that fair?
       15                      MR. KASS:     Object to form.
       16            A    Yes.
       17            Q    And if you were to do it again today, you
       18     might require much more stringent circumstances for
       19     that proof?
       20                      MR. KASS:     Object to form.
       21            A    Yes.
       22            Q    So he almost socially engineered you in a
       23     way?
       24                      MR. KASS:     Object to form.
       25            Q    Social hacking?
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                                                                         Page 155
         1                       MR. KASS:    Object to form.
         2            A   I don't think I would use that term.
         3            Q   How would you describe it?
         4            A   Maybe -- maybe that's accurate.           I mean,
         5    he certainly misled me.         He -- he -- he wanted
         6    something from me, and he wasn't clear about what
         7    he actually wanted from me.         He -- he led me to
         8    believe he wanted one thing when I -- I suspect he
         9    wanted something else.         I'm not sure what that
       10     other thing...
       11           Q     Well, I mean, you carried a lot of
       12     credibility, you still do, within the Bitcoin
       13     community; is that fair?
       14                      MR. KASS:     Object to form.
       15           A     That's -- yes, that's fair.
       16           Q     And your endorsement of him as Satoshi
       17     would -- would carry a significant amount of
       18     weight?
       19           A     Yes.    I definitely --
       20                      MR. KASS:     Object to the form, but,
       21     yeah.
       22                      THE WITNESS:      Sorry.
       23                      MR. KASS:     That's okay.
       24           A     I definitely knew he wanted that from me.
       25     But I guess, you know, now, looking back on it, I
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                                                                         Page 156
         1    wonder, you know, was he also trying to impress the
         2    money men, was that part of what he was trying to
         3    get out of it?      And I don't know.
         4          Q     That he could bring -- bring down --
         5    bring over Gavin Andresen onto his side?
         6                       MR. KASS:   Object to form.
         7          A     Right.    That that would, you know, maybe
         8    help him with his relationship with -- with the
         9    money men.
       10           Q     At the time, and you tell me if this is a
       11     fair characterization, you were probably -- if not
       12     the -- one of the most prominent members of the
       13     Bitcoin community?
       14                      MR. KASS:     Object to form.
       15           A     Yes.
       16           Q     You were lead core developer?
       17           A     Was I still at that time?         I think I had
       18     stepped away from that role, and I was just chief
       19     scientist at the Bitcoin Foundation.
       20           Q     I think you stepped down after, but I
       21     could be misremembering the time frame.
       22                      MR. KASS:     Object to form.
       23           Q     You were certainly chief scientist of the
       24     Bitcoin Foundation?
       25           A     Yes.
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                                                                         Page 157
         1          Q     And you had been -- you were, and are,
         2    the person Craig -- Satoshi Nakamoto had handed
         3    over control of Bitcoin to?
         4          A     Yes.
         5          Q     You were the best replacement to Satoshi
         6    the world had at the moment?
         7                       MR. KASS:   Object to form.
         8          Q     You don't have to agree with that
         9    statement.     I mean, strike that.
       10           A     I sure was the best.
       11           Q     So you certainly brought objective value
       12     -- your endorsement certainly brought objective
       13     value; is that fair?
       14           A     Yes.
       15           Q     And do you think that's what he wanted
       16     from you?
       17                      MR. KASS:     Object to form.
       18           A     Yes.
       19           Q     And what did he lead you to believe that
       20     he really wanted from you?
       21                      MR. KASS:     Object to form.
       22           Q     You said that he -- he led you to believe
       23     he wanted one thing from you, and really you
       24     thought he really wanted something else.
       25           A     I suspect -- yeah, I mean, I guess, you
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                                                                         Page 158
         1    know, I -- I thought that my piece would be part of
         2    a larger whole of him proving beyond a reasonable
         3    doubt to the world that he was Satoshi Nakamoto.
         4    And I thought that that's what he wanted from me.
         5                     And then he did not complete the rest
         6    of the puzzle, and so that makes me wonder, is that
         7    really what he wanted from me, or did he have some
         8    other ulterior motive for flying me to London and
         9    -- and doing this -- the proof session?            And I
       10     don't know what that other motive would be.
       11           Q     Did you ever -- did you ever talk to
       12     Ira Kleiman?
       13           A     I believe I've received email from
       14     Ira Kleiman, but I don't believe I've ever spoken
       15     to him.
       16           Q     Did you ever -- beyond the emails that
       17     we've reviewed from Uyen Nguyen to you with
       18     Ian Grigg on them, have you heard from Uyen Nguyen
       19     since?
       20           A     I don't believe so.        There might have
       21     been another -- she might have reached --
       22     she/he/them?     Them.    I'll use them.      They might
       23     have reached out to me again.          I seem to recall two
       24     sets of emails separated in time, but I have no
       25     idea when.
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         1          Q      Have you spoken with Craig Wright or
         2    emailed with Craig Wright in the past year?
         3          A      I'd have to go back and check my email.
         4    I'm not sure when my last -- when he last contacted
         5    me via email was.
         6          Q      Have you --
         7          A      It might have been more than a year.
         8          Q      Have you responded to him within the past
         9    year?
       10           A     I don't believe I've responded to him in
       11     the past year, no.
       12           Q     Have you spoken with any of his
       13     attorneys?
       14           A     No.
       15                       THE WITNESS:     Oh, wait.     Are you...
       16                       MR. KASS:    Well, yes.
       17           A     Okay.
       18           Q     Before today.
       19           A     Before today.
       20                       MR. KASS:    I don't think you got a
       21     good answer to your question.
       22           Q     Have you spoken with any of Craig
       23     Wright's attorneys before today?
       24           A     No.
       25           Q     Thank you.
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                                                                         Page 160
         1                       (Exhibit 32 marked for
         2                       identification.)
         3          Q     I am handing you what's been marked as
         4    Plaintiffs' Exhibit 32, and it's Bates-labeled
         5    1512.
         6                       Do you recognize this email?
         7          A     Yes.
         8          Q     And is it a email from Craig to you?
         9          A     Yes.
       10                      (Exhibit 33 marked for
       11                      identification.)
       12           Q     I am handing you an e -- a document
       13     labeled Plaintiffs' Exhibit 33.          It is
       14     Bates-labeled Gavin 344.
       15                      Do you recognize this email?
       16           A     Yes.
       17           Q     And is it a email from Craig to you?
       18           A     Yes.    I think so.     It's a different email
       19     address, craig@rcjbr.org, but I believe it's from
       20     Craig to me.
       21                      MR. KASS:     And, also, object to form.
       22     There's two emails in here.
       23           Q     Okay.    Is this an email chain between you
       24     and Craig where Craig is forwarding you an email?
       25           A     Yes.
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         1          Q     And it appears Craig has forwarded you an
         2    email that he received from the Australian Tax
         3    Office; is that accurate?
         4          A     Yes.
         5          Q     And in it he says to you, "They left the
         6    audit open"?
         7          A     Yes.
         8          Q     And he says, "High-wealth individuals are
         9    taxed differently.       As I have over 100 million,
       10     they can assess Bitcoin as a ForEx bank holding."
       11                      Do you see that?
       12           A     Yes.
       13           Q     So Craig did, at some point, tell you
       14     about his net worth --
       15                      MR. KASS:     Object to form.
       16           Q     -- is that an accurate statement?
       17           A     Sure.    I mean, this email claims to have
       18     over a hundred million somethings.
       19           Q     He says he has over a hundred million.
       20     Well, it can't be Bitcoin.
       21                      MR. KASS:     Object to form.
       22           A     Correct, it could not be Bitcoin.           There
       23     are only -- there are fewer than 21 million
       24     Bitcoin.
       25           Q     Okay.
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                                                                         Page 162
         1                          (Exhibit 34 marked for
         2                          identification.)
         3            Q      Did you ever ask him how he got a
         4    hundred -- over a hundred million dollars in net
         5    worth?
         6                          MR. KASS:   Object to form.
         7            A      No.
         8            Q      I'm handing you what's been marked as
         9    Plaintiffs' Exhibit 34, it's Gavin 732.
       10                          Do you recognize this email?
       11           A        Yes.
       12           Q        Also from Craig Wright to you?
       13           A        Yes.
       14           Q        And this has below it -- it's a chain,
       15     actually, between you and Craig, right?
       16                          MR. KASS:    Object to form.
       17           A        Yes.
       18           Q        And he says in the original email to you,
       19     "I am sorry for last year, but I cannot sign."
       20                          You see that?
       21           A        Yes.
       22           Q        And then you insert in line in response,
       23     Okay.       Don't worry about me.      I'm enjoying
       24     semi-retirement.         All the people I care about still
       25     love and respect me and don't care that you
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                                                                         Page 163
         1    bamboozled me, and you did, just not in the way
         2    most people think.
         3                       MR. KASS:   Object to form.
         4          Q     What did you mean by that?
         5          A     I meant that he bamboozled me about the
         6    gobbledygook proof, but I still think it's most
         7    likely that he did not bamboozle me during the
         8    signing ceremony.
         9          Q     And he really does have possession of the
       10     private key to block 9?
       11           A     I still think it's more likely than not
       12     that he does.
       13                      MR. KASS:     Object to form.
       14           Q     And then he says, "I have sufficient
       15     funds that they can force me to sell."
       16                      Do you see that?
       17           A     Yes.
       18           Q     And you say, "I am not" -- "I am not sure
       19     I want to know, but who is "they"?           You can be
       20     vague: former business partner?          Australian
       21     government?     Somebody else?      And sell to pay what?"
       22                      Right?
       23           A     Yes.
       24           Q     And he tells you, "They is part a few
       25     people, not all, in the tax office"?
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                                                                         Page 164
         1                       MR. KASS:   Object to the form.
         2          Q     You see that?      If you jump back up to the
         3    top of the email.
         4          A     "They is part a few people, not all."
         5    Yes, I see that.
         6          Q     And did you take this to mean that there
         7    were people not in the tax office that was trying
         8    to force him to sell?
         9                       MR. KASS:   Object to the form.
       10           A     Yes.
       11                      MR. KASS:     Vel, with regards to the
       12     time, I have a proposal.
       13                      MR. FREEDMAN:      Let's deal with it at
       14     lunch.
       15                      MR. KASS:     No, no, but I just want to
       16     see if we get this on the record.
       17                      Why don't we ask the witness how long
       18     he can stay today, and then we just divide it?
       19                      MR. FREEDMAN:      No.
       20                      MR. KASS:     What do you mean "No"?
       21                      MR. FREEDMAN:      I mean no.     I'm gonna
       22     finish.    I'm almost finished, but I'm gonna finish,
       23     and then you can have the rest of the time and --
       24                      MR. KASS:     Right.     So then I'll have
       25     seven hours after that.        But I want to make sure
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         1    the witness is able to stay, because, if not, I may
         2    have to get relief.       So --
         3                     MR. FREEDMAN:      You can ask for
         4    relief.
         5                     MR. KASS:     Well, I'm gonna ask the
         6    witness right now how long he can stay today.
         7                     Mr. Andresen, how long are you able
         8    to stay today?
         9                     THE WITNESS:      Let me check my
       10     calendar.
       11                      MR. KASS:     Okay.
       12                      (Pause.)
       13                      THE WITNESS:      I can stay till 6:00.
       14                      MR. KASS:     Until 6:00.     Okay.
       15                      And then just one other question.
       16                      MR. FREEDMAN:      Zalman?
       17                      MR. KASS:     What?    One other quick
       18     question.    I just want to -- I just want to
       19     under --
       20                      MR. FREEDMAN:      One last question.
       21                      MR. KASS:     That's all I'm asking.
       22                      MR. FREEDMAN:      All right.
       23                      MR. KASS:     Okay.    Would you be -- if
       24     necessary, would you be able to come back tomorrow
       25     to continue the deposition?
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         1                       THE WITNESS:    I have -- I'm giving a
         2    lecture in the afternoon, but I believe I'm free
         3    tomorrow morning.
         4                       MR. KASS:   Okay.
         5                       THE WITNESS:    Let me double check.
         6                       MR. KASS:   Yeah, could you just check
         7    what your schedule is like tomorrow morning?
         8                       MR. FREEDMAN:    Check by lunch.
         9                       THE WITNESS:    I'm supposed to have a
       10     workout from 9:00 to 10:00 a.m., and then my
       11     lecture is at 2:30 in the afternoon.
       12                      MR. KASS:     Okay.    So 2:30.    And you
       13     would be willing to come back?
       14                      THE WITNESS:      Yes.
       15                      MR. KASS:     Okay.    Back to you, Vel.
       16     I just wanted to make sure the witness was...
       17                      (Exhibit 35 marked for
       18                      identification.)
       19     BY MR. FREEDMAN:
       20           Q     Okay.    I am handing you what's been
       21     marked as Plaintiffs' Exhibit 35 and Bates-labeled
       22     Gavin 1274.
       23                      Do you recognize that email?
       24           A     Yes.
       25           Q     That's an email from Craig to you?
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         1          A     Yes.
         2          Q     And in it Craig says he has -- "I have
         3    sufficient funds that they can force me to sell.
         4    Signing proves control."
         5                       See that?
         6          A     Yes.
         7          Q     Did you ever find out how much sufficient
         8    funds would be?
         9          A     No.
       10           Q     But then he says, "Right now it would
       11     mean dumping 400 million in coin to pay.            I will
       12     not do that."
       13                       Do you see that?
       14           A     Yes.
       15           Q     Did you take this to mean that Craig was
       16     telling you he had over $400 million in Bitcoin?
       17                       MR. KASS:    Object to form.
       18           A     Yes.
       19           Q     Does that strike you as odd?
       20           A     No.    If he's Satoshi, that would not be
       21     an unreasonable amount.
       22           Q     Okay.    Then he says, "I will not do
       23     that."
       24           A     Yep.
       25           Q     Did you ask him why he didn't say "I
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         1    cannot do that" if he was having a problem with the
         2    trust allowing him to move coins?
         3          A      I don't recall pressing him on that.
         4          Q      Do you know what he meant by "signing
         5    proves control"?
         6          A      Sure.   If you create a message signed
         7    with a private key, it -- it -- it proves that you
         8    have control of that key, that you own that key,
         9    that you have access to that key.
       10           Q     Unless there's a mysterious trust that
       11     prevents you from using it.
       12                      MR. KASS:     Object to the form.
       13                      (Exhibit 36 marked for
       14                      identification.)
       15           Q     I'm handing you what's marked as
       16     Plaintiffs' Exhibit 36, Bates-labeled Gavin 1439.
       17                      Do you recognize this email?
       18           A     Yes.
       19           Q     And it reflects an exchange between you
       20     and Craig.     I believe this is, again, another --
       21     another instance where you've inserted your
       22     comments into his below, right?
       23           A     Yes.
       24           Q     And he's saying, "I would need to pay tax
       25     in fiat on the gains at a rate of 51 percent."
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         1                     You say that's nasty.        It's a lot --
         2    lot of tax.     But then you say, My advice would be
         3    to pay it and move on.        What is the use of being
         4    wealthy if you have to spend your time talking to
         5    lawyers or worrying about what your family will do
         6    if you die and leave them with a gazillion BTC and
         7    a big financial mess to clean up?
         8                     What -- what was his response to the
         9    suggestion that he just pay the tax and move on?
       10           A     I don't recall.      I'm not sure I received
       11     any response.
       12                      THE VIDEOGRAPHER:       We're at the
       13     half-hour point.      I don't know if it matters
       14     anymore, but --
       15                      MR. KASS:     So, Vel, I just want -- do
       16     I have an agreement with you to stay until 6:00
       17     today or tomorrow morning, if necessary, to
       18     complete my deposition?
       19                      MR. FREEDMAN:      We'll talk about it on
       20     the break.
       21                      (Exhibit 37 marked for
       22                      identification.)
       23     BY MR. FREEDMAN:
       24           Q     I'm handing you what's marked as
       25     Exhibit 37, which is Gavin 869.
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         1                       MR. KASS:   I suggest we should take a
         2    break after this 'cause it's the half point.             So
         3    ask your questions, but then I'm gonna go off.
         4    BY MR. FREEDMAN:
         5           Q    Do you recognize this email?
         6           A    Yes.
         7           Q    This is an email from Craig Wright to
         8    you?
         9           A    Yes.
       10            Q    And here he's sig -- he's sig -- he's
       11     telling you that he is an individual with over a
       12     hundred million dollars in net worth -- wealth?
       13                      MR. KASS:     Object to form.
       14            A    Over a hundred million net wealth.           I'm
       15     not sure -- yes.
       16            Q    He says --
       17            A    Yes.
       18            Q    -- "That was the point of the trust, but
       19     it means that I cannot have control"?
       20            A    Yes.
       21            Q    And then if you look at the second to
       22     last and last lines of the typed email, do you see
       23     where he says, "A forced sale of 400 million in BTC
       24     would be a mess, especially mine"?
       25            A    Yes.
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         1          Q     Do you take this to say Craig is telling
         2    you that he has at least 400 million BTC to sell?
         3                       MR. KASS:   Object to form.
         4          A     Yes.
         5          Q     And at a rate of 51 percent, that means
         6    he has over 800 million?
         7                       MR. KASS:   Object to form.
         8          A     I'm not sure where you're getting
         9    51 percent.
       10           Q     On the previous email, we saw the -- the
       11     tax amount would be 51 percent, right?
       12           A     Yeah, but he would need to pay 51 percent
       13     of the $400 million sale is what I would understand
       14     the tax.
       15           Q     So the total amount being 400 million?
       16           A     I think, yeah.
       17           Q     And he says, "400 million is too much"?
       18           A     Yes.
       19           Q     "I am Antiguan now...        So in a few years
       20     I will pay a lot less"?
       21           A     Yes.
       22           Q     Did you ever follow up on this, where the
       23     money was, where the Bitcoin was?
       24           A     No.
       25           Q     Did he ever tell you more about this?
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                                                                         Page 172
         1            A   No.
         2                       MR. KASS:   Okay, Vel, let's go off
         3    the record.
         4                       (Exhibit 38 marked for
         5                       identification.)
         6            Q   I'm handing you what's been marked --
         7                       MR. KASS:   Vel --
         8            Q   -- as Plaintiffs' --
         9                       MR. FREEDMAN:    We're not going off
       10     the record, Zalman.
       11                       MR. KASS:    You're running out of
       12     tape.
       13                       THE VIDEOGRAPHER:      I need to switch
       14     disks in about 4 minutes.
       15                       MR. FREEDMAN:     Perfect.
       16     BY MR. FREEDMAN:
       17           Q     I'm handing you what's been marked as
       18     Plaintiffs' Exhibit 38, which is Bates-labeled
       19     Gavin 1974.
       20                       Do you recognize this email?
       21           A     Yes.
       22           Q     And is this an email from Craig to you?
       23           A     Yes.
       24           Q     And do you see at the bottom he says, "I
       25     am a fraud, but I am a fraud that is free to work
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         1    on what I need to do"?
         2          A     Yes.
         3          Q     How -- what did you take that to mean?
         4          A     I don't think I know.
         5          Q     Did you ever follow up on it with him?
         6          A     Not that I recall, no.
         7                     MR. FREEDMAN:      Why don't we stop now.
         8                     THE VIDEOGRAPHER:       Okay.    The time
         9    now is 1:19 p.m.      We've come to the end of Media
       10     Unit No. 2.     We're now off the record.
       11                      (Off record.)
       12                      (Lunch recess taken from 1:19 p.m. to
       13                      2:23 p.m.)
       14                      THE VIDEOGRAPHER:       The time now is
       15     2:23 p.m.    We're coming back on the record.           Now
       16     beginning Media Unit No. 3 at deposition with Gavin
       17     Andresen.    We're on the record.
       18                      MR. KASS:     Vel, I just wanted to
       19     really quickly get on the record where we are with
       20     the cross-noticing and the continuation of
       21     Mr. Andresen's deposition.
       22                      We've agreed that we can go until
       23     6:00 p.m. tonight.       It's my position that we should
       24     continue tomorrow as the witness is available.
       25                      My understanding is I don't have a
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         1    firm commitment from you, but that you're open to
         2    the idea, maybe if you want to just put your --
         3    your position on the record.
         4                     MR. FREEDMAN:      Position is you don't
         5    have a valid subpoena, since you didn't notice the
         6    deposition in time under the local rules; but that
         7    we're trying to accommodate you, nonetheless, and
         8    Mr. Andresen, so he doesn't have to come back.              And
         9    I will let you know who and if we can cover the
       10     deposition tomorrow morning once I can finish this
       11     and get into my calendar and make some calls.
       12                      MR. KASS:     Okay.    My position is
       13     that -- I'll make this really quick -- that it
       14     wasn't invalid; you were here anyways; that you
       15     didn't need any additional notice under; it.             You
       16     didn't object until now; so if there was any
       17     objection, you've waived it by now.
       18                      Now let's get on with the depo.
       19                      MR. FREEDMAN:      Okay.
       20     BY MR. FREEDMAN:
       21           Q     Mr. Andresen, before we get back into the
       22     documents, I want to just talk a little bit more
       23     broadly about Bitcoin for a second.           Is that okay?
       24           A     Sure.
       25           Q     So can Bitcoin function without miners?
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         1          A     No.
         2          Q     So it -- it needs someone to actively
         3    mine in order to function?
         4          A     Yes.
         5          Q     And in the beginning of Bitcoin's life,
         6    is it fair to say that Satoshi was one of the only
         7    active miners?
         8                       MR. KASS:   Object to form.
         9          A     We assumed that -- yes, we assumed that
       10     he was the first miner.        Well, we know that he
       11     created the -- the very first genesis block, and
       12     it's fair to assume that he might have been the
       13     only miner for a while.
       14           Q     And thereby -- and, therefore, through
       15     launching the system -- strike that.
       16                       And -- and mining Bitcoin was,
       17     therefore, integral to the creation and sustaining
       18     of this new creation; is that a fair statement?
       19                       MR. KASS:    Object to form.
       20           A     Yes.
       21                       (Exhibit 39 marked for
       22                       identification.)
       23           Q     I am going to hand you what's been marked
       24     as Plaintiffs' Exhibit 39, and it is Bates-labeled
       25     Gavin 1075.
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                                                                         Page 176
         1                       Do you recognize this email?
         2          A     Yes.
         3          Q     And it's an email from you to Craig?
         4          A     Yes.
         5          Q     And on the -- in it you say that you are
         6    not angry at him?
         7          A     Yes.
         8          Q     Is that true?
         9          A     Yeah, I don't think I was angry.            I was
       10     disappointed, but I wasn't angry.
       11           Q     Are you angry at him now?
       12           A     I tend not to get angry, so I wouldn't
       13     say I'm angry.
       14           Q     Still just disappointed?
       15           A     Still just disappointed, yeah.
       16           Q     And then you say, "If you ever need or
       17     want to talk, I'll be happy to listen"?
       18           A     Yes.
       19           Q     Did he ever take you up on that?
       20           A     No, not really.      I mean, he did send me
       21     some emails after this, but it was -- and I think
       22     they're all in the -- in the record.           But we
       23     certainly never had a phone conversation or
       24     anything.
       25           Q     Is it -- is it fair to say that every
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         1    email that you've produced to us is an accurate
         2    representation of the email you received?
         3                       MR. KASS:   Object to form.
         4          A     Yes.
         5                       (Exhibit 71 marked for
         6                       identification.)
         7          Q     I'm gonna hand you what's been marked as
         8    Plaintiffs' Exhibit 40, which is Bates-labeled
         9    Gavin 1334.
       10                      Do you recognize this email chain?
       11     Just to help you out, I think it's a continuation
       12     of that original chain you received from Uyen about
       13     the trusts.
       14           A     Yes.
       15           Q     But I have a particular question -- so do
       16     you recognize this chain now?
       17           A     Yes.
       18           Q     I have a particular question about the
       19     May 4th email from Uyen to you.          She says, "You
       20     deserve the truth.       Do not share."
       21                      And then you say, "I will not share,
       22     I will destroy."
       23                      What did she -- did she attach
       24     something to that email?
       25           A     She did.
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         1          Q     What did she attach?
         2          A     I think it was a document related to the
         3    Tulip Trust.
         4          Q     Okay.
         5          A     But I did destroy it.        So I read it once
         6    and then destroyed it, and I have little
         7    recollection of what it -- what the details of it
         8    were.
         9          Q     Was it an actual trust document?
       10                       MR. KASS:    Object to form.
       11           A     I don't know.
       12           Q     Do you think you would recognize it if
       13     you saw it?
       14           A     No.
       15           Q     Do you remember anything about its
       16     contents?
       17           A     No.
       18           Q     Do you remember if it talked about who
       19     owned or controlled Bitcoin at all?
       20           A     No.
       21                       (Exhibit 41 marked for
       22                       identification.)
       23           Q     I am handing you Plaintiffs' Exhibit 41.
       24     And I have neglected to print out the version with
       25     the Bates label, and I can't tell you which it is,
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         1    unfortunately.      Exhibit -- Plaintiffs' Exhibit 41.
         2                       Mr. Andresen, do you recognize this
         3    email chain?
         4            A   Yes.
         5            Q   And it's a -- an email from Stefan
         6    Matthews, a/k/a the money man, to you; is that
         7    correct --
         8                       MR. KASS:   Object to form.
         9            Q   -- with a chain back and forth below
       10     that?
       11           A     Yes.
       12           Q     And in it Stefan Matthews says to you --
       13     and I asked you about this email earlier, but you
       14     said you didn't recall it -- "The situation that
       15     unfolded this week was horrific.          I will say no
       16     more other than to say till one minute prior to
       17     Craig's actions there was no indication that he
       18     would default.      You have a public position on this
       19     that you will need to correct for sure.            And we are
       20     looking at our business position today."
       21                      And then at the end it says, "CSW
       22     defaulted for reasons unknown to us at this stage,
       23     other than the conversation we had yesterday."
       24                      Do you see that?
       25           A     Yes.
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         1          Q     Do you recall that conversation?
         2          A     No.
         3                       MR. KASS:   Object to form.
         4          A     I believe he's referring to, perhaps, an
         5    email that -- exchange we had the previous day, but
         6    I'm not positive about that.
         7          Q     And what -- do you remember what that
         8    email exchange was about?
         9          A     I think that was the email exchange where
       10     I put forward the two possibilities of maybe Craig
       11     had been conning people for years, or maybe he just
       12     couldn't handle the pressure.
       13           Q     Got it.
       14                       (Exhibit 42 marked for
       15                       identification.)
       16           Q     All right.     I'm handing you what's been
       17     marked as Plaintiffs' Exhibit 42.           Again, I did not
       18     print out the Bates labels.
       19                       Do you recognize this email?
       20           A     Yes.
       21           Q     This is an email from Craig Wright to you
       22     and Roger Ver; is that right?
       23           A     Yes.
       24           Q     In mid 2018?
       25           A     Yes.
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         1          Q     It starts, "I have solved Blacknet"?
         2          A     Yes.
         3          Q     Do you know what that means?
         4          A     No clue.
         5          Q     He then says, "Atlas has alread" -- I'm
         6    assuming that's "already" -- "shrugged."
         7                     Do you see that?
         8          A     Yes.
         9          Q     Do you know what he means there?
       10           A     I'm assuming he's referring to the
       11     Ayn Rand novel "Atlas Shrugged."          But, yeah, no, I
       12     don't know what he's referring to.
       13           Q     Okay.    Did you respond to this?
       14           A     No, I did not.
       15           Q     Did you talk to Roger about it?
       16           A     No, I didn't.
       17           Q     You just ignore it?
       18           A     I believe I ignored it.         I know you
       19     maybe -- you have an email where I responded.
       20           Q     Whatever you recall.
       21           A     But I don't recall --
       22           Q     I'm not --
       23           A     -- responding to it.
       24           Q     -- setting you up for any traps.           I'm
       25     just --
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         1            A   Okay.
         2            Q   -- asking your recollection.
         3            A   No, I -- I -- and it is a very cryptic
         4    email, and I don't recall thinking anything other
         5    than maybe Craig Wright is crazy.
         6                       (Exhibit 43 marked for
         7                       identification.)
         8            Q   I am handing you what's been marked as
         9    Plaintiffs' Exhibit 43 Bates-labeled 1482.
       10                       Do you recognize this email?
       11           A     Yes.
       12           Q     It's an email from Craig to you?
       13           A     Yes.
       14           Q     In May of 2017?
       15           A     Yes.
       16           Q     He says, "The trust is all cleaned up
       17     now."
       18                       You see that?
       19           A     I see that.
       20           Q     What was unclean about the trust before?
       21                       MR. KASS:    Object to form.
       22           A     I don't know.
       23           Q     Did you ever ask him?
       24           A     No.
       25           Q     Did you ever get information -- any
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         1    information from Craig about the trust after this
         2    email that you can recall?
         3            A   Not that I recall, no.
         4            Q   Has anyone else, beyond Craig, told you
         5    about his relationship with Dave Kleiman?
         6            A   Possibly Ian Grigg, but I'm not sure
         7    about that -- oh, and perhaps one of the money men.
         8    Yeah, and, again, I'm not sure about that.             I'm not
         9    sure who told me what.
       10           Q     So you said you thought that maybe Craig
       11     Wright is a crazy person.        Have you given any more
       12     thought to that since that email, and where do you
       13     come out?
       14                      MR. KASS:     Object to form.
       15           A     Yeah, I've wondered if maybe Craig is
       16     paranoid; that he might have, you know, the -- the
       17     psychological condition of paranoia.           I'm not a
       18     psychologist, but it -- it seems like it would fit
       19     some of the -- the behavior I've -- I've seen from
       20     Craig.
       21           Q     Are you aware that in this lawsuit the
       22     Court has found that Craig committed perjury under
       23     oath?
       24                      MR. KASS:     Object to form.
       25           A     No, I am not aware of that.
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         1            Q      And are you aware that the Court has also
         2    found he submitted forged documents to the Court?
         3                       MR. KASS:   Object to form.
         4            A      I think I did see media reports about
         5    that.
         6            Q      That change your opinion of him at all?
         7            A      No, I don't think it does.
         8            Q      Why?
         9            A      Because I think even before that, you
       10     know, once he bamboozled me about what he was going
       11     to come out with when we were supposed to have
       12     these simultaneous blog posts where he announced
       13     himself to the world, you know, I realized he -- he
       14     was lying at least about that, and so -- and -- and
       15     I think in some of our conversations he had said he
       16     had lied about things in the past.           He had maybe
       17     done things to muddy up the record.           He didn't go
       18     into any specifics.       So, you know, I think even
       19     before then I got the impression, you know, he's a
       20     person who's not a hundred percent honest all the
       21     time.       So it -- it didn't really change.
       22           Q        Were there times that he struck you as
       23     honest and others that he struck you as dishonest,
       24     or you were unable to tell when you were speaking
       25     with him?
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         1            A     I don't --
         2                      MR. KASS:    Object to form.
         3            A     I don't think I am able to tell.
         4            Q     Okay.
         5                      MR. FREEDMAN:     Let's take a
         6    two-minute break, and I think I'm done, but I just
         7    want to circle back with my notes, and we'll finish
         8    up our -- our deposition.         Thank you.
         9                      THE VIDEOGRAPHER:      The time is
       10     2:37 p.m.      We are off the record.
       11                       (Off record.)
       12                       THE VIDEOGRAPHER:      The time now is
       13     2:50 p.m.      We're coming back on the record.
       14                       MR. FREEDMAN:     Oh, wait.     Hold on.
       15     Sorry.      Go back off.
       16                       (Off record.)
       17                       MR. FREEDMAN:     All right.     We've got
       18     an official conference line, so I hope that's
       19     better for anyone who's on the line.
       20                       Are we still on the record?
       21                       THE VIDEOGRAPHER:      Yes.
       22                       MR. FREEDMAN:     Still on the record.
       23     Okay.
       24     BY MR. FREEDMAN:
       25           Q       I just want to go back to the
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                                                                         Page 186
         1    conversations you had with Craig and request
         2    whether or not you had -- recall -- strike that.
         3                     Do you recall in any of your
         4    conversations with Craig Wright him referring to
         5    Dave Kleiman as his partner?
         6                     MR. KASS:     Object to form.
         7          A     I don't recall.
         8          Q     It's possible he did?
         9                     MR. KASS:     Object to form.
       10           A     It's possible.
       11           Q     Beyond the time that he got emotional
       12     about Dave Kleiman, do you remember any other
       13     reference to Dave Kleiman?
       14                      MR. KASS:     Object.
       15           A     I don't recall.
       16           Q     When he told you about the three people
       17     behind Satoshi, was that the same time he got
       18     emotional about Dave?
       19                      MR. KASS:     Object to form.
       20           A     I think so, but I'm not certain.
       21           Q     And do you recall -- can you do your best
       22     to tell me the words you recall him using when he
       23     -- when he told you that?
       24                      MR. KASS:     Object to form.
       25           A     No, I'm sorry, I don't think I can.
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                                                                         Page 187
         1          Q     The -- did he -- do you recall Craig ever
         2    mentioning the Tulip Trust to you?
         3          A     I think he did say the words "Tulip
         4    Trust," although it might have been one of the
         5    money men who mentioned a Tulip Trust.            Again, my
         6    recollection is very fuzzy, so...
         7                       MR. FREEDMAN:    All right.     No further
         8    questions.
         9                             EXAMINATION
       10     BY MR. KASS:
       11           Q     Well, Mr. Andresen, my name is Zalman
       12     Kass, I represent Dr. Craig Wright.
       13                      The previous instructions that you
       14     received from Mr. Freedman, ask if you don't
       15     understand any questions or if you need a
       16     clarification, if you need a break, just let me
       17     know, those will still apply.
       18                      Do you recall opposing counsel asking
       19     whether sometimes Dr. Wright lied?
       20           A     Yes.
       21           Q     And your response was you believe he --
       22     he did lie in the past, correct?
       23           A     Yes.
       24           Q     Now, to the extent Dr. Wright told you
       25     anything about Dave Kleiman, could he have been
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                                                                         Page 188
         1    lying?
         2          A     Yes.
         3                     (Pause.)
         4                     MR. FREEDMAN:      Objection to form.
         5          Q     Mr. Andresen, did you do anything to
         6    prepare for today's deposition?
         7          A     The only thing I did to prepare was this
         8    morning I did go back and look at that Reddit
         9    private message thread, just to refresh my memory a
       10     little bit about what might have -- what happened
       11     during the so-called proving ceremony in London.
       12           Q     Okay.    And do you recall anything else
       13     that you did to prepare?
       14           A     No, nothing else.
       15           Q     All right.     Did you speak to anybody in
       16     advance of this deposition related to the
       17     deposition?
       18           A     I certainly told my wife that I was gonna
       19     be at a deposition today --
       20           Q     Okay.
       21           A     -- but, no.     Other than that, no.
       22           Q     All right.     I'm gonna introduce as
       23     Exhibit 44 a document.
       24                      (Exhibit 44 marked for
       25                      identification.)
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         1          Q     Can you let me know if you recognize this
         2    document?    And take your time to look through it.
         3                       (Witness perusing document.)
         4          A     Yes, this is the subpoena I received last
         5    year.
         6          Q     Okay.
         7          A     Last year?     I think it was last year.
         8    Yeah, last year.
         9          Q     And did you produce documents in response
       10     to the subpoena?
       11           A     Yes, I did.
       12           Q     Did you produce all the documents that
       13     you had responsive to these requests?
       14           A     Yes, I did.
       15           Q     And, for example, in Request No. 4, that
       16     includes documents related to Craig Wright, Satoshi
       17     Nakamoto, or Dave Kleiman?
       18           A     Yes.
       19           Q     Okay.    So would it be accurate to state
       20     that all those documents have already been produced
       21     in this case by you --
       22           A     Yes.
       23           Q     -- that you have in your possession?
       24           A     Yes.    As far as I know, yes.
       25           Q     And how did you go about ensuring that
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                                                                         Page 190
         1    you found those documents?
         2           A    Most of the documents -- well, I mean,
         3    there are -- there are -- let me back up.
         4                     So Craig Wright, Satoshi Nakamoto,
         5    and David Kleiman -- Satoshi I only ever
         6    communicated via either email or BitcoinTalk
         7    private forum messages.
         8           Q    Um-hm.
         9           A    And so all of those documents -- and the
       10     same thing for -- well, besides the in-person
       11     meeting with Craig Wright, all of our
       12     communications were via email.          And so I -- I
       13     performed search over all of my Gmail inbox, like
       14     all -- you know, all mail sent, all mail received
       15     for Craig Wright, Satoshi Nakamoto, and David
       16     Kleiman.    And then I also did some manual searches
       17     in BitcoinTalk private messages, and the Reddit
       18     private messages I -- I -- I had related to -- to
       19     this matter.
       20            Q    Okay.    Could we just actually switch
       21     exhibits out.     I should have given you the marked
       22     one.
       23            A    Sure.
       24            Q    When did you first learn of Dave
       25     Kleiman's existence?
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                                                                         Page 191
         1          A     I'm not sure.
         2          Q     Okay.    Do you know if you learned of Dave
         3    Kleiman's existence before you learned of Craig
         4    Wright's existence?
         5          A     Again, I'm not sure.
         6          Q     Okay.    Have you ever communicated with
         7    Dave Kleiman?
         8          A     Not that I know of.
         9          Q     Okay.    Other than conversations that you
       10     may have had with Craig Wright or other people on
       11     Craig's -- you know, related to Craig's -- Craig
       12     Wright, has anybody ever -- else spoken to you
       13     about Dave Kleiman?
       14           A     I believe Ira Kleiman contacted me.            I'm
       15     not sure anybody else has ever spoken to me about
       16     Dave Kleiman.
       17           Q     Okay.    So would it be fair to say that
       18     any information that you have related to Dave
       19     Kleiman would either come from Ira, Craig, or
       20     somebody close to Craig?
       21           A     I mean, there's certain -- there have
       22     been reports in -- in media that I've read that --
       23     that talk about Dave Kleiman.          So it's, again,
       24     possible I've -- I heard about him through some
       25     Reddit post or something that appeared in public
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         1    media.
         2          Q      Other -- if we were to exclude online
         3    media or some sort of posting, as far as like
         4    one-on-one conversations with somebody, any
         5    information would have come from either Craig --
         6    Dr. Craig Wright, Ira Kleiman, or someone close to
         7    Craig Wright; is that correct?
         8          A      Yes.
         9          Q      Are you familiar with the term "firsthand
       10     knowledge"?
       11           A     Vaguely.
       12           Q     Okay.    What does it mean to you?
       13           A     Firsthand knowledge, it means you
       14     actually witnessed something happening; you didn't
       15     hear about it from somebody who witnessed a thing
       16     happening.
       17           Q     Okay.    So we're gonna use that definition
       18     going forward.
       19           A     Okay.
       20           Q     Do you have any firsthand knowledge about
       21     a partnership between Dr. Wright and Craig -- I'm
       22     sorry -- Dr. Wright and Dave?
       23           A     No.
       24           Q     Okay.    Do you have any firsthand
       25     knowledge about any intellectual property that Dave
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                                                                         Page 193
         1    Kleiman developed?
         2            A   No.
         3            Q   Do you have any firsthand knowledge as to
         4    any Bitcoin that Dave Kleiman may have mined?
         5            A   No.
         6            Q   Do you have any firsthand knowledge about
         7    a purported theft of Dave Kleiman's Bitcoin?
         8            A   No.
         9            Q   Do you have any firsthand knowledge about
       10     Bitcoin that Dr. Wright may have mined?
       11           A     No.
       12           Q     Do you have any firsthand knowledge about
       13     Dr. Wright's wealth?
       14           A     I'm not sure how to -- I certainly have
       15     emails, from an email address that I assumed was
       16     Craig Wright, talking about his wealth.            Given the
       17     definition of firsthand knowledge, I -- that we
       18     were discussing --
       19           Q     Correct.
       20           A     -- I don't know how an email fits into
       21     that definition, but that's the only knowledge I
       22     have.
       23           Q     Okay.    Well, let me ask you, those emails
       24     mention large sums, correct?
       25           A     Yes.
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                                                                         Page 194
         1          Q     All right.     I believe there was one about
         2    millions -- million something, correct?
         3          A     Hundreds of millions of somethings, yes.
         4          Q     Somethings, yes.       Okay.    Right.
         5                      Now, you haven't -- have you seen any
         6    bank account statements where you could see
         7    hundreds of millions of something?
         8          A     No.
         9          Q     Okay.    So any information -- is it fair
       10     to say that any information that you would have
       11     about Dave Kleiman's wealth is based on an email
       12     that seems to come from Dave Kleiman's email inbox?
       13           A     You mean Craig Wright's email?
       14           Q     Craig -- yes.      I'm sorry.
       15                       That seems to come from Craig
       16     Wright's email account, correct?
       17           A     Yes, correct.
       18           Q     All right.     But you haven't verified
       19     whether or not -- whether that's accurate?
       20           A     Correct, I have not.
       21           Q     Okay.    So would it be fair to say that
       22     you don't have firsthand knowledge as to whether
       23     that wealth, in fact, exists?
       24           A     I think that's fair to say, yes.
       25           Q     And do you have any firsthand knowledge
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                                                                         Page 195
         1    about whether Dave Kleiman -- Ira Kleiman -- Craig
         2    Wright has any trusts?
         3          A     No, I don't think I do.
         4          Q     Have you seen any trust documents?
         5          A     I'm not sure.
         6          Q     Okay.    Do you recall having seen any
         7    trust documents?
         8          A     The only trust document I would have seen
         9    might have been that attachment that I said that I
       10     destroyed in an email exchange with Uyen Nguyen.
       11           Q     But is it accurate to state you don't
       12     really recall what -- it could have been a trust
       13     document, but you're just not -- you don't recall?
       14           A     That's correct, it could have been a
       15     trust document, but I don't recall.
       16           Q     Okay.    And you weren't a party to setting
       17     up of any trusts?
       18           A     No, I was not.
       19           Q     And do you have any firsthand knowledge
       20     of any trusts that Dave Kleiman may have been part
       21     of?
       22           A     No.
       23           Q     Now, I just asked you a whole bunch of
       24     questions, whether you had firsthand knowledge
       25     about many different subjects, correct?
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                                                                         Page 196
         1           A    Yes.
         2           Q    To the extent you have any knowledge
         3    about those -- those subjects that is not firsthand
         4    knowledge, what would the source of that knowledge
         5    be?    And we can go one by one if that's easier for
         6    you.
         7           A    I mean, the -- the -- the sources of any
         8    of those would be emails from Craig Wright, emails
         9    from Uyen Nguyen, emails from the so-called money
       10     guys who are part of the -- the London proving
       11     session I was part of, and then any court documents
       12     or other things that I've seen reported in -- in
       13     public media.
       14            Q    Okay.    And do you know whether those
       15     emails were, in fact, sent by Craig Wright or any
       16     of those other parties?
       17            A    Do I know for a hundred percent sure?
       18     No.    Emails can be forged.
       19            Q    Sure.    And they -- they could also be
       20     sent from an email address, but the person sending
       21     it is not actually the one who typed up the
       22     message, right?
       23            A    That is possible, yes.
       24            Q    At most we know it's from -- would it be
       25     fair to say that the most we know, it's from an
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         1    email address that is consistent with an email
         2    address that we believe those people use?
         3          A     Yes.
         4          Q     Okay.    Now, you previously testified
         5    about a cryptographic proof session in London.              Do
         6    you recall that?
         7          A     Yes.
         8          Q     And that cryptographic proof was related
         9    to either block 9 or 10, depending on how you
       10     count, correct?
       11           A     Yes.
       12           Q     Did -- did Dr. Wright show you any
       13     cryptographic proofs for any other blocks?
       14           A     No.
       15           Q     Do you have any knowledge as to whether
       16     he has the ability to control any other Bitcoin
       17     blocks?
       18           A     No.
       19           Q     Now, if somebody had access to a Bitcoin
       20     private key in the past, does it mean they still
       21     have access to a Bitcoin private key?
       22           A     No.
       23           Q     Is it possible to have access one day and
       24     access not the other day?
       25           A     Yes, keys can be lost or stolen.
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                                                                         Page 198
         1          Q     Okay.    Do you recall the date that you
         2    had the proof session with Dr. Wright in London?
         3          A     That was one of the things I looked at --
         4                     (Brief interruption.)
         5                     (Phone connection disconnected.)
         6          A     That was one of the things I looked at
         7    this morning, and I believe it was April 7th.
         8          Q     Okay.    All right.     And do you recall what
         9    time of day it was that the actual proof was shown
       10     to you?
       11           A     I think it was late afternoon.
       12           Q     Okay.    So would it be fair to say that,
       13     at most, you can know that in the late afternoon of
       14     April 7th, Dr. Wright could have had the private
       15     key to block 9 or block 10, correct?
       16           A     Yeah.    Yes.
       17           Q     You don't know if he had the private key
       18     prior to that, correct?
       19           A     Correct.
       20           Q     And you don't know if he had the private
       21     key after that?
       22           A     Correct.
       23           Q     And you don't know if -- when there were
       24     those email conversations going back and forth
       25     where people made representations on behalf of
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         1    Dr. Wright, that he would transfer money from a
         2    certain Bitcoin address, you don't know if he still
         3    had the key at that point in time?
         4          A     Correct.
         5          Q     And if he didn't have the key, it
         6    wouldn't be a very easy matter to make a transfer,
         7    correct?
         8          A     It -- it would be impossible.
         9          Q     Okay.
       10                      (Calling conference line.)
       11           Q     And it's -- and it's also possible that
       12     Dr. Wright did not, in fact, have the key in the
       13     evening of April 7th, 2016, right?
       14           A     Correct.
       15                      (Reconnecting into conference line.)
       16           Q     You testified before that you
       17     corresponded with Satoshi in 2010, correct?
       18           A     Correct.
       19           Q     And what was the nature of your
       20     relationship with Satoshi?
       21           A     It was very businesslike, very -- you
       22     know, one programming geek talking to another
       23     programming geek.
       24           Q     Okay.    So would it be fair to say that
       25     large parts of your conversations were about
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         1    programming stuff?
         2          A      Yeah, basically all of our conversations
         3    were about programming stuff.          My conversations in
         4    2010 never really delved into anything personal.
         5    Yeah, it was all the bus -- about the business of
         6    making the Bitcoin software successful.
         7          Q      Okay.    And did Satoshi ever share code
         8    with you?
         9          A      Did he share -- yes, he did share code
       10     with me.
       11           Q     And did you ever share code with Satoshi?
       12           A     Yes.
       13           Q     And did you have conversations with
       14     Satoshi about the code?
       15           A     Yes.     We had back and forth about how
       16     things should be implemented.
       17           Q     And would it be accurate to state that
       18     you're familiar with Satoshi's programming
       19     abilities?
       20           A     Yes.
       21           Q     And that would be based on the email
       22     conversations that you had with Satoshi, correct?
       23           A     Yes, and also the -- the -- the code
       24     in -- that is in the Bitcoin repository, that
       25     open-source software code, that we know was written
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         1    by Satoshi.
         2          Q     Okay.    I'm going to introduce Exhibit 48.
         3                     (Exhibit 48 marked for
         4                     identification.)
         5          Q     And, Mr. Andresen, do you recognize this
         6    document?
         7          A     2010.    Yeah.
         8          Q     What -- what -- what do you believe it
         9    is?
       10           A     Let's see, what were we doing here?
       11           Q     Well, I'm fine with the higher level
       12     understanding; like, for example, are you talking
       13     code with Satoshi?       Let's start, is this an email
       14     with Satoshi?
       15           A     Yes, this is an email with Satoshi.
       16           Q     And are you talking about coding things?
       17           A     Yes, we're talking about coding things.
       18     I believe this is the new -- yes, this is the new
       19     RPC methods for talking to the -- the Bitcoin
       20     software and controlling the Bitcoin software.
       21           Q     Okay.    Now, I'm going to introduce
       22     Exhibit 49.
       23                      (Exhibit 49 marked for
       24                      identification.)
       25           Q     And do you recognize this document?
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         1          A     Yes.
         2          Q     And is it an email between you and
         3    Satoshi Nakamoto?
         4          A     Yes, it is.
         5          Q     And are you talking about coding things
         6    and programming?
         7          A     Yes, we are.
         8          Q     Okay.    And I'm going to introduce as
         9    Exhibit 45 this document.
       10                      (Exhibit 45 marked for
       11                      identification.)
       12           Q     And if you look at the prior exhibit that
       13     I showed you, which was 49, there is an attachment
       14     to it.    Do you have any knowledge as to whether
       15     this attachment is what's referred to in that
       16     email?
       17                      (Witness perusing document.)
       18           Q     If it does help, the -- the Bates numbers
       19     are sequential.
       20           A     Yes, I think this is the attachment that
       21     would go with that email.
       22           Q     Okay.    Thank you.
       23                      And, again, so not only are you
       24     talking about coding stuff in the -- the body of
       25     the email, you're actually exchanging code with
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         1    Satoshi?
         2          A     Yes.
         3                       (Exhibit 46 marked for
         4                       identification.)
         5          Q     I'm going to introduce Exhibit 46.           And
         6    do you recognize this document?
         7          A     Yes.
         8          Q     And are -- it's a Satoshi email --
         9                       MR. FREEDMAN:     Zalman, you said 46.
       10     It's 51, I think.
       11                      MR. KASS:     What -- what was I saying,
       12     please?
       13                      THE WITNESS:      This says Exhibit 46.
       14                      MR. KASS:     46.    I had jumped five by
       15     mistake, so I just kind of went back to -- to fill
       16     in the numbers I didn't have.          There were two rows
       17     of stickies.
       18                      MR. FREEDMAN:       This is going to
       19     become your new trademark, Mr. Kass.
       20                      MR. KASS:     Are you confused yet?
       21     BY MR. KASS:
       22           Q     Okay.    Exhibit 46, is this an email
       23     between you and Satoshi?
       24           A     Yes.
       25           Q     And what's -- is this email about coding
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                                                                         Page 204
         1    and programming things?
         2          A     Yes.
         3          Q     Okay.
         4                       (Exhibit 47 marked for
         5                       identification.)
         6          Q     I am introducing Exhibit 47.          And do you
         7    recognize this document?
         8          A     Yes.
         9          Q     Is it an email conversation between you
       10     and Satoshi Nakamoto?
       11           A     Yes.
       12           Q     Are you talking about programming and
       13     coding things?
       14           A     Yes.
       15           Q     All right.
       16                      (Exhibit 50 marked for
       17                      identification.)
       18           Q     Okay.    I'm going to introduce Exhibit 50.
       19     Do you recognize this email?
       20           A     Yes.
       21           Q     Is this a conversation between you and
       22     Satoshi Nakamoto?
       23           A     Yes.
       24           Q     Is it about coding and programming?
       25           A     Yeah.    A particularly annoying one, yes.
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         1          Q     I'm just curious, what was particularly
         2    annoying about this one?
         3          A     Just the -- cleanly shutting down the
         4    application took many revisions.          It seems like it
         5    should be a very simple thing to do, but it was
         6    much more complicated.
         7          Q     And did you work with Satoshi on that?
         8          A     Yes.
         9                       (Exhibit 51 marked for
       10                      identification.)
       11           Q     Now, I'm going to introduce Exhibit 51,
       12     which is a sequential Bates number from the prior
       13     email that I sent to you.        If you could take a peek
       14     at it, and let me know if that is an attachment in
       15     Exhibit 50.
       16           A     Yes, it is.
       17           Q     So would it be fair to say that, in
       18     addition to speaking about coding in the body of
       19     Exhibit 50, you are also sharing code, actual code,
       20     with Satoshi?
       21           A     Yes.
       22           Q     And Satoshi was sharing code with you as
       23     kind of back --
       24           A     Yes --
       25           Q     -- you know, a two-way street?
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                                                                         Page 206
         1          A     -- we would trade what are called
         2    "patches" back and forth.
         3                       (Exhibit 52 marked for
         4                       identification.)
         5          Q     Okay.    I'm going to introduce Exhibit 52.
         6    Do you recognize this document?
         7          A     Satoshi to me.      Yes.
         8          Q     Is it an email between you and Satoshi
         9    Nakamoto?
       10           A     Yes.
       11           Q     Are you talking about programming and
       12     coding?
       13           A     Yes.
       14           Q     Okay.    And -- okay.
       15                      (Exhibit 53 marked for
       16                      identification.)
       17           Q     I'm going to introduce Exhibit 53.           Do
       18     you recognize this document?
       19           A     Yes.
       20           Q     Is it a conversation between you and
       21     Satoshi Nakamoto?
       22           A     Yes.
       23           Q     Is it related to programming and coding?
       24           A     Yes.
       25           Q     I'm going to introduce Exhibit No. 54.
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                                                                         Page 207
         1                       (Exhibit 54 marked for
         2                       identification.)
         3          Q     Do you recognize this email?
         4          A     Yes.
         5          Q     Is it an email between you and
         6    Satoshi Nakamoto?
         7          A     Yes.
         8          Q     Is it related to programming and coding?
         9          A     Yes.
       10           Q     Okay.
       11                      (Exhibit 55 marked for
       12                      identification.)
       13           Q     I'm going to introduce Exhibit 55.           Do
       14     you recognize this document?
       15           A     Yes.
       16           Q     Is it an email between you and Satoshi
       17     Nakamoto?
       18           A     Yes.
       19           Q     Is it related to programming and coding?
       20           A     Yes.    I'm detecting a pattern.
       21           Q     Yes.    We're getting to the end of it.
       22                      (Exhibit 56 marked for
       23                      identification.)
       24           Q     I'm introducing Exhibit No. 56.           Do you
       25     recognize this document?
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                                                                         Page 208
         1          A     Yes.
         2          Q     Is it an email between you and Satoshi
         3    Nakamoto?
         4          A     Yes.
         5          Q     Does it relate to coding -- coding and
         6    programming?
         7          A     Yes.
         8          Q     All right.     Is it -- is it fair to say we
         9    just looked at a large number of documents that are
       10     communications between you and Satoshi Nakamoto
       11     related to programming and coding?
       12           A     Yes.
       13           Q     As it related to the Bitcoin software?
       14           A     Yes.
       15           Q     Okay.    And based on all those emails, did
       16     you form an opinion as to Satoshi's coding or
       17     programming abilities?
       18           A     Yes.
       19           Q     And how would you describe his
       20     programming and coding abilities?
       21           A     I would say he's a very good coder,
       22     although a little bit old-fashioned.
       23           Q     Okay.    I actually have two more exhibits
       24     we've got to do.
       25                      (Exhibit 57 marked for
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                                                                         Page 209
         1                       identification.)
         2          Q     I'm going to introduce Exhibit 57.           Do
         3    you recognize this document?
         4          A     Yes.
         5          Q     Is it an email between you and Satoshi
         6    Nakamoto?
         7          A     Yes.
         8          Q     Does it relate to programming and coding?
         9          A     Yes.
       10           Q     And, again, I am going to introduce now
       11     as Exhibit 58, which is sequentially marked.
       12                      (Exhibit 58 marked for
       13                      identification.)
       14           Q     And do you recognize this to be the -- do
       15     you recognize 58 to be the attachment from
       16     Exhibit 57?
       17           A     Yes.
       18           Q     And what is attached, would you -- would
       19     it be fair to say, is coding and programming
       20     related?
       21           A     Yes.
       22           Q     Is it actual code?
       23           A     It's actual code.
       24           Q     And this is actual code from Satoshi
       25     Nakamoto?
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                                                                         Page 210
         1          A     Yes.
         2          Q     Okay.    Would you consider Satoshi a
         3    brilliant programmer?
         4          A     Definitely a top 10 percent programmer.
         5          Q     All right.       And when you say "top" --
         6    "top 10 percent," is that in the world?            In the US?
         7    I just want to understand a little bit more what
         8    you mean.
         9          A     Among all the programmers that I've
       10     interacted with, he's definitely in the top
       11     10 percent.     I've known better programmers.          I've
       12     known a lot of worse programmers.
       13           Q     Sure.    Okay.    And how would you rank
       14     yourself in the -- in the hierarchy of programmers?
       15           A     I'd say I'm in the top 10 percent also.
       16           Q     All right.     So --
       17           A     I'm a little slower than most
       18     programmers, but I'm -- I think I have fewer bugs.
       19           Q     Okay.    So would you consider yourself on
       20     equal footing with Satoshi?
       21           A     It depends on what we were programming,
       22     but, yeah, roughly equal.
       23           Q     Okay.
       24                      (Exhibit 59 marked for
       25                      identification.)
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                                                                         Page 211
         1          Q      I am going to introduce Exhibit 59.
         2                       Now, I'm gonna ask you to turn to the
         3    second page of the exhibit.         And then I'm going to
         4    ask you to look at the fifth paragraph from the
         5    bottom, and the paragraph starts with "Over."
         6          A      Sure.
         7          Q      Okay.   And then do you see on the second
         8    line it says, "I mean, Satoshi is a brilliant
         9    programmer, but he also acts like a lone wolf."
       10                      And then if you go on a little
       11     further, this statement is attributed to you.
       12                      Do you recall making that statement?
       13           A     Yes, I believe I did.
       14           Q     Okay.
       15           A     I've said similar statements in the past.
       16           Q     All right.     So -- and is that an accurate
       17     statement?
       18           A     Yes.
       19           Q     Okay.    So based on your interactions with
       20     Satoshi, it's your belief that he was a brilliant
       21     programmer?
       22           A     Yes.
       23           Q     So would it be fair to say that Satoshi
       24     would know how to create a simple programmer --
       25     program?
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                                                                         Page 212
         1            A   Yes.
         2            Q   And if someone told you that Satoshi
         3    needed help creating a simple program, what would
         4    your reaction be?
         5            A   I would need to know a little bit more.
         6    I mean, certainly if it was an unfamiliar
         7    programming language or unfamiliar programming
         8    environment, then I could imagine needing help.
         9    Even I would need help writing Ruby code, for
       10     example; I don't know the programming language
       11     Ruby.
       12           Q     Um-hm.    But if it wasn't an issue of --
       13     of languaging, if you -- if -- if Satoshi was able
       14     to use whatever code -- programming language he
       15     wanted, would you be surprised that he had
       16     difficulty creating a simple program?
       17           A     Yes, I would be surprised.
       18           Q     All right.     And would you be surprised if
       19     he would have to reach out to his best friend, who
       20     was a programmer, and ask him to create simple
       21     programs?
       22           A     Yes.
       23           Q     What's a -- are you familiar with the
       24     term "simple script"?
       25           A     "Simple script"?
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                                                                         Page 213
         1          Q     Yeah.
         2          A     No, I don't think so, at least not as
         3    a -- not as a term.
         4          Q     Okay.    Well, if I were to define a simple
         5    script as a series of moderately simple commands,
         6    sort of like a macro in Excel --
         7          A     Sure.
         8          Q     -- would you understand what that is?
         9          A     Absolutely, yes.
       10           Q     Yeah.    Would you consider that
       11     programming?
       12           A     It's a kind of programming.
       13           Q     Do you believe Satoshi's skills were in
       14     excess of writing simple scripts?
       15           A     Again, it depends.       I mean, for example,
       16     the first version of Bitcoin ran on Windows, and if
       17     Satoshi was a Windows programmer that needed to
       18     write some UNIX scripts on a server, then I could
       19     imagine him reaching out to somebody to help out
       20     with -- with that kind of task.          Again, it would be
       21     like -- it's -- it's basically a different
       22     programming language.
       23           Q     Okay.    Well, if somebody were to state
       24     that Satoshi only knew how to write simple scripts,
       25     as a blanket statement, would that be consistent
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                                                                         Page 214
         1    with your interactions with Satoshi?
         2          A     No.     The Satoshi I was interacting with
         3    had a demonstrated ability to produce code.             Or at
         4    least, you know, I received code in emails.             I have
         5    no firsthand knowledge that the person I was
         6    communicating via email actually wrote the code.
         7          Q     Okay.
         8          A     But I assume that it -- that it was the
         9    same person.
       10           Q     Well, let me ask you.        In the emails that
       11     we've looked at, in the body of the emails, are
       12     there discussions about code?
       13           A     Yes.
       14           Q     Okay.    So based on those -- the messages
       15     in the body of the email, would it be accurate to
       16     state that this Satoshi, or the person who held
       17     himself out as Satoshi that you were speaking with,
       18     was a programmer?
       19           A     Yes.
       20           Q     And a coder?
       21           A     Yes.
       22           Q     And able to do things more advanced than
       23     simple scripts?
       24           A     Yes.
       25           Q     Okay.    Do you recall testifying earlier
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                                                                         Page 215
         1    on that somebody reached out to you regarding
         2    Craig Wright showing himself as Satoshi, correct?
         3          A     Yes.
         4          Q     And your initial reaction was skepticism?
         5          A     Yes.
         6          Q     I believe you said highly skeptical?
         7          A     Yes.
         8          Q     Okay.    And that was because other people
         9    in the past had claimed they were Satoshi?
       10           A     Quite a few, yes.
       11           Q     Okay.    And, in fact, you said I'm not
       12     getting on that plane until I'm -- a plane to
       13     London until I'm reasonably certain that Craig
       14     Wright is Satoshi?
       15           A     Yes.
       16           Q     Okay.    And there was an email with four
       17     different ways that you could be reasonably certain
       18     that you were speaking with Satoshi, correct?
       19           A     Yes.
       20           Q     All right.     And if you could take a look
       21     at Exhibit 4, previously marked.
       22           A     (Witness complied.)
       23           Q     Now -- all right, if you look at the
       24     bottom, it says, "I want to see" and then you have
       25     one, two, three, four.        Do you recall if it was
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                                                                         Page 216
         1    that you wanted to see all four or if one of them
         2    was sufficient?
         3          A     The more, the better.        The more, the more
         4    certain I felt I would be.
         5          Q     Okay.    Now, if you look at all of those
         6    four options, or at least the first three of them,
         7    there's some language in parentheticals.            Do you
         8    see that?
         9          A     Yes.
       10           Q     Okay.    And the first one, where you ask
       11     for a PGP key that Satoshi used, what do you --
       12     what do you state in parentheticals?
       13           A     "But his computer could have been
       14     hacked."
       15           Q     And what's the import of that?
       16           A     The import is that a PGP key can be
       17     stolen, and somebody else can use it to impersonate
       18     somebody if they have access to that piece of data.
       19           Q     All right.     And, therefore, it's not a
       20     perfect proof; is that fair?
       21           A     That's fair, yeah, it's not a perfect
       22     proof.
       23           Q     All right.     And then we go down to the
       24     second one, which is a message signed with the keys
       25     from the early Bitcoin blocks.          And, again, there's
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                                                                         Page 217
         1    something in parentheticals.         Could you read that?
         2            A      "But his wallet could have been stolen."
         3            Q      And what's the import of that?
         4            A      Again, I mean, the keys are pieces of
         5    data.
         6            Q      Um-hm.
         7            A      The fact that you have a key, it doesn't
         8    tell you anything about how you obtained that key,
         9    so keys can be stolen.         And so, again, somebody
       10     could have stolen those keys and used them to
       11     pretend to be the person who actually mined the
       12     blocks way back in 2009.
       13            Q       Okay.    Now, the third one on that list is
       14     an email or private forum post he sent to me in
       15     2010.       And, again, you have a parenthetical.
       16     What's that parenthetical?
       17            A       "But email could have been hacked."
       18            Q       And, again, what's the import of that?
       19            A       Again, email is just data.      So if you
       20     hack into a computer, you could steal somebody's
       21     emails and then present them as if they were your
       22     own.
       23            Q       Okay.    And then there's the fourth one,
       24     which is a conversation about technical stuff,
       25     ideally via email, so I can see if it feels like
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                                                                         Page 218
         1    the same person I communicated with in 2010?
         2          A     Yes.
         3          Q     Is there any parenthetical after that?
         4          A     No.
         5          Q     All right.     So would it be fair to say,
         6    out of those four options, the fourth option would
         7    be the most convincing?
         8          A     I mean, I -- I'm not sure I would say the
         9    most convincing.      I mean, certainly if -- if you
       10     could produce the other three, I think they would
       11     have more weight.      I think any individual one --
       12     yeah, no, I don't think I -- I don't think it's --
       13     it's the one that would be most convincing to me.
       14                       I think the other three, if you could
       15     produce them, would be more convincing, just
       16     because I don't trust myself to -- to judge
       17     whether, you know, two documents are produced by
       18     the same person.      That's just not a skill that I
       19     feel like, you know, I'm -- I'm super great at.
       20           Q     All right.     Well, let me ask you.        For
       21     the fourth one, which was this email conversation,
       22     you didn't identify any downsides over there?
       23           A     That's correct.
       24           Q     All right.     And so would it be fair to
       25     say that at that point in time, which, based on the
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         1    email, is March 29, 2016, you didn't identify that
         2    as a downside?
         3           A    I didn't identify what as a downside?
         4           Q    Your inability to adequately --
         5           A    -- judge whether I'm communicating with
         6    the same --
         7           Q    Yes.
         8           A    -- person I was in the past?          Correct.
         9    Yes.
       10            Q    Okay.    Now, which of the four did
       11     Dr. Wright eventually end up using?
       12            A    I believe a message signed with a key
       13     from the early Bitcoin block is the only one.
       14            Q    That was a poor question.         Sorry.    Can I
       15     take that back?
       16            A    Sure.
       17            Q    You can -- I don't want to interrupt.
       18     You can answer, but I'm gonna change the question
       19     anyways.
       20                      Before you got on the plane to go to
       21     London, which one of those four did Dr. Wright use?
       22            A    The conversation about technical stuff.
       23     So we did have a back-and-forth conversation about
       24     the state of Bitcoin --
       25            Q    All right.
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         1          A     -- and what his thoughts were.
         2          Q     And was that conversation through email?
         3          A     Yes.
         4          Q     Was there a phone conversation?
         5          A     I don't think so, no.
         6          Q     Okay.
         7          A     I -- I might be -- I might be
         8    misremembering, but I don't think there was.
         9          Q     I'm going to introduce Exhibit 60.
       10                      (Exhibit 60 marked for
       11                      identification.)
       12           Q     Do you recognize that document?
       13           A     Yes.
       14           Q     Is it an email that appears to be from
       15     Stefan Matthews to you?
       16           A     Yes.
       17           Q     Okay.    And what does it say about --
       18     like, do you -- do you know what the purpose of
       19     this email was?
       20           A     It was part of the logistics of me
       21     traveling to London --
       22           Q     Um-hm.
       23           A     -- to witness signing of an early Bitcoin
       24     block.
       25           Q     Okay.    And if you look at the third
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         1    paragraph, the one that starts with, I am looping
         2    Craig into this email so that the two of you have
         3    the necessary email contact information for the
         4    exchange of information prior to the substantial
         5    discussion information exchange in London.
         6                       Reading that, do you have any
         7    additional recollection as to what the purpose of
         8    this email was?
         9                       (Pause.)
       10           Q     I can re-ask it.
       11                      Was one of the reasons of this email
       12     so that Craig could be in contact with you to then
       13     give you the fourth -- the fourth option of the
       14     list of proofs?
       15           A     Yes, probably.
       16           Q     And that would just be based on reading
       17     that paragraph, what I just read to you?
       18           A     Exactly, yes.
       19           Q     Okay.
       20           A     I mean, I have -- I have very little
       21     recollection of exactly what happened when.
       22           Q     All right.     But this is consistent with
       23     what you recall?
       24           A     Yes.
       25           Q     Okay.    I'm going to introduce Exhibit 67.
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                                                                         Page 222
         1          A     This says --
         2          Q     I'm sorry --
         3          A     -- 61.
         4          Q     -- 61.    I misread.     Thank you.
         5                       (Exhibit 61 marked for
         6                       identification.)
         7          Q     Do you recognize this document?
         8          A     Yes.
         9          Q     Okay.    And is it an email between
       10     Dr. Craig Wright and yourself?
       11           A     Yes.
       12           Q     Okay.    Now, I'm gonna introduce another
       13     exhibit, and this exhibit is going to be Exhibit
       14     No. 62.
       15                      (Exhibit 62 marked for
       16                      identification.)
       17           Q     All right.     Do you recognize this
       18     document?
       19           A     Yes.
       20           Q     Is it an email between you and Craig
       21     Wright?
       22           A     Yes.
       23           Q     What is the time -- what -- when was the
       24     email sent, what time?
       25           A     It says April 3rd, 2016, 11:06 a.m.
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         1          Q     All right.     And then if you look at the
         2    other email, which is Exhibit 61, what's the time
         3    on that email?
         4          A     It says April 3rd, 2016, 11:53 a.m.
         5          Q     All right.     So would it be fair to say
         6    that these emails are about 50 minutes apart,
         7    slightly less?
         8                     MR. KASS:     50.
         9          A     Yes.
       10           Q     Now, could you just take a minute to
       11     quickly look over the two emails, because I'm going
       12     to be asking you questions.          I just want to make
       13     sure you're familiar with it.
       14                      (Witness perusing documents.)
       15           Q     And that's fine if you just read the
       16     first page of both emails.
       17           A     I'll skim.
       18           Q     That's fine.
       19                      (Witness perusing document.)
       20           A     Okay.
       21           Q     And would it be fair to say that there
       22     are similarities between these two emails?
       23           A     Yeah.
       24           Q     Okay.    And would it be fair to say that,
       25     for the most part, it's the same substance, but
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         1    they're in different writing styles?
         2                     MR. FREEDMAN:      Objection, form.
         3          A     Yes.
         4          Q     All right.     Now, let's go to Exhibit 61.
         5    If you look at the first paragraph, does Dr. Wright
         6    give any explanation as to why he sent you two
         7    emails less than 50 minutes apart with similar
         8    substance?
         9                     (Witness perusing document.)
       10           A     Well, the first paragraph says, Using
       11     this style, I've written many blog posts.             Has a
       12     few minor alterations to my standard prose.             The
       13     following is more in line to how I naturally write.
       14           Q     Okay.    Now, when he says, "Using this" --
       15     so he says, "The first email I send to you a few
       16     moments back."      Do you understand that to mean
       17     Exhibit 62?
       18           A     I'm not sure.
       19           Q     Okay.    Well, was that email sent a few
       20     moments back?
       21           A     According to the dates in the sent, then,
       22     yes, it was sent 50 minutes before the --
       23           Q     Okay.
       24           A     -- before Exhibit 61.
       25           Q     And it has similar content?
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         1          A     It does have similar content, yes.
         2          Q     But a different writing style?
         3          A     Different words, certainly, yes.
         4          Q     All right.     So would you be comfortable
         5    stating that it's probable that is the
         6    communication Dr. Wright was referring to?
         7          A     Yes.
         8          Q     Okay.    And if -- if there were no other
         9    emails between -- in that 50-minute span, would you
       10     be very convinced that that is the actual -- that
       11     Dr. Wright is referring to Exhibit 62 when he says,
       12     "The email I send to you a few moments back"?
       13           A     Yes.
       14                      MR. FREEDMAN:      Objection to form.
       15           Q     Okay.    Now, was part of this, these two
       16     emails, did you understand it that Dr. Wright was
       17     trying to show you that he could write like Satoshi
       18     Nakamoto?
       19           A     I hadn't thought about it until now,
       20     frankly.
       21           Q     All right.     And now that you've thought
       22     about it...
       23           A     Now that I've thought about it, yeah,
       24     that seems to be what he's doing here.
       25           Q     And you, in fact, were familiar with
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         1    Satoshi's writing style, correct?
         2          A      Yes.    I think I probably read everything
         3    that he wrote publicly.
         4          Q      Sure.    And, in addition to what Satoshi
         5    had -- had written publicly, you had also had a
         6    series of email conversations with Satoshi,
         7    correct?
         8          A      Yes.
         9          Q      Now, we've seen a lot of them related to
       10     coding-type things and programming, correct?
       11           A     Yes.
       12           Q     But would it be accurate to state that
       13     some of those conversations were more expansive
       14     than that?
       15           A     Yes, we'd talk about things related to
       16     making the Bitcoin project succes -- successful.
       17                      (Pause.)
       18                      MR. KASS:     We're gonna take a
       19     five-minute break.       Off the record.
       20                      THE VIDEOGRAPHER:       The time is
       21     3:46 p.m.    We're going off the record.
       22                      (Off record.)
       23                      THE VIDEOGRAPHER:       The time now is
       24     3:51 p.m.    We're back on the record.
       25                      (Exhibit 63 marked for
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                                                                         Page 227
         1                       identification.)
         2    BY MR. KASS:
         3          Q     I'm introducing Exhibit 63.          Do you
         4    recognize that document?
         5          A     Yes.
         6          Q     It is an email conversation between you
         7    and Satoshi Nakamoto?
         8          A     Yes.
         9          Q     And in this email, it's -- are you
       10     talking about more than just coding?
       11           A     Well --
       12           Q     Let me rephrase that question.
       13                      More than just code?
       14           A     More than just code.        Yeah, we're talking
       15     about user interface for the Bitcoin software and
       16     how it should work.
       17                      (Exhibit 64 marked for
       18                      identification.)
       19           Q     And I'm going to introduce Exhibit 64.
       20     Do you recognize this document?
       21           A     Yes.
       22           Q     And is it an email between you and
       23     Satoshi Nakamoto?
       24           A     Yes.
       25           Q     And are you talking about more -- or is
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                                                                         Page 228
         1    Satoshi talking to you more than just about code?
         2            A   Yeah, he's talking about -- well, he's
         3    talking about the design of the -- of the software
         4    and how it should work.
         5                       (Exhibit 65 marked for
         6                       identification.)
         7            Q   And I'm going to introduce Exhibit 65.
         8    Do you recognize this document?
         9            A   Yes.
       10           Q     Is it an email between you and Satoshi
       11     Nakamoto?
       12           A     Yes.
       13           Q     And are you talking about more than just
       14     code?
       15           A     Yes.
       16           Q     Okay.    And would it be fair to -- and
       17     would it be fair to say it's a fairly lengthy email
       18     from Satoshi Nakamoto to yourself?
       19           A     Yeah, it's mostly about code, but there
       20     are -- I mean, we do talk about team members and --
       21     and kind of higher level software development
       22     stuff.
       23           Q     Okay.    And I'm going to introduce
       24     Exhibit 66.
       25                      (Exhibit 66 marked for
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                                                                         Page 229
         1                       identification.)
         2          Q     Do you recognize this document?
         3          A     Yes.
         4          Q     Is it an email between you and Satoshi
         5    Nakamoto?
         6          A     Yes.
         7          Q     Are you talking about anything in
         8    addition to code?      And by "you," I also mean
         9    Satoshi.    The conversation, does it involve things
       10     in addition to code?
       11           A     Yeah, we're talking about potential
       12     attacks on the Bitcoin software.
       13           Q     All right.     So I just showed you four
       14     exhibits, and would it be accurate to state that in
       15     the last four exhibits that I just showed you,
       16     those are examples of conversations you had with
       17     Satoshi Nakamoto that encompassed things in
       18     addition to coding and programming language?
       19           A     Yes.
       20                      MR. FREEDMAN:      Object to form.
       21           Q     So based on that, would -- would it be
       22     fair to state that you had an understanding as to
       23     Satoshi's writing style?
       24           A     I think I had a --
       25                      MR. FREEDMAN:      Objection to form.
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                                                                         Page 230
         1           A    I would say I had a feeling for Satoshi's
         2    writing style.      I'm not sure I would say
         3    understanding.
         4           Q    And do you recall if, after receiving
         5    the -- the two emails from Dr. Wright that were
         6    about 50 minutes apart, if that was sufficient to
         7    convince you to go on a plane to London to meet
         8    him?
         9           A    Yes, I believe that was sufficient to
       10     convince me to get on an airplane.
       11            Q    Okay.    So would it be fair to state that
       12     you believed that that writing style was consistent
       13     with the previous writing style of Satoshi?
       14            A    Yes.    I felt like it could be the same
       15     person.
       16            Q    Okay.    And when Dr. Wright sent you those
       17     emails, what year was it in?
       18            A    When Dr. Wright sent me those emails, I
       19     would have to go back and look at the -- the -- the
       20     email headers.      2016, was it?      Again, I have a
       21     terrible memory for dates.
       22            Q    You can look at the email.         It's just a
       23     few back.
       24            A    2016.
       25            Q    Okay.    Could -- do you know if Dave
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                                                                         Page 231
         1    Wright -- Dave Kleiman wrote those emails for
         2    Dr. Wright?
         3          A     I'm sorry.     Ask that again.
         4          Q     Do you know if -- if Dave Kleiman wrote
         5    those emails for Dr. Wright, those two emails that
         6    were -- that were 50 minutes apart?
         7          A     I -- I don't know.
         8          Q     Do you know if he could have written
         9    those emails?
       10           A     I don't know.
       11           Q     Do you know if he was alive at that point
       12     in time?
       13           A     I don't know.
       14           Q     If I were to tell you he passed away in
       15     2013, would that affect your answer?
       16           A     If you tell me he died in 2013, then I
       17     don't believe in ghosts.
       18           Q     So you don't believe it was Dave Kleiman
       19     who was communicating with you in 2016?
       20           A     Correct.     I believe it was Craig Wright.
       21           Q     Okay.
       22           A     Maybe there are ghosts.
       23           Q     How would you describe your relationship
       24     -- your current -- your current relationship with
       25     Craig Wright?
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                                                                         Page 232
         1          A     I don't think I have a relationship with
         2    Craig Wright at the moment.
         3          Q     Okay.    How would you describe your
         4    relationship with Craig Wright after you flew to
         5    London?
         6          A     I would say we had a cordial
         7    relationship.
         8          Q     Okay.    And were you shown emails earlier
         9    on today where you continued communicating with
       10     Dr. Craig Wright after that public session, correct
       11     -- or after the -- after the -- Dr. Wright released
       12     that -- what appeared -- what he stated was the --
       13     the transaction, correct --
       14                      MR. FREEDMAN:      Objection to form.
       15           Q     -- publicly?
       16           A     Yes, we continued to have some email
       17     conversations sporadically after that whole proving
       18     session and then blog post and then mess.
       19           Q     Sure.    And were there some sort of
       20     apologies going back and forth?
       21           A     Yes.
       22           Q     Okay.    And did you tell him that you
       23     understood, and you didn't really hold hard
       24     feelings?
       25           A     I -- well, it's what I said in the email,
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                                                                         Page 233
         1    which I -- I don't recall exactly what I said, but
         2    it is in the email.
         3            Q   Okay.
         4            A   I believe I said I was not angry, but I
         5    was disappointed, and I certainly, personally, took
         6    a lot of heat and abuse.
         7            Q   But -- but you weren't angry with him?
         8            A   No, I don't think I was angry.
         9            Q   Okay.    Now, you've testified previously
       10     this morning that you've been doing coding for
       11     quite a while?
       12           A     Yes.
       13           Q     And how many years have you been doing
       14     coding?
       15           A     Well, let's see.       I graduated from high
       16     school in 1984.      I got my first -- I saved up when
       17     I was a freshman in high school for my
       18     Commodore 64, which would have been 1980 -- about
       19     1980.
       20           Q     Um-hm.
       21           A     So since 1980, probably, I've been
       22     programming.
       23           Q     Okay.    And was a portion of that
       24     programming professionally?
       25           A     Yes.
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                                                                         Page 234
         1            Q      Would it be fair to say that you have
         2    sufficient skills to look at code that was written
         3    and have an understanding as to the coder's coding
         4    style?
         5            A      Yes.
         6            Q      And have you looked at the original
         7    Bitcoin software code?
         8            A      Yes.
         9            Q      Have you read the entire code of the
       10     original release?
       11           A       I don't think I've read every single
       12     line, but I've read large portions of it.
       13           Q       Okay.   And have you reached any
                                                           y opinion
                                                              p
                                                             Improper expert opi
                                                                             opinion
                                                                                nion
                                                                                 i
       14     as to how many people wrote the code?
                                                  ?
       15           A       My impression is that a small number of
       16     people, possibly one, wrote the code, just because,
       17     in a large programming project, you have to do a --
       18     a good job of documenting what you're doing and
       19     kind of coordinating among multiple people, and the
       20     original Bitcoin code didn't have kind of any of
       21     that.       It was dense and -- and not a lot of
       22     comments, not a lot of explanation of, you know,
       23     what different pieces of the code were doing.              So
       24     that -- that gave me the impression that it was a
       25     small number of people, maybe one person.
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                                                                         Page 235
         1          Q     Okay.    Would you state that it was likely
         2    by one person?
         3                       MR. FREEDMAN:    Objection, form.
         4          A     It could be.      I mean, any piece of code,
         5    you know, there are -- it wouldn't surprise me at
         6    all if -- if different parts were written by
         7    different people.       I mean, it's -- it's a large --
         8    well, it's a moderate size code base --
         9          Q     Um-hm.
       10           A     -- but a lot of different parts.           And so
       11     it wouldn't surprise me at all if, you know, some
       12     of the networking code was written by a different
       13     person, for example.
       14           Q     Right.    So a discrete portion of it could
       15     have been written by someone else?
       16           A     Yes.
       17           Q     Okay.    But as far as the general body of
       18     it, would it be fair to say, based on actually
       19     looking at the code, that it appears that it likely
       20     was one person who did the bulk of the work?
       21           A     Probably.
       22                      MR. FREEDMAN:      Objection to form.
       23           A     It's possible it was multiple people who
       24     just had the same coding style.
       25           Q     Um-hm.
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                                                                         Page 236
         1          A     You know, certainly like if people work
         2    together at a company, there's usually a company
         3    coding style, and, you know, it is possible to
         4    create, you know, a body of code that has a very
         5    consistent coding style that's written by more than
         6    one person.
         7          Q     And if you were to do that, would the
         8    coders have to have similar skill sets as far as
         9    coding goes?
       10           A     No.
       11           Q     Okay.    So could you have a coder who only
       12     knows how to write BASIC script drafting code
       13     together with someone who's a brilliant coder?
       14           A     Yeah, I'd say that's possible.
       15           Q     And -- and how would that work?
       16           A     Well --
       17                       MR. FREEDMAN:     Objection, form.
       18           A     -- in any piece of software, there will
       19     be parts of the software that are critical --
       20           Q     Um-hm.
       21           A     -- that have to be absolutely right, and
       22     that there will be other parts of the software that
       23     just aren't critical.       For example, you know, like
       24     you might write code that prints out a help message
       25     if you get something wrong.         You know, a junior
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                                                                         Page 237
         1    programmer could very easily be in charge of doing
         2    all the help messages or something.
         3          Q     Right.    But would that junior programmer
         4    at least need to know how to code and program; that
         5    be fair?
         6          A     Sure, yes.
         7          Q     Okay.
         8          A     It's not that hard.
         9          Q     Hey, to me this is...
       10           A     I'm sure I could teach you.
       11           Q     All right.     Okay.    Now, if we could go
       12     back to -- I need to find an exhibit.            Sorry.
       13                      (Pause.)
       14           Q     All right.     If you could go back to
       15     Exhibit 59.
       16           A     (Witness complied.)
       17           Q     And if you could go to the last page, so
       18     it's 3 of 3.
       19           A     Yeah.
       20           Q     And do you see where it says, "If you ask
       21     a geek to look at some of the code I've written in
       22     the past, and look at Satoshi's early code, they
       23     can tell it's written by two different people, a
       24     different writing style," right?          You could tell.
       25     "I mean, you could tell the difference between a
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                                                                          Page 238
         1    Kurt" --
         2                       THE STENOGRAPHER:     Excuse me?
         3                       MR. KASS:   I'm sorry.
         4           Q    "You could tell the difference between a
         5    Kurt Vonnegut novel and a Jackie Collins novel, or
         6    whatever."
         7                       Do you recall stating that?
         8           A    I don't recall it, but I believe that I
         9    did.
       10            Q    Okay.    So would it be fair to state, at
       11     least based on that comment, that you believe there
       12     was one person who wrote the Bitcoin code?
       13            A    No.
       14            Q    Okay.    And why, why not?
       15            A    Again, you can have multiple people who
       16     have the same coding style.
       17            Q    Okay.    So other than -- okay.        Let me
       18     rephrase that question.
       19                       So would it be fair to state that you
       20     believed that the Bitcoin software was written in
       21     one style -- coding style?
       22            A    Yes.
       23            Q    Okay.    And that could either mean that
       24     one person wrote it, or that more than one person
       25     wrote it but that they all had the same coding
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                                                                         Page 239
         1    style?
         2          A     Yes.
         3          Q     Okay.    Got it.
         4                       Now, I want to go to when you flew to
         5    London to attend the private proof session with
         6    Dr. Wright.
         7                       You stated that you met Dr. Wright I
         8    believe it was maybe two hours after you got off
         9    the flight.     Do you recall something along those
       10     lines?
       11           A     If I recall correctly, I got a little bit
       12     of sleep at the hotel room.
       13           Q     Um-hm.
       14           A     And then I met with the, quote-unquote,
       15     money guys; and then, yeah, an hour or two after
       16     meeting with them, Craig Wright came into the room.
       17           Q     Okay.    And do you recall how much sleep
       18     you got?
       19           A     Just a couple of hours, one or two hours.
       20           Q     Okay.    So -- and you had previously
       21     testified that you were jet lagged?
       22           A     Yes.    Yes, I -- I -- I can't sleep on
       23     airplanes very well, so...
       24           Q     Okay.    And you had also testified that
       25     you don't remember a lot of specific details of
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                                                                         Page 240
         1    that day?
         2          A     Correct.     I remember a few details, but
         3    not many at all.
         4          Q     All right.     And, for example, you
         5    couldn't remember exactly how the signing took
         6    place?
         7          A     Correct.
         8          Q     And you couldn't remember how the hotel
         9    Wi-Fi was accessed?
       10           A     Correct.
       11           Q     And I'm not gonna go through every single
       12     one, but you would agree that today you -- you
       13     acknowledge that there are multiple things you
       14     could not remember about that, right?
       15           A     Yes.    Like I wouldn't be able to tell you
       16     what brand of laptop was purchased.           I just -- I
       17     don't remember.      I don't know.
       18           Q     Okay.    And is one reason for that because
       19     you were jet lagged?
       20           A     Yes, probably.      I mean, the other reason
       21     would be I -- I tend to have a bad memory for
       22     details.    Good memory for numbers --
       23           Q     Okay.
       24           A     -- but bad memory for dates, proper
       25     names, details of what happened last week, last
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                                                                         Page 241
         1    month, last year.
         2          Q     And could another reason also be the
         3    passage of time?
         4          A     Absolutely.
         5          Q     Because all this took place in 2016,
         6    correct?
         7          A     Correct.
         8          Q     So almost five years ago?
         9          A     2020.    Four years.
       10           Q     Four years.     Yeah, almost four years ago?
       11           A     Yes.
       12           Q     Now, you initially stated that you
       13     recalled some sort of conversation about Dave
       14     Kleiman?
       15           A     Yes.
       16           Q     But initially you weren't very convinced
       17     -- or very -- weren't very -- would it -- would it
       18     be fair to say that -- that you weren't very sure
       19     in your memories?
       20           A     Yes.    I certainly -- I don't remember
       21     what I heard when or what I have read in public
       22     accounts.
       23           Q     Okay.    And is it possible that what you
       24     know about Satosh -- Craig's involvement or Dave's
       25     purported involvement in -- at Satoshi came from a
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                                                                         Page 242
         1    source other than Dr. Craig Wright?
         2          A     I think that's unlikely, because I do
         3    have that memory of -- of Craig being emotional
         4    around the subject of Dave.
         5          Q     Okay.    So you have in your mind that
         6    Dr. Wright was emotional about Craig, and that
         7    happened in London, correct?
         8          A     Dr. Wright was emotional about --
         9          Q     -- Dave.
       10           A     -- Dave.
       11           Q     And it happened --
       12           A     That happened in London, yes.
       13           Q     Okay.    Around the proof session time?
       14           A     Yes.
       15           Q     Okay.    But -- and that's -- is that
       16     because -- and why -- why, in particular, does that
       17     stick out in your mind?
       18           A     I think it just sticks out because when
       19     you see somebody acting obviously emotional, sad,
       20     choked up, that's the kind of thing that just
       21     sticks in your memory.
       22           Q     Okay.
       23           A     You know, it's -- it's unusual; you don't
       24     generally see a grown man almost crying.
       25           Q     So would it be fair to state that
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                                                                         Page 243
         1    Dr. Wright was upset about the passing of Dave
         2    Kleiman?
         3          A     Yes, that -- he appeared to be, yes.
         4          Q     And he was emotional about that?
         5          A     Yes.
         6          Q     Now -- but as far as the actual -- actual
         7    substance of the conversation that Dr. Wright said
         8    about Dave Kleiman, do you recall much about that?
         9          A     No, I don't.
       10           Q     Okay.    So what you really remember most
       11     is his emotions?
       12           A     Yes.
       13           Q     And that there was a conversation about
       14     Dave Kleiman?
       15           A     A conversation.      Yeah, some discuss --
       16     some mention.
       17           Q     A mentioning?
       18           A     Yes.
       19           Q     Okay.    All right.     But -- but you can't
       20     state for certain that at that point in time he --
       21     Dr. Wright said Dave Kleiman was the third Satoshi?
       22                      MR. FREEDMAN:      Objection, form.
       23           A     I do seem to recall him saying that there
       24     were three people involved, and that Dave was one
       25     of the three people involved.
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                                                                         Page 244
         1          Q     Okay.    So now you do recall that that
         2    happened at that conversation?
         3                       MR. FREEDMAN:    Objection.
         4          A     I believe that did -- that did happen
         5    around -- yes.
         6          Q     All right.     Could it have been that
         7    somebody else had said it --
         8                       MR. FREEDMAN:    Objection.
         9          Q     -- other than Dr. Wright?
       10                      MR. FREEDMAN:      Objection.
       11           A     It's possible.
       12           Q     And is it possible -- do you recall that
       13     there was a chain of emails from somebody called
       14     "Uyen Nguyen"?
       15           A     Yes.
       16           Q     And do you recall if she talked about
       17     Dave Kleiman in those emails?
       18           A     I don't recall.      I'd have to go back and
       19     read those emails.
       20           Q     Okay.    So if I were to show you an email
       21     where she's talking about Dave's involvement in
       22     Satoshi, could -- could that be the source of your
       23     memory as to Dave's involvement?
       24           A     It's possible, but I think unlikely.
       25           Q     Okay.    Well, how about we look at the
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                                                                         Page 245
         1    emails.
         2          A     Okay.
         3          Q     It's not a memory test.
         4          A     Good, because I would fail, miserably.
         5                       (Exhibit 68 marked for
         6                       identification.)
         7          Q     Okay.    I'm going to introduce for the
         8    record -- I'm jumping one 'cause I mislabeled --
         9    we'll get back to it maybe -- but I'm introducing
       10     68.
       11                      Do you recognize this email?
       12           A     Yes.
       13           Q     Is it an email between Uyen Nguyen and
       14     yourself?
       15           A     Yes.
       16           Q     Okay.    Now, do you see in the first
       17     paragraph how she is mentioning Dave Kleiman?
       18           A     Yes.
       19           Q     And -- and Craig Wright?
       20           A     Yes.
       21           Q     And then if you go down to the paragraph
       22     that "I write this letter"; you see that?
       23           A     Yes.
       24           Q     And there it says, "Craig is one-third
       25     Satoshi"?
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                                                                         Page 246
         1          A     Yes.
         2          Q     And, "He is the only survivor now"?
         3          A     Yes.
         4          Q     All right.     And do you understand if --
         5    if Dave Kleiman was alive in 2016?
         6          A     You have told me he was not.
         7          Q     Okay.    Now, would it be fair to state
         8    that, based on this email at least, Uyen Nguyen is
         9    stating that Craig Wright was only one-third of
       10     Satoshi?
       11           A     Yes.
       12           Q     And that there were other people, I
       13     presume, with the other two-thirds?
       14           A     Yes.
       15           Q     Could this have been the source of your
       16     memory that Craig was only a third of Satoshi?
       17                       MR. FREEDMAN:     Objection, form.
       18           A     May 3rd, 2016.      I suppose it's possible.
       19           Q     Now, I think this actually might help us
       20     a lot.    Okay.
       21                       (Exhibit 69 marked for
       22                       identification.)
       23           Q     I am going to introduce Exhibit 69.
       24                       Do you recognize this document?
       25           A     Yes.
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                                                                         Page 247
         1          Q     What is it?
         2          A     This is the blog post I wrote in 2016
         3    saying that I believe Craig Wright is Satoshi
         4    Nakamoto.
         5          Q     And what month did you write it in?
         6          A     May -- I posted it on May of 2016.
         7          Q     That's fair.
         8                       And that was after you met with
         9    Dr. Wright in London, correct?
       10           A     Yes, that's correct.
       11           Q     And that -- that was a few weeks after?
       12                       MR. FREEDMAN:     Objection.
       13           A     Yes.
       14                       MR. FREEDMAN:     A month.
       15           Q     And did you do your best to make sure
       16     that what you posted on the blog was as accurate
       17     that you believed could be?
       18                       MR. FREEDMAN:     Objection, form.
       19           A     Yes.
       20           Q     Let me ask -- let me ask it another way.
       21                       Would you write something on your
       22     blog that you had doubts as to the veracity?
       23           A     No.
       24           Q     Now, could you read the first sentence of
       25     the blog?
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                                                                         Page 248
         1            A   "I believe Craig Steven Wright is the
         2    person who invented Bitcoin."
         3            Q   Now, I want you to focus on the word
         4    "the," okay?     If you had been told that Craig -- by
         5    Craig Wright that he was only one -- a third of
         6    Bitcoin, would you have written, "I believe
         7    Dr. Craig Wright is 'the' person who invented
         8    Bitcoin"?
         9            A   Maybe.
       10           Q     Okay.    Do you care to explain?
       11           A     Yeah.    Because, if I recall correctly,
       12     and it's very possible that I don't, Craig had said
       13     that he was the primary creator, the inventor of
       14     Bitcoin, the system, but he had help from other
       15     people in the beginning to actually make it happen.
       16           Q     So when did that -- if that -- if that
       17     conversation took place, which we're not sure,
       18     wouldn't it have been more accurate to state that I
       19     believe Craig Steven Wright is one of the people
       20     who invented Bitcoin?
       21           A     Inventing means you came up with the
       22     idea.
       23           Q     Okay.
       24           A     So if I had said, you know, I think it --
       25     I could say I believe Craig Wright is one of the
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                                                                         Page 249
         1    people who developed the first version of the
         2    Bitcoin software, you know, I think that's what I
         3    would have said.
         4                     But, I mean, the word "invented"
         5    means came up with the idea, sprang out of your
         6    head, and so that's what I mean there.
         7          Q      Okay.   So would it be fair to say that
         8    regardless of what conversation you had with Craig
         9    Wright in -- in London, which, you know, we
       10     understand there's some clouds surrounding it, but
       11     whatever had happened, at a minimum, you still
       12     believe that Craig Wright was the brain child, the
       13     one who came up with the idea?
       14           A     I have my doubts at this point.
       15           Q     Correct.     But at this point, I just want
       16     to know --
       17           A     When I wrote the blog post, yes, I
       18     believed that he was the primary --
       19           Q     Sure.
       20           A     -- inventor of the idea of Bitcoin.
       21           Q     Right.    And just to clarify, I'm just
       22     trying to work backwards, just to figure out what
       23     that conversation could have been.           Because we know
       24     for sure what you wrote, and we know that you were
       25     trying to do your best to make sure it was
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                                                                         Page 250
         1    accurate.    So I'm trying to figure out what the
         2    parameters of your conversation could have been.
         3            A   Okay.
         4            Q   Okay.    So would it be fair to state that
         5    Dr. Wright didn't tell you that Dave Kleiman was an
         6    inventor of Bitcoin?
         7            A   Correct.
         8            Q   Okay.    And that, at most, he had an
         9    assisting role, if that conversation happened?
       10                       MR. FREEDMAN:     Objection.
       11           A     Yes.    And I think, for example, he said
       12     the third mysterious person -- if I recall
       13     correctly --
       14           Q     Um-hm.
       15           A     -- this third mysterious person helped
       16     out with the cryptography.
       17           Q     Okay.    Do you recall, if this
       18     conversation happened, what Dave's role would have
       19     been?
       20           A     No.
       21           Q     We know it could have been something, but
       22     not the invention portion of it?
       23           A     Sure.
       24           Q     Okay.    You've been involved in Bitcoin
       25     since around 2010; is that accurate?
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                                                                          Page 251
         1          A     Yes.
         2          Q     Would it be fair to state that certain
         3    people may have very strong opinions as to how
         4    Bitcoin should look or function?
         5          A     Yes.    Yes.   Many people have many
         6    opinions on how Bitcoin should function.
         7          Q     And that some people have done pretty
         8    drastic things to try and get their way?
         9          A     That's fair to say.
       10           Q     Okay.    Do you know if people have ever
       11     been hacked in the controversy -- in the Bitcoin
       12     controversies?
       13                      MR. FREEDMAN:      Objection, form.
       14           A     I don't know if people have been hacked.
       15     I don't have any firsthand knowledge that people
       16     have been hacked.
       17           Q     Sure.    Did there come a point in time
       18     where -- are you familiar with -- I believe it's
       19     called "Bitcoin XT"?                       Relevance

       20           A     Yes.
       21           Q     Are you familiar with it?           Relevance

       22           A     Yes.    I was one of the creators of
       23     Bitcoin XT.
       24           Q     Sure.    And does Bitcoin XT currently
       25     exist?                                           Relevance
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                                                                         Page 252
         1          A     No.
                                                                    Relevance
         2          Q     What happened to Bitcoin XT?
         3          A     Bitcoin XT was a project that, if I
         4    recall correctly, Mike Hearn and I launched to try
         5    to increase the Bitcoin block size to allow more
         6    transactions on the Bitcoin network.           And it failed
         7    to get enough miner support.         The Bitcoin miners
         8    did not go along with it, and it was extremely
         9    controversial when we launched it.
       10                       There also -- it was attacked by
       11     denial-of-service attacks; and, certainly, Mike and
       12     I took a lot of heat for trying to make that change
       13     to the Bitcoin software.
       14           Q     And do you consider a denial-of-service
       15     attack a kind of hack?                             Relevance

       16           A     It's -- it's a kind of hack.
       17           Q     So would it be fair to say that a hacker
       18     worked hard to take down Bitcoin XT?               Relevance

       19           A     Yes.
       20                       MR. FREEDMAN:     Objection, form.
       21           Q     All right.     And do you recall if
       22     Satoshi's email accounts were ever hacked?
       23           A     There was an incident, which I don't have
       24     firsthand knowledge of, but I believe the GMX --
       25     the reports I saw said that the satoshin@gmx.com
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                                                                         Page 253
         1    email expired and then was taken over by somebody.
         2          Q     All right.     I want to show you
         3    Exhibit 70, and we'll see if that could refresh
         4    your recollection.
         5                       (Exhibit 70 marked for
         6                       identification.)
         7          A     Oh, I forgot about this.
         8          Q     Does it -- let's start off with,
                                                         , what is
                                                               Relevance
         9    this exhibit, do you recognize it?
       10           A     Yes.    This is an email from me to the
       11     rest of the -- the key Bitcoin developers in 2014.
       12           Q     Sure.    And does this refresh your Relevance
       13     recollection as to whether the Satoshi account was
       14     hacked?
       15           A     Yes.    Somebody did get ahold of Satoshi's
       16     email address and took over control of the old
       17     Bitcoin source repository, which, happily, we had
       18     moved away from.      So it had no practical --
       19     practical effect, but it was not a good thing to
       20     happen.
       21           Q     Okay.    So we just discussed two instances
       22     of hacking in the Bitcoin community; is that fair
       23     to say?                                      Relevance

       24           A     Ye -- hacking?
       25           Q     The denial of service and then the email.
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                                                                         Page 254
         1          A     Yeah, hacking doesn't have a clear
         2    definition; but, yes, those were attacks.
         3          Q     Okay.                                     Relevance

         4          A     Sorry.    As a security-conscious person,
         5    like, the word "hacking" is very fuzzy, and I much
         6    prefer the term "attack."
         7          Q     Fine.    Attack.    Okay.    So there were two
         8    attacks, computer cyber attacks?                   Relevance
         9          A     Yes.
       10           Q     And at least in one of those attacks,
       11     somebody got access to Satoshi's email account?
                                                                Relevance
       12           A     Yes.
       13           Q     Are you aware of any other cyber attacks
       14     or hacking, however you want to define it, related
       15     to Bitcoin?
       16           A     Yes.    There have been several over the
       17     years.
       18           Q     Do you care to list -- or please list the
       19     ones that you recall.
       20           A     Gosh.    Somebody in 2010 created a Bitcoin
       21     transaction that created 4 billion Bitcoins --
       22           Q     Um-hm.
       23           A     -- leveraged a bug in the Bitcoin
       24     software.    Satoshi responded to that by rolling
       25     back the chain, as they say, invalidating that
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                                                                         Page 255
         1    transaction and putting -- putting things back to
         2    rights and patching the code.
         3          Q     Um-hm.
         4          A     We had transaction-spamming attacks in
         5    2010, where people would send millions upon
         6    millions of tiny transactions to try to flood the
         7    Bitcoin network --
         8          Q     Um-hm.
         9          A     -- and cause everybody to do a lot of
       10     extra work validating those transactions.             We had
       11     to respond to those.
       12                      I don't know.      I'd have to go down --
       13     there's a -- there's a list on the Bitcoin wiki of
       14     all the ways, you know, the -- the core Bitcoin has
       15     either had bugs or been hacked.          And I'd have to go
       16     back and look at that if you want more, but there
       17     are -- there are a few more.
       18           Q     That's fine.      So would it be fair to say
       19     that hacking is kind of part of the Bitcoin story?
       20                      MR. FREEDMAN:      Objection, form.
       21           A     Certainly, yes, attacks and security
       22     incidents are definitely part of the -- of the
       23     Bitcoin story.
       24           Q     Now, you testified earlier on today that
       25     you had, some -- I believe it was sometime in 2010,
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                                                                         Page 256
         1    but correct me, created something called the
         2    "Bitcoin faucet"?
         3          A      Yes, I created the Bitcoin faucet as my
         4    first Bitcoin programming project.
         5          Q      Okay.    And what was the Bitcoin faucet?
         6          A      The Bitcoin faucet was a website, anybody
         7    could go and ask for some Bitcoins, and it would
         8    give you some Bitcoin.
         9          Q      Was there a limit to how many Bitcoin you
       10     could ask for?
       11           A     Yes.     You were limited to -- when I
       12     started, it was limited to five Bitcoins per person
       13     per day.
       14           Q     Okay.     And how long did the Bitcoin
       15     faucet run for?
       16           A     I'd have to go back and check when I
       17     eventually had to shut it down.          About two years
       18     maybe, a year and a half.
       19           Q     Okay.     So if you started it sometime in
       20     2010, so maybe sometime 2012 you shut it down; is
       21     that fair?
       22           A     Yeah.     And, again, I'd have to go back
       23     and check.     My memory is terrible for dates.
       24           Q     That's fine.      And when you got involved
       25     in -- in Bitcoin in 2010, did you believe -- what
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                                                                         Page 257
         1    did you believe as to its potential?
         2          A     I actually gave an Ignite talk in Amherst
         3    in, I think -- it was either late 2010 or maybe
         4    2011, where I talked about that.
         5                     I thought it had the potential to be
         6    a major world currency to compete with the dollar
         7    or the Euro or the Yen.        I thought it had a small
         8    chance of becoming the world's reserve currency,
         9    replacing the U.S. dollar, as kind of the currency
       10     used for international payments.
       11                      I didn't think that that would happen
       12     quickly, but I thought that there was a fair chance
       13     that that could happen.
       14           Q     Considering that, wouldn't it have made
       15     more sense to just hold onto your Bitcoin for when
       16     they're valuable, and then you could be immensely
       17     wealthy?
       18           A     Money is not useful unless -- money is
       19     not valuable unless people use it.
       20           Q     Um-hm.
       21           A     And it seemed to me the best way to make
       22     Bitcoin valuable was to get people using it.             So
       23     that was the purpose of the faucet, was to give
       24     people some Bitcoin so they could have some
       25     experience using it.       And I didn't give away all of
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                                                                         Page 258
         1    my Bitcoin through the Bitcoin faucet, I did hold
         2    some for myself.
         3          Q     All right.     And if I were to ask what
         4    percentage of your Bitcoin you gave away through
         5    the Bitcoin faucet, do you know that answer?
         6          A     I have -- I'm not sure I understand the
         7    question.
         8                       MR. FREEDMAN:    Object.
         9          Q     You stated you gave away Bitcoin through
       10     the Bitcoin faucet?
       11           A     Yes.
       12           Q     You also stated that you held onto some
       13     Bitcoin?
       14           A     Yes.
       15           Q     All right.     Do you know the -- the
       16     relationship between the percentages of Bitcoin
       17     that you held onto versus the amount of Bitcoin
       18     that you gave away?
       19           A     Yes.
       20           Q     And what would it be?
       21           A     I've given away more Bitcoin than I held.
       22           Q     Okay.    Do you recall ever stating that
       23     not all the people who were involved in early
       24     Bitcoin are necessarily wealthy?
       25           A     Yes, I wrote a blog post about that not
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                                                                         Page 259
         1    too long ago.
         2          Q     Okay.    Let me actually see if I can pull
         3    that up.
         4                     THE STENOGRAPHER:       Can we take a
         5    quick break?
         6                     MR. KASS:     Sure.
         7                     THE VIDEOGRAPHER:       The time is -- the
         8    time is 4:34 p.m.      We've now reached the end of
         9    Media Unit No. 3, and we're off the record.
       10                      (Off record.)
       11                      THE VIDEOGRAPHER:       The time now is
       12     4:44 p.m.    We're coming back on the record.           Now
       13     beginning Media Unit 4 in a deposition with Gavin
       14     Andresen.    We're on the record.
       15                      MR. KASS:     All right.     I'm just going
       16     to put on the record the agreement that I have with
       17     Mr. Freedman, and if it's inaccurate in any way,
       18     Mr. Freedman, please chime in, is that we will be
       19     stopping the deposition at 5:00 so Mr. Freedman can
       20     catch his flight.      We will resume the deposition
       21     tomorrow morning at 11:00, and I will have two and
       22     a half hours to continue the deposition, which will
       23     take us to 1:30, after which Mr. Freedman will have
       24     a half hour for cross or redirect.
       25                      Do you agree, Mr. Freedman?
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                                                                         Page 260
         1                       MR. FREEDMAN:    Yes, as long as you
         2    help me with the exhibits like you promised.
         3                       MR. KASS:   Yes, I did, and the
         4    witness has indicated that he is -- will show up
         5    tomorrow, and he is accommodating us and we
         6    appreciate that.
         7                       MR. FREEDMAN:    Accommodating you.
         8                       MR. KASS:   We have enough things to
         9    argue about.
       10                       All right.    Let's go.
       11                       (Exhibit 71 marked for
                                                    Hearsay (as to the document
                                                                              t
       12                       identification.)
                                                    and all questions related
       13     BY MR. KASS:                          to it), and relevance
                                                    (objections through 263:16)
       14           Q     I'm introducing Exhibit
                                              bit
                                               it -- sorry.
                                                     sorry            What
                                                                      Wh
                                                                       h t
       15     exhibit was that, 71?
       16           A     71.
       17           Q     71.    All right.    Do you recognize this
       18     document?
       19           A     Yes.    This is a blog post I wrote,
       20     apparently a while ago, in 2018.
       21           Q     But it's fresh in your mind?
       22           A     It is somewhat fresh in my mind, yeah.
       23     Actually, I wrote another blog post recently and
       24     went back and read a couple other of my older blog
       25     posts.
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               Hearsay, relevance
                                                                         Page 261
         1           Q    Okay.    Got it.    And what's the substance
         2    of this blog post?
         3           A    A lot of people assume that if you were
         4    working on Bitcoin early in 2010, 2011 that you
         5    m
              must be fantastically wealthy and have hundreds of
         6    m
              millions of dollars.
         7           Q    Um-hm.
         8           A    And this just goes through reasons why
         9    that's a bad assumption and why probably a lot of
       10     people who -- who were working on Bitcoin that
       11     early do not have as much money as people think.
       12            Q    And what are the reasons that you lay out
       13     in your blog post?
       14            A    The reasons are, you know, back then,
       15     people were very free with their Bitcoin, so they
       16     weren't worth very much.        When I funded the
       17     Bitcoins that I gave away in the Bitcoin faucet, I
       18     purchased them -- I purchased 10,000 Bitcoins for
       19     $50.
       20            Q    Okay.
       21            A    So they were worth half a penny apiece,
       22     one-half of one cent per Bitcoin, which is why I
       23     could give away five of them, because they were
       24     only worth two and a half cents.
       25            Q    Um-hm.
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              Hearsay, relevance
                               e                                         Page 262
         1          A      And which is why when the Bitcoin faucet
         2    got hacked and I lost, I think, 10 Bitcoins that
         3    were sitting in the Bitcoin faucet, I didn't cry,
         4    because at that time they were worth $20 or
         5    something.     Now those Bitcoins would be worth a
         6    hundred thousand dollars, so it would be something
         7    to cry -- cry about now.
         8                     But people confound the value of
         9    Bitcoin today with the value of Bitcoin back then.
       10     So people were doing things like buying alpaca
       11     socks from the alpaca farmer that is across the
       12     river here --
       13           Q     Um-hm.
       14           A     -- for 50 Bitcoin.       So people would spend
       15     50 Bitcoin on a pair of socks.          Which, again, at a
       16     price of $10,000 for Bitcoin, you don't want to do
       17     that math.     That's a very expensive pair of socks.
       18     But that's what people did.
       19                      I know Jeff Garzik, one of the other
       20     core developers who I worked with early on, I think
       21     he's pretty public about using -- like spending
       22     10,000 Bitcoin on -- I forget exactly what it was,
       23     but some -- he paid 10,000 Bitcoin to somebody to
       24     open source some piece of software.           Because,
       25     again, 10,000 Bitcoins back then wasn't worth that
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                  Hearsay, relevance                                     Page 263
         1    much.
         2                       And the other big reason why people
         3    don't have as much as you think is because if you
         4    did buy 10,000 Bitcoins for $50, and then Bitcoin
         5    goes up to $10 a piece, suddenly you're sitting on
         6    a hundred thousand dollars worth of capital gains,
         7    and it -- you -- probably crosses your mind that,
         8    well, maybe I'd like to spend $50,000 and pay down
         9    my mortgage or -- or spend them some other way.              So
       10     as Bitcoin rises in price, there's more and more an
       11     incentive to -- to sell those Bitcoins that you --
       12     you purchased earlier.
       13                      And so I think most people did not
       14     hold on to every Bitcoin that they had.            They
       15     either spent them or exchanged them and, you know,
       16     bought something nice for themselves.
       17           Q     Sure.    And, you know, based on your --
       18     your understanding and everything that you just
       19     stated, would -- would you believe it would be
       20     inconsistent for someone to be sitting on a large
       21     stash of -- stash of Bitcoin worth a couple of
       22     hundred million dollars but be in foreclosure and
       23     unable to pay a cell phone bill?
       24           A     Yes.
       25           Q     Okay.
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                                                                         Page 264
         1                       MR. FREEDMAN:    Objection, form.
         2          Q     Now, I -- I just want to -- one other
         3    thing that you just mentioned, I believe you
         4    mentioned that Bitcoin faucet was hacked?
         5          A     Yes, the Bitcoin faucet was hacked.
         6          Q     So is that another instance of hacking?
         7          A     Sure.    Yes.
         8          Q     And that happened to you personally?
         9          A     That happened to me personally, yes.
       10     The -- well, and, technically, it was the web
       11     hosting company that hosted the Bitcoin faucet was
       12     hacked, and so the Bitcoin faucet, plus a couple
       13     other Bitcoin businesses, were hacked.            And,
       14     happily, the Bitcoin faucet didn't have many
       15     Bitcoins, so I didn't lose much, but one of the
       16     others did, and it did lose a significant amount of
       17     Bitcoins out of their wallet.
       18           Q     All right.      So that's another instance of
       19     hacking.    So, actually, we know at least of -- of
       20     two people that were attacked in that hack?
       21           A     Yes.
       22           Q     Okay.    Now, I believe you testified
       23     earlier that early on Bitcoin mining was necessary
       24     to maintain the -- the blockchain network, the
       25     Bitcoin network?
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                                                                         Page 265
         1            A      Yes, it still is.
         2            Q      Okay.   And if somebody was participating
         3    in mining because they wanted to keep the network
         4    alive, would kind of a by-product of it be that
         5    they would -- would receive Bitcoin?
         6            A      Yes, that's correct.
         7            Q      And not necessarily were they actually
         8    mining to hold those Bitcoin?
         9            A      Correct.    If there's --
       10           Q        Or -- or -- or for the value, whatever
       11     value it was in those Bitcoins, correct?
       12           A        Sure.   Yes.
       13           Q        Okay.   So if -- and do you have an
       14     understanding as to what the value of Bitcoin was
       15     in 2010?
       16           A        At the beginning of 2010, Bitcoin had no
       17     value because there was no way to sell it.
       18           Q        How about around August of 2010?
       19           A        I'd have to go back and look.       And,
       20     again, I know May of 2010 I purchased Bitcoins for
       21     Bitcoin faucet at about a half a penny apiece.              By
       22     August, I don't think it had yet reached a dollar,
       23     but I don't know.         I'd have to go back and -- and
       24     look.       I don't -- I don't remember.
       25           Q        Okay.   So if somebody were -- were mining
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         1    primarily to keep the network alive, and Bitcoin
         2    weren't valued very much, would you be surprised if
         3    that person would put the Bitcoin in an encrypted
         4    drive and just kind of forget about it for the time
         5    being?
         6            A   No, that would not surprise me, and I
         7    think I've heard stories of people who mined
         8    Bitcoin for a little while and then just turned off
         9    their machines and reformatted their hard drive and
       10     the Bitcoins are lost forever.
       11           Q     Okay.    Are you familiar with what is
       12     called the "genesis" block?
       13           A     Yes.
       14           Q     What's the genesis block?
       15           A     The genesis block is basically a piece of
       16     data that's hard-coded, so it's in the software
       17     code, that is kind of the beginning of this chain
       18     of what are called "blocks."         So chains of -- of
       19     Bitcoin containing transaction -- Bitcoin block
       20     contains transactions, and the genesis block is --
       21     is the very first block that everything chains
       22     from.
       23           Q     So if somebody were to say that the
       24     genesis block was mined, would that be an accurate
       25     description?
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                                                                         Page 267
         1          A     No.   No, the genesis block was created.
         2    It didn't have to be mined in the same way --
         3          Q     Okay.
         4          A     -- as the rest of the blocks.
         5          Q     And if somebody made that statement,
         6    would you believe that person has a thorough
         7    understanding of how the Bitcoin network works?
         8          A     Yeah, I mean, the -- you do have to do
         9    some work to create a -- a genesis block.             So, you
       10     know, I would -- I would -- yes, I think you could
       11     say it was mined when it wasn't actually mined in
       12     the traditional way, and it -- you know, it would
       13     be okay.    It's a fuzzy enough idea of, you know,
       14     what mining is.
       15           Q     Well, what if somebody were to say that
       16     it was mined in the traditional way; would you
       17     consider that person knowledgeable as to the
       18     Bitcoin network?
       19           A     Well, it's tricky.       I mean, I -- I mined
       20     the genesis block -- or I created the genesis block
       21     for the test network, and it is a very similar
       22     process to traditional, you know, Bitcoin mining.
       23     So, I mean, there's enough similarity there that I
       24     -- you know, I think it is possible to -- to -- to
       25     say that.    And you're being a little bit fuzzy,
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                                                                         Page 268
         1    but, yeah, I think it's -- it's -- you could say
         2    that and still be an expert in -- in Bitcoin.
         3          Q     And how are the two -- how -- how was the
         4    creation of the genesis block different than the
         5    mining of a non-genesis block?
         6          A     It's just the -- the -- the -- I mean,
         7    the process for creating it requires some technical
         8    ability.    So, you know, to be -- to mine a regular
         9    Bitcoin block, all you needed to do was download
       10     the software and there was a menu item that said
       11     "start mining," and that's all you had to do.
       12           Q     Okay.
       13           A     To actually create a new genesis block,
       14     you know, when I created the test network, I
       15     actually had to write some code that would arrange
       16     things in the right way and then do some
       17     proof-of-work calculations to create appropriate
       18     proof of work for a new genesis block.
       19                      And so, you know, it's just -- it
       20     takes more -- at that time it took more technical
       21     skill to create a genesis block, and it was kind of
       22     not built into the software as it -- as it was.
       23           Q     All right.     When you say "hard-coded,"
       24     was it just kind of -- you did your stuff on your
       25     computer and then you kind of, like, inserted it,
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                                                                         Page 269
         1    is that --
         2          A     Yes.
         3          Q     Okay.    And -- but it didn't involve,
         4    like, a network or other computers and mining?
         5          A     No, it's all on a single computer.
         6          Q     And it's not passing around --
         7          A     No.     No, everything's done kind of
         8    privately on your own computer.
         9          Q     Okay.    In -- in comparison with -- well,
       10     in contrast to regular mining, where it's generally
       11     a collaborative effort?
       12           A     Yes, you have to build on other people's
       13     blocks or your block will be rejected.
       14           Q     Okay.    So there are, you know, some
       15     distinctions between the genesis block being
       16     hard-coded versus a regular?
       17           A     Yes.
       18           Q     Now, are you familiar with the term
       19     "Bitcoin private key"?
       20           A     Yes.
       21                       THE STENOGRAPHER:      Private key?
       22                       MR. KASS:    Bitcoin private key, yes.
       23           Q     And the term "Bitcoin public key"?
       24           A     Yes.
       25           Q     What is a "Bitcoin private key"?
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                                                                         Page 270
         1          A     A Bitcoin private key is a -- is a very
         2    long number that -- that you keep private as --
         3    as it -- as it says.       And, basically, private keys
         4    correspond to Bitcoins.        So if you own a private
         5    key, you have the ability to transfer the Bitcoins.
         6    It's -- it's -- is that good enough?
         7          Q     That's good enough.        I know it's a very
         8    touchy subject, but for my purposes, it's enough.
         9                       Now, if I have a private key -- what
       10     you define as a private key, which is a -- assume
       11     -- let's assume the definition of a private key --
       12     well, no, I don't -- I don't want to give
       13     you anything -- as you understand a private key to
       14     be, okay?
       15                      Now, if I have a private key and I
       16     share it with you -- correct?
       17           A     Yes.
       18           Q     -- what is that called now?
       19                      MR. FREEDMAN:      Objection, form.
       20           A     Well, I mean, it's still a private key.
       21           Q     Um-hm.
       22           A     But multiple people now can sign messages
       23     with it or can -- if there are Bitcoin associated
       24     with that private key, could spend the Bitcoin.
       25           Q     So would it be fair to say that whether
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                                                                         Page 271
         1    something is a private key does not depend on
         2    whether I actually keep it private?
         3          A      Yes.
         4          Q      Okay.
         5          A      Best practice is you should keep it
         6    private if you want control.
         7          Q      Okay.    And if somebody were to state that
         8    once a private key is shared, it no longer is a
         9    private key, would you consider that an accurate
       10     statement?
       11           A     No.     I think it still qualifies as a --
       12     as a private key.
       13           Q     Okay.     Would you consider that person
       14     very knowledgeable in Bitcoin terminology?
       15                       MR. FREEDMAN:     Objection, form.
       16           A     I -- I think possibly.        I mean, you know,
       17     your definition of private key may vary from the
       18     commonly held idea of what a private key is.
       19           Q     All right.     So you would at least agree
       20     that person's definition is not consistent with
       21     what the general Bitcoin community believes?
       22           A     I think that would be true, although I
       23     haven't polled the Bitcoin community on exactly,
       24     you know, Do you call a private key something else
       25     if it's been revealed to multiple people?
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                                                                         Page 272
         1                     MR. FREEDMAN:      Objection.
         2          Q     Based on your --
         3                     MR. FREEDMAN:      Objection.
         4          Q     Based on your understanding of your
         5    involvement of the Bitcoin -- in the Bitcoin
         6    community, it's a basic general understanding?
         7          A     Yes, I mean -- yes.
         8                     MR. FREEDMAN:      It's almost 5:00.       So
         9    do you want to stop now?
       10                      MR. KASS:     Want to stop now?
       11                      MR. FREEDMAN:      Yeah.
       12                      MR. KASS:     Okay.    So we're going to
       13     go off the record now.        We will resume tomorrow at
       14     11:00 a.m. here.
       15                      THE WITNESS:      Oh, 11's my favorite
       16     number.
       17                      MR. KASS:     Oh, yes, there we go.
       18                      THE WITNESS:      Perfect.
       19                      THE VIDEOGRAPHER:       I'm going to read
       20     off the record and close out for today.
       21                      MR. KASS:     Okay.
       22                      THE VIDEOGRAPHER:       The time now is
       23     5:00 p.m., and we have reached the end of today's
       24     deposition and Media Unit No. 4.          We are off the
       25     record, and this deposition will continue tomorrow.
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                                                                         Page 273
         1    We're off the record.
         2                     (Off record.)
         3
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                                                                         Page 274
         1                      C E R T I F I C A T E
         2    COMMONWEALTH OF MASSACHUSETTS
         3    BRISTOL, SS
         4                     I, Lori-Ann London, Registered
         5    Professional Reporter and Notary Public in and for
         6    the Commonwealth of Massachusetts, do hereby
         7    certify:
         8               That, GAVIN A. ANDRESEN, the witness whose
         9    deposition is hereinbefore set forth, was duly
       10     sworn by me and that such deposition is a true
       11     record of the testimony given by the witness to the
       12     best of my knowledge, skill, and ability.
       13                I further certify that I am neither
       14     related to, nor employed by, any of the parties in
       15     or counsel to this action, nor am I financially
       16     interested in the outcome of this action.
       17                IN WITNESS WHEREOF, I have hereunto set my
       18     hand and seal of office this 3rd day of March 2020.
       19
       20
       21
       22                                      _______________________
       23                                      Lori-Ann London, RPR
       24                                      Notary Public
       25     My commission expires: 5/29/2026
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                                                                         Page 278


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   Case No. 9:18-cv-80176-BB/BR
              -------------------------------x
              IRA KLEIMAN, as the Personal
              Representative of the Estate
              of DAVID KLEIMAN, and W&K
              Info Defense Research, LLC,
                          Plaintiffs,
                 V.
              CRAIG WRIGHT,
                          Defendant.
              -------------------------------x


                         C O N F I D E N T I A L


                   CONTINUED VIDEOTAPED DEPOSITION of
                               GAVIN ANDRESEN
                         Hadley, Massachusetts
      Defendant's Designations
      Plaintiffs' Objections
      Plaintiffs' Counters

              Reporter: MaryJo O'Connor, RDR, RMR
              Job No: 559472
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                                                                         Page 279
         1
         2
         3
         4
         5               Thursday, February 27, 2020
         6                           11:13 a.m.
         7
         8
         9                CONTINUED VIDEOTAPED DEPOSITION OF
       10     GAVIN ANDRESEN, held at Courtyard Hadley
       11     Amherst, 423 Russell Street, Hadley,
       12     Massachusetts, pursuant to notice, before
       13     MaryJo O'Connor, Registered Diplomat
       14     Reporter, Registered Merit Reporter, and
       15     Notary Public in and for the Commonwealth of
       16     Massachusetts.
       17
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       25
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                                                                         Page 280
         1    A P P E A R A N C E S
         2
         3    ON BEHALF OF THE PLAINTIFFS:
         4    ROCHE CYRULNIK FREEDMAN
         5       (Via Teleconference)
         6       Southeast Financial Center
         7       200 S. Biscayne Boulevard
         8       Suite 5500
         9       Miami, Florida 33131
       10        VELVEL FREEDMAN, ESQ.
       11        vel@rcfllp.com
       12
       13
       14     ON BEHALF OF THE DEFENDANT:
       15        RIVERO MESTRE LLP
       16        2525 Ponce de Leon Boulevard, Suite 1000
       17        Miami, Florida 33134
       18        (305) 445-2500
       19        BY:      ZALMAN KASS, ESQ.
       20                 zkass@riveromestre.com
       21
       22
       23     ALSO PRESENT:
       24        Ira Kleiman
       25        Mati Kiin - Video Technician
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                                                                           Page 281
         1    -------------------I N D E X------------------
         2
                EXAMINATION of GAVIN ANDRESEN                       PAGE
         3
                    By Mr. Kass                                      283
         4          By Mr. Freedman                                  355
                    By Mr. Kass                                      375
         5          By Mr. Freedman                                  384
                    By Mr. Kass                                      386
         6
         7
         8
         9      -----------------EXHIBITS-------------------
       10       ANDRESEN EXHIBIT                                  PAGE
       11       Exhibit 72     E-mail, Bates                         293
       12                      GAVIN_00001821
       13       Exhibit 73     E-mail, Bates                         294
       14                      GAVIN_00001759 to
       15                      GAVIN_00001760
       16       Exhibit 74     E-mail, Bates                         351
       17                      GAVIN_00000023
       18       Exhibit 75     Document entitled                     351
       19                      "Non-Disclosure Agreement,"
       20                      Bates GAVIN_00000024 to
       21                      GAVIN_00000026
       22
       23
       24
       25
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                                                                         Page 282
         1                      P R O C E E D I N G S
         2                      VIDEO TECHNICIAN:       Good morning.
         3              We are now on the record.         This begins
         4              media unit number one in the continuing
         5              deposition of Gavin Andresen in the
         6              matter of the Estate of David Kleiman,
         7              et al., versus Craig Wright.
         8                      This matter is held in the
         9              United States District Court in the
       10               State of Florida.      Today is February 27,
       11               2020, and the time is 11:13 a.m.
       12                       Our deposition is being taken at
       13               the Courtyard by Marriott Hadley-Amherst
       14               located at 423 Russell Street, Hadley,
       15               Massachusetts 01035, and at the request
       16               of the firm Rivero Mestre & Castro.
       17                       My name is Mati Kiin.        I'm the
       18               videographer representing Magna Legal
       19               Services, and our court reporter today
       20               is MaryJo O'Connor, also representing
       21               Magna Legal Services.
       22                       I will now ask counsel to
       23               introduce themselves and their
       24               affiliations, and we will get started.
       25                       MR. KASS:     Zalman Kass for
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                                                                         Page 283
         1              Dr. Craig Wright.
         2                      MR. FREEDMAN:       Velvel Freedman for
         3              the Plaintiffs.
         4                      MR. KASS:       Is there anybody else
         5              on the phone?
         6                      MR. KLEIMAN:       Ira Kleiman,
         7              Plaintiffs.
         8                      VIDEO TECHNICIAN:        I'll ask the
         9              court reporter to please swear in our
       10               witness, and we can proceed.
       11                          *        *        *
       12
       13                       GAVIN ANDRESEN, Continued
       14       having been satisfactorily identified by a
       15       Massachusetts drivers license and duly sworn
       16       by the Notary Public, was examined and
       17       testified as follows:
       18       EXAMINATION
       19       BY MR. KASS:
       20               Q.      Good morning, Mr. Andresen.          Thank
       21       you for coming back.        We appreciate that.
       22                       Just some preliminary matters --
       23                       MR. FREEDMAN:      Zalman, I'm sorry,
       24               I can't -- I can't really hear you.           Can
       25               you either project a little or get a
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                                                                          Page 284
         1              little closer to the phone?
         2                      MR. KASS:     One second.      Hang on.
         3              We're going to do our best.
         4      BY MR. KASS:
         5              Q.      All right.     Mr. Andresen, since
         6      you left the deposition yesterday and came to
         7      the deposition today, did you speak to anybody
         8      about either yesterday's deposition or today's
         9      deposition?
       10               A.      No.
       11               Q.      Okay.    Now, yesterday you
       12       testified that a lot of people have claimed to
       13       you that they are Satoshi, correct?
       14               A.      Correct.
       15               Q.      Did you ever attend proof sessions
       16       with any of those other Satoshis?
       17               A.      No.
       18               Q.      Did you ever fly anywhere to meet
       19       any of those other Satoshis?
       20               A.      No.
       21               Q.      So is it fair to say that when you
       22       did fly to London to meet Dr. Craig Wright, you
       23       were pretty convinced that he could be Satoshi?
       24                       MR. FREEDMAN:      Objection.
       25               A.      Yes.
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                                                                         Page 285
         1               Q.     And that was based on the e-mail
         2      conversations that you had with him?
         3               A.     Yes.
         4               Q.     Which involved both his technical
         5      knowledge, his discussions as to Bitcoin, and
         6      his writing style?
         7               A.     Yes.
         8                      MR. FREEDMAN:      Object to the form.
         9               Q.     Do you recall being asked
       10       yesterday whether -- if you are aware if the
       11       Court found that Craig committed perjury under
       12       oath?
       13               A.      Am I aware?
       14               Q.      Do you recall being asked that
       15       question?
       16               A.      I do recall being asked that
       17       question, yes.
       18               Q.      All right.     And do you recall
       19       being asked a question whether Dr. Wright
       20       submitted forged documents to the Court?
       21               A.      Yes, I do.
       22               Q.      Are you aware that those findings,
       23       or that order, was later overturned by a higher
       24       court?
       25               A.      No.
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                                                                             Page 286
         1                      MR. FREEDMAN:        Objection.
         2              Mischaracterizes the order.
         3                      MR. KASS:     No, keep it to form,
         4              please.
         5                      MR. FREEDMAN:        No, no.    You're
         6              totally mischaracterizing.
         7                      MR. KASS:     Doesn't matter.         Come
         8              on, Vel, you were doing a lot of that
         9              yesterday.
       10                       MR. FREEDMAN:      No, not once.
       11               Zalman, you know very well --
       12                       MR. KASS:     Vel.
       13                       MR. FREEDMAN:      -- that it doesn't
       14               (inaudible) --
       15                       MR. KASS:     Vel.    Vel.     Vel.
       16               That's not how this works.         I get to ask
       17               the questions.      You get to object to
       18               form.   Please keep it to that.
       19       BY MR. KASS:
       20               Q.      How would you characterize
       21       Dr. Craig -- how would you characterize the
       22       Bitcoin community's view of Dr. Craig Wright?
       23               A.      I think, in general, most of the
       24       Bitcoin community --
       25                       MR. FREEDMAN:      Objection to form.
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                                                                         Page 287
         1              A.       -- dislikes him.      They think he's
         2      a liar.      They don't trust him.      They don't
         3      think he is Satoshi.
         4              Q.       Would you say that Dr. Craig
         5      Wright is a controversial figure in the Bitcoin
         6      community?
         7              A.       Yes.   Definitely.
         8                       MR. FREEDMAN:     Object to the form.
         9              Q.       And would it be fair to say that
       10       there are many people who don't like Dr. Craig
       11       Wright --
       12               A.      Yes.
       13               Q.      -- in the Bitcoin community?
       14               A.      Yes.
       15               Q.      And we previously talked about how
       16       hacking is part of the Bitcoin community.             It's
       17       something that's not uncommon.                 Leading
       18               A.      Yes.
       19                       MR. FREEDMAN:      Objection.
       20               Q.      Would you be surprised if
                                                                Relevance,
       21       Dr. Wright was hacked?                          foundation
       22                       MR. FREEDMAN:      Objection.
       23               A.      No.
       24               Q.      Now, yesterday you spoke about
       25       somebody being a Bitcoin expert?
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                                                                         Page 288
         1                      MR. FREEDMAN:      Objection.
         2              A.      I believe you.
         3              Q.      Do you recall that?
         4              A.      I don't recall talking about a
         5      specific person being a Bitcoin expert.
         6              Q.      Do you recall talking about
         7      Andreas Antonopoulos?
         8              A.      Yes.
         9              Q.      Do you recall referring to him as
       10       a Bitcoin expert?
       11               A.      I probably did.
       12               Q.      What are your criteria for someone
       13       to classify somebody a Bitcoin expert?
       14               A.      I think a Bitcoin expert has a
       15       very good understanding of the technical
       16       details of how Bitcoin works.          I don't think
       17       you need to know all of the details.
       18               Q.      Okay.
       19               A.      But to have a good understanding
       20       of kind of the Bitcoin system and how its
       21       pieces fit together.
       22               Q.      Would it also include how the
       23       system is used?
       24               A.      I think you can be a Bitcoin
       25       expert without being an expert in all of the
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                                                                         Page 289
         1      different ways people use Bitcoin.           I mean,
         2      there are lots of different pieces of Bitcoin.
         3      There is legal.        You could be an expert on, you
         4      know, how Bitcoin interacts with the legal
         5      system.      That doesn't necessarily make you the
         6      kind of Bitcoin expert that I think of when I
         7      think of a Bitcoin expert.         And same thing for
         8      if you think of, you know, how are people using
         9      Bitcoin for cross-border transactions.            You
       10       might be that kind of expert.
       11                       But when I say Bitcoin expert, I'm
       12       talking mostly about geeks like me and having a
       13       technical understanding of Bitcoin.
       14               Q.      How would you describe
       15       Dr. Wright's technical understanding of
       16       Bitcoin?
       17               A.      Dr. Wright seems to have a very
       18       good understanding of Bitcoin.
       19               Q.      Would you consider him a Bitcoin
       20       expert?
       21               A.      Yes.    I think I would.
       22               Q.      What coding language was original
       23       Bitcoin software coded in?
       24               A.      C++.
       25               Q.      So whoever Satoshi is, what coding
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                                                                         Page 290
         1      language would they necessarily have to know
         2      how to code in?                      Improper expert opinion
         3              A.      C++.
         4              Q.      Do you recall yesterday the term
         5      money men being thrown around?
         6              A.      I do, yes.
         7                      MR. FREEDMAN:      Objection.
         8              Q.      Do you recall who those money men
         9      are?
       10                       MR. FREEDMAN:      You just missed an
       11               objection, Madam Court Reporter.          Sorry.
       12               Q.      I believe I have a standing
       13       question, which is:       Do you recall who they
       14       are?
       15               A.      I think their names were Stefan
       16       and Rob.     And I think there was one other
       17       person, and I don't recall who had what role.
       18               Q.      Okay.    And how did they get that
       19       moniker, money men?
       20               A.      One or more of them were presented
       21       to me as owning an investment firm or a venture
       22       capital firm.
       23               Q.      And do you know specifically what
       24       their relationship was with Dr. Craig Wright?
       25               A.      I'm trying to remember what I was
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                                                                         Page 291
         1      told.    I believe I was told that they were --
         2      they had some sort of business arrangement, and
         3      I don't know the details of that business
         4      arrangement.
         5              Q.      Okay.    So would it be more
         6      accurate to call them businessmen?
         7              A.      Sure.
         8              Q.      All right.     Do you have any
         9      independent knowledge as to how much money they
       10       have?
       11               A.      I don't have any independent
       12       knowledge as to how much money they have.
       13               Q.      So it would be fair to say that
       14       you just know there was some sort of business
       15       relationship with at least one or more of them
       16       and Dr. Wright?
       17               A.      Yes.    That's what I was told.
       18               Q.      Okay.    Do you know anything about
       19       Dave Kleiman's coding abilities?
       20               A.      No.
       21               Q.      Do you know anything about his
       22       programing abilities?
       23               A.      No.
       24               Q.      Do you have any personal knowledge
       25       as to whether Dave was Satoshi?
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                                                                         Page 292
         1              A.      No.
         2              Q.      Do you have any personal knowledge
         3      as to whether Dave worked on the Bitcoin
         4      software?
         5              A.      No.
         6                      MR. FREEDMAN:      Objection to form.
         7              Q.      Now, we discussed yesterday that
         8      some things could impact the ability to recall
         9      certain events, correct?
       10               A.      Yes.
       11               Q.      And one thing was the passage of
       12       time?
       13               A.      Yes.
       14               Q.      And to being jet lagged?
       15               A.      Yes.
       16               Q.      Would you agree to me -- agree
       17       with me, though, that if something's
       18       memorialized close to the actual event that
       19       it's more likely that is accurate than possibly
       20       a later memory?
       21                       And I can rephrase that if that's
       22       a confusing question.
       23                       MR. FREEDMAN:      Objection.
       24               A.      No, I agree with that.
       25                       MR. KASS:     I'm going to introduce
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         1              as Exhibit 72.      And, Vel, this is the
         2              one that ends -- it's a GAVIN, and it
         3              ends in 1821.
         4                      MR. FREEDMAN:      That's a new
         5              exhibit?
         6                      MR. KASS:     Yes.
         7                      MR. FREEDMAN:      It's one of the
         8              ones you sent me?
         9                      MR. KASS:     Correct.
       10                       (Document marked for
       11               identification as Andresen Exhibit 72)
       12               Q.      Mr. Andresen, do you recognize
       13       this document?
       14               A.      Yes.
       15               Q.      What is it?
       16               A.      It's an e-mail I received May 8,
       17       2016, from somebody saying that they are Ira
       18       Kleiman.
       19               Q.      Okay.    And what's the e-mail
       20       address?     Or let me rephrase that.
       21                       So you see under the From, it says
       22       something?
       23               A.      From says "Ira Private,
       24       iradavid2009@gmail.com.
       25               Q.      Now, that "private" part, do you
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                                                                         Page 294
         1      know how that got there?
         2              A.      Well, you can you choose any user
         3      name you like.
         4              Q.      So is that something you chose or
         5      he chose?
         6              A.      That's something that he would
         7      have chosen.
         8              Q.      Okay.    All right.     And in this
         9      e-mail he's reaching out to you, and he says
       10       he's David's brother, and he has some
       11       questions, right?
       12               A.      Yes.
       13                       MR. FREEDMAN:      Objection.
       14               Q.      We're going to move on to another
       15       document, which I am going to mark as
       16       Exhibit 73.
       17                       (Document marked for
       18               identification as Andresen Exhibit 73)
       19               Q.      Do you recognize this document?
       20                       MR. FREEDMAN:      Sorry, Zalman, this
       21               is Bates 1759.
       22               A.      Yes.    I recognize this document.
       23               Q.      And what is it?
       24               A.      This is another e-mail from Ira to
       25       me.
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                                                                         Page 295
         1              Q.      Okay.    And embedded halfway
         2      through this document, do you see an e-mail
         3      from yourself to Ira?
         4              A.      Yes, I do.
         5              Q.      Okay.    And let's go to the bottom
         6      of the page, and under the e-mail that's from
         7      Ira to you and is dated May 10th and the time
         8      is 8:18, do you see the last paragraph in that
         9      e-mail starts with the "If"?
       10               A.      Yes.
       11               Q.      Are you able to read that
       12       paragraph.
       13               A.      Sure.    "If you are unable to speak
       14       about Craig specifically, I understand.             I just
       15       wanted to know if you knew my brother or have
       16       any knowledge about him being part of a team
       17       that created Bitcoin."
       18               Q.      Okay.    And this -- again, this
       19       e-mail is in May 10.        And approximately how
       20       long after that meeting in London with
       21       Dr. Craig Wright?
       22               A.      Let's see.     The meeting was April
       23       7th?    6th?   So approximately a month.
       24               Q.      So this is about a month after,
       25       okay.
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         1                      And to the extent you had any
         2      conversations with Craig Wright about Dave's
         3      role as part of Satoshi, it happened in London.
         4      As far as your recollection.
         5              A.      As far as my recollection, yes.
         6              Q.      Now, let's look at your response,
         7      which is at 8:42.       So shortly after.
         8                      Could you read your response?
         9              A.      "Craig said that he worked with
       10       David, and I don't have any reason to think
       11       he's lying about that.        Beyond that" -- do you
       12       want me to go on?
       13               Q.      Yes, please.
       14               A.      "Beyond that, I don't know much -
       15       and, frankly, I'm happy to let the
       16       investigative reporters or amateur detectives
       17       try to piece together the truth."
       18               Q.      So is it fair to say that Ira
       19       specifically asked you whether you knew if
       20       David had anything to do with Bitcoin and your
       21       response is, I don't know?
       22               A.      That's correct.
       23               Q.      So based on that, is it also fair
       24       to say that it's not very likely that you were
       25       informed him being part of Satoshi when you met
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                                                                         Page 297
         1      with Dr. Wright?
         2                      MR. FREEDMAN:      Objection.
         3               Q.     Well, it doesn't make it less
         4      likely.
         5               A.     Yes, it does make it less likely.
         6               Q.     Okay.    Other than these two
         7      e-mails, and for that it's going to be Exhibit
         8      72 and 73 with Ira Kleiman, did you have any
         9      other contact with Ira Kleiman?
       10               A.      I don't recall.
       11               Q.      Did you ever speak to him over the
       12       phone?
       13               A.      No.
       14               Q.      Now, I believe you testified
       15       yesterday that you spent a portion of 2010
       16       working with Satoshi on the Bitcoin code.
       17               A.      Yes.
       18               Q.      And do you consider your work that
       19       you did on that code -- strike that question.
       20                       How important was the work that
       21       you did on the Bitcoin code?
       22               A.      How important was the work I did
       23       on the Bitcoin code.        On a scale of 1 to 10?
       24               Q.      Well, let me ask you like this.
       25       Had you not done that work with the Bitcoin, do
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         1      you believe that the Bitcoin code would have
         2      functioned and taken off?
         3              A.      Ah -- ah -- it's hard to know.            I
         4      like to think that I helped it take off faster.
         5      I think it probably would have taken off even
         6      without my contribution, because I think
         7      somebody else would have stepped up and
         8      nurtured the code.
         9              Q.      So is it fair to say that another
       10       person was necessary, it may just not have been
       11       you.
       12               A.      Yes, I think that would be fair to
       13       say.
       14               Q.      Now, after the fact, would you
       15       consider the work that you did instrumental in
       16       helping the Bitcoin code take off?
       17               A.      Yes.    I think actually some things
       18       that I did that weren't working on the Bitcoin
       19       code were probably more instrumental.            Things
       20       like, you know, talking to reporters and being
       21       the public face of Bitcoin.          I think that might
       22       have actually had a bigger impact than the code
       23       that I contributed.
       24               Q.      So would it be fair to say that
       25       you did two things:       There is the coding, and
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                                                                         Page 299
         1      then the sort of the Bitcoin promoting?
         2              A.      Yes.
         3              Q.      Do you feel that Satoshi owes you
         4      anything for those two things that you did?
         5              A.      No.
         6                      MR. FREEDMAN:      Objection.
         7              Q.      Why?
         8              A.      I did those things voluntarily.           I
         9      didn't do them in expectation that any
       10       particular person would give me something.             And
       11       I have certainly been, since Bitcoin has become
       12       a success, I've been well-compensated just by
       13       the fact that I obtained some Bitcoin in 2010
       14       and now they're worth a lot of money.
       15                       So, you know, working on -- that's
       16       part of the beauty of the Bitcoin system is the
       17       incentives are there for people to want to make
       18       it a success.      Once you have some Bitcoin, you
       19       want to do what you can to make it more
       20       valuable.     So you want the system to succeed.
       21               Q.      Is it common -- and is -- is it
       22       common or -- yeah.       Is it common on certain
       23       types of software where people contribute and
       24       do work but not necessarily are they expecting
       25       to be financially compensated?

                Relevance
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         1               A.     That has become more common as
         2      open-source software has become a popular means
         3      of doing software around the world.
         4               Q.     And was Bitcoin released as
         5      open-source software?
         6               A.     Yes.    Bitcoin was open-source
         7      software from the start.
         8               Q.     Okay.    Do you recall testifying
         9      yesterday that you didn't send any money to
       10       Satoshi?
       11               A.      Yes, I do.
       12               Q.      Okay.    I just wanted to know if
       13       you could help clear up something for me,
       14       because later on we looked at an e-mail where
       15       it shows that you sent some Bitcoin to Block 9
       16       or Block 10.
       17               A.      Yes.
       18               Q.      And I believe you also testified
       19       that that block was known to be Satoshi's
       20       block?
       21               A.      Yes.
       22               Q.      How do you reconcile those
       23       statements?
       24               A.      The -- in my mind, the pseudonym
       25       Satoshi is the person I was communicating with
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                                                                         Page 301
         1      in 2010 and 2011.
         2              Q.      Okay.
         3              A.      So when I was asked the question
         4      had I sent Bitcoin to Satoshi, my mind was
         5      saying the Satoshi of 2010 and 2011.            And so
         6      the transaction that I made later, I think of
         7      as a transaction to Craig Wright, not the
         8      pseudonym Satoshi.
         9                      So I was thinking of during my
       10       work with Satoshi, did we ever exchange
       11       Bitcoin.
       12               Q.      Okay.    So is it fair to say you
       13       were focusing more on the person or the
       14       pseudonym, not necessarily the account?
       15               A.      Yes.
       16               Q.      And I appreciate that.         Thank you
       17       for clarifying that.
       18                       Do you recall testifying yesterday
       19       that you read an article I believe by someone,
       20       his last name is Lerner, about some Patoshi
       21       Pattern?
       22               A.      Yes.
       23               Q.      Okay.    And that article has
       24       something to do with nonce values.
       25               A.      Yes.
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                                                                         Page 302
         1              Q.      Other than reading that article,
         2      do you have any personal knowledge about the
         3      analysis done in that article?
         4              A.      No.
         5              Q.      Now, I'm going to turn to what is
         6      previously marked as number 2.          So going all
         7      the way down to the bottom of the pile.
         8                      MR. KASS:     And, Vel, just to make
         9              it easier, it's GAVIN_1296.
       10                       MR. FREEDMAN:       Is that a new
       11               document?
       12                       MR. KASS:     No.    This was
       13               introduced yesterday by you as
       14               Exhibit 2.
       15                       MR. FREEDMAN:       Wait, hold on.
       16               GAVIN_1296?
       17                       MR. KASS:     Yes.
       18                       MR. FREEDMAN:       One second please.
       19                       MR. KASS:     I could describe it for
       20               you, but I just don't want to coach.
       21                       MR. FREEDMAN:       I got it.
       22                       MR. KASS:     Okay.
       23       BY MR. KASS:
       24               Q.      Do you recall this document?
       25               A.      Yes.
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                                                                         Page 303
         1              Q.      Do you recall testifying about it
         2      yesterday?
         3              A.      Yes.
         4              Q.      And do you recall being asked
         5      whether Dr. Wright had applied for a job at the
         6      foundation where you were working?
         7              A.      Yes.
         8              Q.      Now, I would like you to actually
         9      look at the e-mail from Dr. Wright, and could
       10       you point to the portion where he says he's
       11       applying for a job?
       12               A.      He does not say that he's applying
       13       for a job.
       14               Q.      And, in fact, does he say, "I do
       15       not want to be paid"?
       16               A.      He does say "I do not want to be
       17       paid," yes.
       18               Q.      Does it appear more that he's just
       19       asking to collaborate with you?
       20               A.      Uh --
       21               Q.      When you received this, what did
       22       you interpret it as?
       23               A.      When I received --
       24                       MR. FREEDMAN:      Objection.
       25               A.      I received this from the secretary
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                                                                          Page 304
         1      of the Bitcoin Foundation --
         2              Q.       Mm-hmm.
         3              A.       -- and she presented it as a
         4      resume.      She used the term "resume."        And so,
         5      therefore, I assumed that it was somebody
         6      looking for a job.
         7                       I -- at the time, we weren't
         8      looking for anybody.        And so until discovery
         9      from the subpoena --
       10               Q.      Sure.
       11               A.      -- I hadn't thought about this
       12       document at all.
       13               Q.      Okay.    And now that you've taken a
       14       second to look at this document today, do you
       15       still believe it would be accurate to state
       16       that Dr. Wright was looking for a job with the
       17       foundation?
       18               A.      No.    Now that I read it closely, I
       19       think it would be more accurate to say he was
       20       looking for some sort of collaboration.
       21               Q.      And one other thing.        Do you
       22       actually know if it was Dr. Wright who sent
       23       this e-mail?
       24               A.      No.    I don't know.
       25               Q.      And it would be fair to say
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                                                                         Page 305
         1      because you just see an e-mail address, you
         2      don't know who actually typed it or sent it?
         3              A.      Correct.     I have no idea if
         4      craig@panopticrypt.com is actually the
         5      Dr. Craig Wright I met in London.
         6              Q.      And even if it was, you still
         7      don't know who actually typed it and sent it,
         8      correct?
         9              A.      Correct.
       10               Q.      Now, I'm going to go to Exhibit 9
       11       and previously marked yesterday.
       12                       MR. KASS:     And, Vel it's
       13               GAVIN_1077.
       14                       MR. FREEDMAN:      Got it.
       15               Q.      Now, yesterday do you recall being
       16       asked a number of questions about this
       17       document?
       18               A.      Do I recall being asked a number
       19       of -- I was probably asked a number of
       20       questions about this document.
       21               Q.      Okay.    And I'll just go through
       22       one or two of them, maybe that will jog your
       23       memory.
       24               A.      Sure.
       25               Q.      Do you recall being asked what
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         1      some of the incredible mistakes were?            First
         2      paragraph.
         3              A.      Yes.
         4              Q.      And then going to the
         5      fourth-from-the-last paragraph where it says,
         6      "It was a front in some ways"?
         7              A.      Yes.
         8              Q.      And then drop one paragraph down,
         9      "The ones that matter remain hidden."            Do you
       10       recall being asked about that phrase?
       11                       "The ones that matter remain
       12       hidden," that's the third-from-the-bottom
       13       paragraph.
       14               A.      Do I remember being asked that?
       15               Q.      Yes.
       16               A.      Not really, no.
       17               Q.      All right.     Then how about going
       18       down to the second page where the -- closer to
       19       the top of the page, the paragraph starts,
       20       "Then, none of this is about money."
       21                       Do you recall being asked about
       22       that?
       23               A.      I think I do recall a question
       24       about that.
       25               Q.      Okay.    And then at the end of the
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                                                                          Page 307
         1      paragraph, do you recall a question that was
         2      about the phrase "I have access to systems that
         3      transfer more value and transactions a day than
         4      the existing BTC network does in a year"?
         5              A.       Yes, I do remember a question
         6      about that.
         7              Q.       And do you recall being asked
         8      about "I want to stay as close to the edge as I
         9      can without going over."
       10               A.       I definitely remember a question
       11       about that.
       12               Q.       And how about the next line,
       13       "Frustration (should) be my middle name"?
       14               A.       Yes, I remember that.
       15               Q.       Okay.   And now I'm going to stop
       16       now, because I don't think we have to go
       17       through every single one.         But my question for
       18       you is:      To the extent you were asked any
       19       question about the portion of the e-mail
       20       drafted by Craig, right?
       21                        MR. FREEDMAN:     Objection.     Form.
       22               Q.       Do you have -- is there any way
       23       that you could know what Craig actually meant?
       24                        MR. FREEDMAN:     Objection.
       25               A.       You certainly can't read people's
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         1      minds.       So, no.
         2              Q.        So would it be fair to say that,
         3      at best, it is your interpretation of what you
         4      think Craig may have meant?
         5              A.        Yes.
         6              Q.        Okay.    And would that go for all
         7      e-mails that were authored by Dr. Wright?
         8              A.        Sure.    It's always possible --
         9                        MR. FREEDMAN:    Objection.
       10               A.       -- to misinterpret what somebody
       11       writes.
       12               Q.       Okay.    Now, let's go to
       13       Exhibit 10, which was previously marked
       14       yesterday, and I will have the Bates number in
       15       a second.      It is GAVIN_2007.
       16                        MR. FREEDMAN:     Got it.     Thanks.
       17                        MR. KASS:    Sorry?
       18                        MR. FREEDMAN:     I've got it.      Thank
       19               you.
       20                        MR. KASS:    Okay.
       21               Q.       I'm not sure that's the correct
       22       document.      Exhibit 11.
       23               A.       Oh, 11.
       24               Q.       That was my error, but I did mean
       25       11, so yes.      That was on me.
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                                                                         Page 309
         1                      Okay.    Do you recall being asked
         2      questions about this document yesterday?
         3              A.      Vaguely, yes.
         4              Q.      And do you recall testifying that
         5      this was a conversation that you copied from
         6      Reddit and then pasted it into a Word document?
         7              A.      Yes.
         8              Q.      And then produced it in the
         9      litigation?
       10               A.      Yes.
       11               Q.      Do you know when you produced it,
       12       if it was a Word document or -- do you know
       13       what type of document it was, what format it
       14       was, when you produced it?
       15               A.      I believe it's a plain text file.
       16               Q.      Okay.    Now, could plain text get
       17       modified?
       18               A.      Sure.
       19               Q.      Is it easy to modify plain text?
       20               A.      Yes, it's very easy.
       21               Q.      Okay.    So is it possible that
       22       between when you copied into plain text and it
       23       was produced to you as Exhibit 11, that a
       24       change was made to it?
       25               A.      It's possible.
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         1              Q.      Now, my other question -- and you
         2      cannot state definitively that this is exactly
         3      how it appears on the Reddit page for that
         4      reason?
         5              A.      Correct.     I still have a copy of
         6      this on my laptop, so I could go back and check
         7      line by line.
         8              Q.      Sure.    But as you sit here right
         9      now.
       10               A.      But as I sit here right now, no.
       11               Q.      Now my other question is:         Is
       12       there a reason why this was produced as text as
       13       opposed to just a printout of your Reddit page?
       14               A.      It was easiest for me to select
       15       all of the -- it's a fairly long thread.             So to
       16       produce screenshots would involve more work
       17       than just selecting all of the text, copying
       18       and pasting.
       19               Q.      Understood.      Thank you for
       20       clarifying that.
       21                       MR. KASS:     Now, I'm going to
       22               Exhibit 11.     Vel, that's "The Satoshi
       23               Affair" and docket exhibit.
       24                       THE WITNESS:      13.
       25                       MR. KASS:     Yes, number 13.
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                                                                           Page 311
         1                      MR. FREEDMAN:      Got it.     Thank you.
         2      BY MR. KASS:
         3              Q.      All right.     Do you recall being
         4      asked questions about this document?
         5              A.      Yes.
         6              Q.      And do you recall being shown a
         7      series of quotations made by people?
         8              A.      Yes.
         9              Q.      Now, I'm going to go over some of
       10       them.    I just have a few questions.
       11                       Oh, and do you recall testifying
       12       that some of those statements were consistent
       13       with what doctor -- what you believe Dr. Wright
       14       had told you?
       15               A.      I think I was told that.
       16               Q.      So my question for you is when you
       17       say something is consistent, what does that
       18       mean?    I just want to make sure we're using the
       19       same terminology.
       20               A.      Consistent means there's no
       21       conflict.     It's a synonym for consistent.          It
       22       means --
       23               Q.      Let me ask you a question like
       24       this.    If I told you I came here in a car and
       25       someone else told you the car was green, is
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         1      that a consistent statement --
         2               A.     Yes.
         3               Q.     -- in your mind?
         4               A.     Yes, that's consistent.         It's just
         5      more detail in one statement than the other.
         6               Q.     Okay.    So by "consistent," you
         7      mean is it's not directly conflicting with
         8      something else?
         9               A.     Correct.
       10               Q.      Okay.    So it doesn't mean I was
       11       told something of a similar substance.
       12               A.      Uh.    Yes.   I mean, something is
       13       inconsistent if two things disagree with each
       14       other.
       15               Q.      Okay.
       16               A.      Otherwise, they are consistent.
       17               Q.      So as long as it's not a direct
       18       disagreement, it's consistent?
       19               A.      Yes.
       20               Q.      Okay.    So let's turn to Page 27.
       21       That's going to be on the top, the 27 of 96.
       22                       And if you go to the
       23       second-to-the-last paragraph, it starts -- the
       24       line -- the sentence starts with "If I'd come?"
       25               A.      I see, yes.
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                                                                         Page 313
         1              Q.      So it says, "'If I'd come out
         2      originally as Satoshi without Dave, I don't
         3      think it would have gone anywhere.           I've had
         4      too many conversations with people who get
         5      annoyed because it's me.'"
         6                      Now, do you believe stating that
         7      that was consistent with something that
         8      Dr. Wright had told you?
         9              A.      I don't recall.
       10               Q.      You could have?
       11               A.      I could have, sure.
       12               Q.      Now, if you did -- and that's just
       13       in the transcript.       I mean, what I had said is
       14       what it says.
       15               A.      I believe you.
       16               Q.      I'm not trying to trick you.
       17                       So all of your -- so, essentially,
       18       would it be fair to say all we really know from
       19       that is that Craig Wright didn't say Dave isn't
       20       Satoshi?
       21                       MR. FREEDMAN:      Objection to form.
       22               Q.      Meaning -- well, what would
       23       something that Craig would have to state to be
       24       that was inconsistent with this statement?
       25                       MR. FREEDMAN:      Objection to form.
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                                                                         Page 314
         1              A.      I'm not sure I'm understanding the
         2      question.
         3              Q.      Okay.    So I'm trying -- okay, so
         4      let's see if we can work this through.
         5              A.      Okay.
         6              Q.      When you state "It's consistent
         7      with what he told you," what does that mean?
         8                      MR. FREEDMAN:      Objection to form.
         9              A.      I mean, I know that Craig -- or I
       10       was told that Craig and Dave worked together.
       11               Q.      All right.     And we saw that in the
       12       e-mail from you to Ira, correct?
       13               A.      Yes.    I mean, when I say that if
       14       this statement, "'If I'd come out originally as
       15       Satoshi without Dave, I don't think it would
       16       have gone anywhere," um -- I mean, the fact
       17       that they worked together and he's talking
       18       about Dave and Satoshi together, that's
       19       consistent, right?       They had some relationship
       20       around that time.
       21               Q.      So they had some relationship.           It
       22       could have happened.        He didn't tell me
       23       anything that would say it would be impossible
       24       to happen; is that fair?
       25               A.      That what would be impossible to
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                                                                         Page 315
         1      happen?
         2               Q.     That Craig didn't say anything
         3      saying I never worked with Dave, because then
         4      it would be inconsistent.
         5               A.     Correct.
         6               Q.     All right.
         7                      MR. FREEDMAN:       Objection.
         8               Q.     So all you're stating is that
         9      because -- so it would be fair to say Dave told
       10       you he had a working relationship with Craig,
       11       right?    And we know that --
       12                       MR. FREEDMAN:       Objection.
       13               Q.      -- Craig said he was Satoshi.
       14       Craig said he himself was Satoshi, correct?
       15               A.      Correct.     Yes.
       16               Q.      So you're saying --
       17                       MR. FREEDMAN:       Objection.
       18               Q.      -- it's possible that he worked
       19       with Dave as Satoshi.
       20               A.      Yes.
       21                       MR. FREEDMAN:       Objection.
       22               Q.      Now, let's turn to Page 31 of 96.
       23       And now we're going to go to the line that
       24       starts -- the paragraph that starts with "The
       25       subject."
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                                                                         Page 316
         1              A.      Okay.
         2              Q.      Now, I'm going to read a portion
         3      of that paragraph, and then I'm going to ask
         4      you if you recall testifying about it.
         5                      "In an e-mail from Wright dated
         6      12 March 2008.      'I need your help editing a
         7      paper I am going to release later this year.              I
         8      have been working on a new form of electronic
         9      currency.     Bit cash, Bitcoin ... you are always
       10       there for me Dave.       I want you to be part of it
       11       all.    I cannot release it as me.         GMX,
       12       vistomail and Tor.       I need your help and I need
       13       a version of me to make this work that is
       14       better than me.'"
       15                       Do you recall testifying --
       16                       MR. FREEDMAN:      Objection.
       17               Q.      -- about that paragraph yesterday?
       18               A.      Yes.    Vaguely.
       19               Q.      Do you recall what your testimony
       20       was?
       21               A.      No, I don't recall what I was
       22       asked, and I don't recall what I answered.
       23               Q.      Okay.    Well, it's a good thing
       24       that I have the transcript from yesterday, so
       25       I'm going to ask you and see if what I have
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                                                                         Page 317
         1      written if you recall that being your response.
         2      Is that --
         3                       MR. FREEDMAN:       Objection.     Zalman,
         4              the transcript from yesterday is a
         5              rough.    That specifically says it's not
         6              to be relied on.
         7                       MR. KASS:    I know.     I'm not
         8              relying it.     I'm just asking him if it
         9              refreshes his recollection.
       10                        MR. FREEDMAN:     You can't ask if
       11               the transcript that is not a proper
       12               transcript refreshes the witness's
       13               recollection.
       14                        MR. KASS:    I could.     And --
       15                        MR. FREEDMAN:     You can ask him
       16               what he testified.
       17                        MR. KASS:    No, you can --
       18                        MR. FREEDMAN:     You can do whatever
       19               you want.
       20                        MR. KASS:    Exactly.     And you can
       21               make an objection to form.
       22                        MR. FREEDMAN:     No, no.     This is
       23               not a form objection.        You're presenting
       24               improper documents.
       25                        MR. KASS:    Vel.
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                                                                         Page 318
         1                      MR. FREEDMAN:        The document
         2              specifically says --
         3                      MR. KASS:     Vel, please stop --
         4              stop your speaking objections.
         5                      MR. FREEDMAN:        Zalman, this is not
         6              a speaking objection.
         7                      MR. KASS:     What is it?
         8                      MR. FREEDMAN:        It's not an
         9              objection to the question, how you
       10               raised it.     It's an objection that
       11               relates to your presenting the witness
       12               with a transcript that specifically says
       13               it's rough, it cannot be relied on.
       14                       MR. KASS:     Vel.
       15                       MR. FREEDMAN:      You're trying to
       16               use that to refresh -- Zalman, let me
       17               finish making the record.
       18                       MR. KASS:     It's an improper --
       19                       MR. FREEDMAN:      And you're trying
       20               to --
       21                       MR. KASS: -- record.
       22                       MR. FREEDMAN:      Zalman, you're
       23               specifically trying to use that as a way
       24               to refresh.     That document says it
       25               shouldn't be relied on to refresh a
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                                                                         Page 319
         1              witness's recollection of what was
         2              stated therein.      That's not a form
         3              objection.     The objection is conduct in
         4              the deposition.      I made the record.       Now
         5              do what you like.
         6                      MR. KASS:     Vel, please do not do
         7              that again.     You know that's
         8              inappropriate.      You know the only thing
         9              you're allowed to say is objection to
       10               form.   If you think a question is
       11               improper, object to form and make that
       12               argument in front of the Judge.          Okay?
       13               That's not proper conduct, and you know
       14               it.
       15                       MR. FREEDMAN:      I disagree with
       16               your statement.      I think it's a
       17               perfectly appropriate objection of
       18               conduct, but go ahead.
       19                       MR. KASS:     All right.     The record
       20               is what it is, Vel.
       21                       MR. FREEDMAN:      If you don't think
       22               it's appropriate, Mr. Kass, you can
       23               raise it with the Court.
       24                       MR. KASS:     I don't have to raise
       25               anything.    This is my depo, Vel.
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                                                                         Page 320
         1                      MR. FREEDMAN:      Okay.    I'm making a
         2              record.
         3                      MR. KASS:     Improper record.
         4      BY MR. KASS:
         5              Q.      Do you recall being asked:          Is
         6      this -- referring to that phrase -- consistent
         7      with the story told you about Craig's and
         8      Dave's collaboration?
         9              A.      No, I don't recall being asked
       10       that.    But I believe that I was if it's in the
       11       transcript.
       12               Q.      Okay.    And do you recall answering
       13       yes to that?
       14               A.      Again, no, I don't recall.          But I
       15       believe you.
       16               Q.      Okay.    Now --
       17                       MR. FREEDMAN:      Objection.
       18               Q.      -- if you did answer yes -- let me
       19       rephrase this.
       20                       Right now, do you believe that
       21       this paragraph is in fact consistent with what
       22       Dr. Wright told you?
       23               A.      Yes.
       24               Q.      And is it consistent, again, based
       25       on the fact that Craig said him and Dave worked
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                                                                         Page 321
         1      together?
         2              A.      Yes.
         3              Q.      And consistent because --
         4                      MR. FREEDMAN:      Objection.
         5              Q.      -- Dr. Wright says that Dr. Wright
         6      is Satoshi?
         7              A.      Yes.
         8                      MR. FREEDMAN:      Objection.
         9              Q.      Is there any reason that you -- is
       10       there any other reason that you believe this is
       11       consistent with what he previously told you?
       12       He, being Dr. Wright.
       13                       MR. FREEDMAN:      Objection.
       14               A.      Can you ask the question again?
       15       Is there any --
       16               Q.      That's fine.      I'm going to strike
       17       that question.      Don't worry.      We can move on.
       18               A.      Okay.
       19               Q.      Let's go on to Page 36.         Let's go
       20       to -- yup.     Let's go to the last paragraph.
       21                       Now, I'm going to read a sentence.
       22       It's "I asked Wright about this and he told me
       23       it was true that his and Kleiman's mining
       24       activity had led to a complicated trust."
       25                       Is this consistent with what you
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                                                                         Page 322
         1      believe Dr. Wright told you in the past?
         2              A.      Sure.    Yes.
         3              Q.      And in what way is it consistent?
         4              A.      Well, I don't think I had ever
         5      heard about any mining activity, but it's
         6      certainly consistent that he and Dave had some
         7      sort of relationship.
         8              Q.      And, therefore, this could have
         9      happened?
       10               A.      Therefore this could have
       11       happened, sure.      It's consistent.
       12               Q.      Right.    But he never actually told
       13       you that it did happen, right?
       14               A.      No, not to my recollection.
       15               Q.      Let's go to Page 76.        "'But you
       16       can'" -- I am going to read.          "'But you can
       17       say, hand on my heart, I am Satoshi Nakamoto?'"
       18                       And then you have a response.          "'I
       19       was the main part of it.         Other people helped.
       20       At the end of the day, none of this would have
       21       happened without Dave Kleiman, without Hal
       22       Finney, and without those who took over - like
       23       Gavin and Mike.'"
       24                       So, first of all, just assuming
       25       that this is -- do you know whether this is an
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                                                                         Page 323
         1      accurate statement by Dr. Wright?
         2              A.      No.
         3              Q.      Assuming it is an accurate
         4      statement, does it appear that Dr. Wright
         5      believes that you were instrumental in
         6      Bitcoin's success?
         7              A.      Yes.
         8                      MR. FREEDMAN:      Objection.
         9              Q.      Now, do you believe that this
       10       paragraph is consistent with what Dr. Wright
       11       had told you in the past?
       12               A.      Yes.
       13               Q.      Now, with regards to that it
       14       couldn't have happened without Dave Kleiman,
       15       how is that consistent with what he had told
       16       you?
       17               A.      Again, it's consistent because I
       18       was told they worked together.          Beyond that, I
       19       don't think I have any direct knowledge of, you
       20       know, how Dave Kleiman might have been
       21       instrumental.
       22               Q.      So, essentially, it's consistent
       23       because it could have happened?
       24               A.      Yes.
       25               Q.      Okay.    I think that's it with this
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                                                                          Page 324
         1      exhibit.
         2                      THE WITNESS:      Can we take a break?
         3                      MR. KASS:     Of course, yes.       Any
         4              time you want to take a break, gladly.
         5                      Okay.    Let's take a five- to
         6              ten-minute break.
         7                      VIDEO TECHNICIAN:       The time is
         8              12:02 p.m.     We are now off the record.
         9                      (Proceedings recessed at
       10               12:02 p.m., and reconvened at 12:08
       11               p.m.)
       12                       VIDEO TECHNICIAN:       The time is
       13               12:08 p.m.     We're back on the record.
       14                       MR. FREEDMAN:      This is Vel
       15               Freedman.    I just want to state for the
       16               record that during the break, the court
       17               reporter and the videographer mentioned
       18               that there are some issues hearing the
       19               objections that are being made, an issue
       20               with the speakerphone going on mute when
       21               multiple people are talking.         We are
       22               going to try to monitor the realtime
       23               transcript and make sure they are there,
       24               but it's not always possible.          And so
       25               we're not exactly sure how to deal with
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                                                                          Page 325
         1              the situation, but we just want to make
         2              a record to reflect that not all
         3              objections are coming through.
         4                       MR. KASS:    All right.     And, Vel, I
         5              understand what you just raised, and I
         6              just ask if you could do your best that
         7              if there is an objection and you don't
         8              note it on the realtime, if you could
         9              just try to make it known that it's not
       10               there, and then we'll just deal with it
       11               as necessary.
       12                        MR. FREEDMAN:     Absolutely.      I'm
       13               just looking at documents and taking
       14               notes.    I can't always look at the
       15               realtime, but I'm going to try that.
       16                        MR. KASS:    Okay.
       17       BY MR. KASS:
       18               Q.       You had previously testified that
       19       a bunch of statements were consistent because
       20       Dr. Wright had told you he had worked with
       21       Dave.    Is that accurate?
       22                        MR. FREEDMAN:     Objection.
       23               A.       Yes.
       24               Q.       Do you know the nature of their
       25       relationship?
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                                                                         Page 326
         1              A.      No.
         2              Q.      Do you know if one was an employee
         3      of the other?
         4              A.      No.
         5              Q.      Do you know if one was an
         6      independent contractor of the other?
         7              A.      No.
         8              Q.      Do you know if one was
         9      volunteering?
       10               A.      No.
       11               Q.      Do you know if there was a
       12       partnership?
       13               A.      No.
       14               Q.      Now, I'm going to ask you to turn
       15       to Exhibit 16.
       16                       MR. KASS:     And, Vel, that's
       17               GAVIN_0622.     And it was introduced by
       18               you yesterday.
       19                       MR. FREEDMAN:      Got it.
       20               Q.      Do you recall being shown this
       21       e-mail yesterday?
       22               A.      Yes.
       23               Q.      Okay.    And do you recall who you
       24       were communicating with in this e-mail?
       25               A.      This is Uyen Nguyen [win-win].           I
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                                                                         Page 327
         1      believe they -- well, they said they were
         2      somebody named Uyen Nguyen.
         3              Q.      Do you know who Uyen Nguyen is?
         4              A.      No.
         5              Q.      Do you know if Uyen Nguyen has any
         6      relationship to Dr. Craig Wright?
         7              A.      No.
         8              Q.      So is it fair to say this is just
         9      an e-mail that you received from a person who
       10       was unknown to you?
       11               A.      Yes.
       12               Q.      Do you know whether any of the
       13       information that is contained in this e-mail
       14       exchange is true?
       15               A.      No.
       16               Q.      Do you have any personal knowledge
       17       about the information that is contained in this
       18       e-mail exchange?
       19               A.      No.
       20               Q.      And so, for example, when it says
       21       on the second paragraph from the top, first
       22       word says, "nLocktime is what controls a
       23       trust," do you know if that's true?
       24               A.      No.
       25               Q.      Do you know anything about this
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                                                                         Page 328
         1      trust?
         2              A.      No.
         3              Q.      Do you know what controls the
         4      trust?
         5              A.      No.
         6              Q.      So is it fair to say that when you
         7      were being asked questions yesterday about this
         8      document, you were just reading off an e-mail?
         9              A.      Uh, yes.
       10                       MR. FREEDMAN:      Objection.
       11               A.      And, well -- and assuming that the
       12       information in the document was true, I was
       13       answering questions about what that would mean.
       14               Q.      All right.     And when you say
       15       "answering questions about what that would
       16       mean," does that mean what your interpretation
       17       of what you think this e-mail means?
       18               A.      Yes.
       19               Q.      Now, I want to turn to what has
       20       previously been marked as Exhibit 23, and that
       21       ends in -- it's a GAVIN, and it ends with 0047.
       22                       Do you recall being shown this
       23       e-mail yesterday?
       24               A.      Yes.
       25               Q.      And do you recall being asked some
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                                                                         Page 329
         1      questions about this e-mail?
         2              A.      Vaguely, yes.
         3              Q.      Okay.    And do you see where the
         4      e-mail -- and who is this e-mail from?
         5              A.      Stefan Matthews.
         6              Q.      Now, do you see on the first line
         7      it says, "He has agreed to sign a new message
         8      twice, once with block 1 and once with block 9
         9      keys"?
       10               A.      Yes.
       11               Q.      Do you recall being asked whether
       12       that should have been relatively simple to do?
       13               A.      I think it was a conditional, if
       14       he has the private keys, would that be a simple
       15       thing to do.
       16               Q.      Okay.
       17               A.      And I believe I answered yes.
       18               Q.      Now, I'm going to ask the reverse
       19       conditional.      If he doesn't have the private
       20       keys, would that have been something hard to
       21       do?
       22               A.      It would be impossible.
       23               Q.      So right now, you do not -- and do
       24       you know whether he in fact -- he, being
       25       Dr. Wright -- in fact had the keys on May 2,
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                                                                          Page 330
         1      2016?
         2              A.      I don't know.
         3              Q.      So are you able to testify as to
         4      whether this would have been an easy thing for
         5      him to do -- to have done?
         6                      MR. FREEDMAN:      Objection.
         7              A.      Again --
         8              Q.      I can rephrase it if that's...
         9                      I'll rephrase it.       So I'm removing
       10       a conditional.      I'm not saying you did.         I'm
       11       saying --
       12               A.      You're removing a conditional.
       13               Q.      Right now based on the knowledge
       14       you had on that date, could you state with any
       15       certainty whether it would have been easy for
       16       Dr. Wright to do?
       17               A.      No.
       18                       MR. FREEDMAN:      Objection.
       19                       MR. KASS:     Vel, what's the basis
       20               for that objection?
       21                       MR. FREEDMAN:      I just don't
       22               understand the question.
       23                       MR. KASS:     Okay.
       24                       MR. FREEDMAN:      I'm not sure the
       25               witness does, either.
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                                                                         Page 331
         1                      MR. KASS:     Well, he answered, so I
         2              think he did.
         3                      MR. FREEDMAN:      Oh.    He answered
         4              what he thinks you said.         I'm not sure
         5              what he answered is what you asked.
         6                      MR. KASS:     That's fine.      I just
         7              wanted to know what your basis was.
         8                      MR. FREEDMAN:      I've seen the
         9              transcript, and I don't know if I
       10               misspoke or the transcript is
       11               mistranscribed, but what I said before
       12               is, what I meant to say is, he answered
       13               what he thinks you asked, but I'm not
       14               sure what he answered is what you asked.
       15                       MR. KASS:     Okay.
       16       BY MR. KASS:
       17               Q.      Okay.    Now, I'm going to ask you
       18       to turn to Exhibit 33, and that's GAVIN_0344.
       19       And I'm also going to ask you to pull up a
       20       second e-mail, and I will tell you which one
       21       that is in a second.        And that's going to be
       22       Exhibit 37, and that ends -- it's a GAVIN one,
       23       and it ends in 0869.
       24                       MR. FREEDMAN:      You cut out.      Zero
       25               what?
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                                                                          Page 332
         1                      MR. KASS:     869.
         2                      MR. FREEDMAN:      All right.     Thank
         3              you.
         4              Q.      Do you recall being shown these
         5      e-mails yesterday?
         6              A.      Yes.
         7              Q.      Do you recall being asked a series
         8      of questions about these e-mails?
         9              A.      Vaguely, yes.
       10               Q.      Do you recall a question on
       11       Exhibit 37 about over 100 million?
       12                       So that's Exhibit 37, first line
       13       from the top.
       14               A.      I don't recall what the question
       15       was.
       16               Q.      But do you remember a discussion
       17       about 100 million and you weren't really sure
       18       what that was?
       19               A.      Yes, 100 million --
       20                       MR. FREEDMAN:      Objection.
       21               A.      -- somethings.
       22               Q.      Exactly.
       23               A.      Yes, I do recall.
       24               Q.      Do you recall being asked a series
       25       of questions about Dr. Wright's net worth based
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                                                                         Page 333
         1      on Exhibit 33 and 37?
         2              A.      Vaguely, yes.
         3              Q.      Now, do you have any personal
         4      knowledge as to Dr. Craig Wright's wealth?
         5                      MR. FREEDMAN:      Objection.
         6              A.      No.     The only personal knowledge I
         7      have is how he dresses, how he presents
         8      himself, the fact that, you know -- well,
         9      actually, I have no personal knowledge about
       10       his travels, but he said that he travels and
       11       lives a nice life-style.
       12               Q.      Thank you.     Let's break that down.
       13       So let's first talk about things that you've
       14       observed with your senses with regards to Craig
       15       Wright's wealth, and then we'll deal with the
       16       other half afterwards.
       17                       So what have you observed with
       18       regards to Craig Wright's wealth with your own
       19       senses?
       20               A.      When I met him in London, he
       21       seemed well-dressed.        He seemed well-spoken.
       22       He seemed like a person who was not poor, was
       23       not lower class.
       24               Q.      Okay.    Now, is the way someone
       25       dressed always an indicator -- or is it a
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         1      good -- do you believe it's a good indicator of
         2      someone's net worth?
         3               A.     No.
         4               Q.     Is it possible to be --
         5                      MR. FREEDMAN:      Objection.
         6               Q.     -- well-dressed but heavily in
         7      debt?
         8               A.     Yes.     Absolutely.
         9               Q.     And does one have to be --
       10                       MR. FREEDMAN:      Objection.
       11               Q.      Does one have to have a fortune in
       12       Bitcoin to be well-dressed?
       13               A.      No.
       14               Q.      And the fact that somebody is
       15       well-dressed, does that mean they have a
       16       fortune in Bitcoin?
       17               A.      No, certainly not.
       18               Q.      Does that mean they have a lot of
       19       money?
       20               A.      No, not necessarily.
       21               Q.      All right.     So that's how -- have
       22       we covered everything that you've observed with
       23       your own senses?
       24               A.      Yes.
       25               Q.      Now --
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                                                                         Page 335
         1                      MR. FREEDMAN:      Objection.
         2              Q.      So is it fair to say that
         3      everything else that you know about
         4      Dr. Wright's net worth is you heard from
         5      somebody else or somebody?
         6                      MR. FREEDMAN:      Objection.
         7              A.      Yes.    That's fair to say.
         8              Q.      So now going back to these two
         9      e-mails which are Exhibit 33 and 37, Exhibit 37
       10       says "That is individuals with over 100 million
       11       net wealth," correct?
       12                       Do you see that?
       13               A.      Yes.
       14               Q.      All right.     Do you know if
       15       that's -- do you know if Dr. Wright has over
       16       100 million net wealth?
       17               A.      My assumption, reading this
       18       e-mail, is that he has more than 100 million
       19       Australian dollars, because this was in the
       20       context of a discussion about Australian tax
       21       office stuff.
       22               Q.      Do you have any personal knowledge
       23       as to whether that's actually true?
       24                       MR. FREEDMAN:      Objection.
       25               A.      No.
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                                                                         Page 336
         1               Q.     So is this just based on an e-mail
         2      that a person had sent by Dr. Wright?
         3                      MR. FREEDMAN:      Sorry.    There was
         4               an objection between the "Do you have
         5               any personal knowledge as to whether
         6               that's actually true" and "No."
         7               Q.     So is this just based on an e-mail
         8      that appears to have come from Dr. Craig
         9      Wright's e-mail?
       10               A.      Yes.
       11               Q.      Now, assuming that this is
       12       accurate, because we don't know if it is,
       13       correct?
       14                       So, again, assuming that this is
       15       accurate, do you know the source of those
       16       funds?    Of the net worth.
       17               A.      No.
       18               Q.      Could Dr. Wright have won the
       19       lottery and got fabulously wealthy?
       20               A.      It's possible, yes.
       21               Q.      Could he have inherited a lot of
       22       wealth?
       23               A.      It's possible, yes.        I have no
       24       knowledge.
       25                       MR. FREEDMAN:      Objection.
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                                                                         Page 337
         1              Q.      Could he have purchased a lot of
         2      Bitcoins when they were really cheap in the
         3      early days?
         4                      MR. FREEDMAN:      Objection.
         5              A.      Yes, that's possible, too.
         6              Q.      And do you have any knowledge
         7      whether Dave Kleiman was involved in generating
         8      any of this wealth?
         9              A.      No.
       10                       MR. FREEDMAN:      Objection.
       11               Q.      If this wealth exists, do you know
       12       if it's held in Dr. Wright's name?
       13               A.      No.
       14                       MR. FREEDMAN:      Objection.
       15               Q.      Do you know if this wealth is
       16       locked up in a trust somewhere?
       17               A.      No.
       18               Q.      Do you know if Dr. Wright has
       19       access to this wealth?
       20               A.      No.
       21                       MR. KASS:     Let's take a
       22               five-minute break.       I'm actually getting
       23               close to -- I'm not entirely done, but
       24               I'm getting close.       I just want to go
       25               over my notes and see if I have anything
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                                                                            Page 338
         1              else.
         2                      VIDEO TECHNICIAN:       The time is
         3              12:24 p.m.     We are off the record.
         4                      (Proceedings recessed at
         5              12:24 p.m.     and reconvened at 12:33
         6              p.m.)
         7                      VIDEO TECHNICIAN:       The time is
         8              12:33 p.m.     We are back on the record.
         9      BY MR. KASS:
       10               Q.      All right.     I'm going to ask you
       11       to turn now to what has previously been marked
       12       as Exhibit 35, and that's GAVIN_0274.
       13                       And then I'm going to also ask you
       14       to turn to exhibit that has been previously
       15       marked as 34, and that ends in -- it's GAVIN
       16       and it's 0732.
       17                       Do you recall being asked
       18       questions about these --
       19                       MR. FREEDMAN:      Sorry, Zalman.       I
       20               can't seem to find the first one.           I
       21               have GAVIN_0372.      What was the other
       22               one?
       23                       MR. KASS:     It's 1274.
       24                       MR. FREEDMAN:      Got it.     Thank you.
       25               Q.      Do you recall being shown these
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                                                                         Page 339
         1      two exhibits yesterday?
         2              A.      Yes.
         3              Q.      And do you recall being asked
         4      questions about these exhibits?
         5              A.      Vaguely, yes.
         6              Q.      Okay.    Now, on the exhibit that's
         7      labeled 35, do you see the second line.             It
         8      says, "I have sufficient funds that they can
         9      force me to sell"?
       10               A.      Yes.
       11               Q.      And then do you see in the
       12       paragraph under, it says, "It would mean
       13       dumping 400 million in coin to pay"?
       14               A.      Yes.
       15               Q.      Again, do you have any personal
       16       knowledge as to whether this is true?
       17               A.      No.
       18               Q.      Do you know --
       19                       MR. FREEDMAN:      Objection.
       20               Q.      -- what "coin" refers to in this
       21       e-mail?
       22               A.      I assumed it meant Bitcoin.
       23               Q.      Right.    Could it have meant
       24       another type of coin?
       25                       MR. FREEDMAN:      Objection.
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                                                                         Page 340
         1              A.       It could be a colloquial phase for
         2      money in general.
         3              Q.       Could it be that Dr. Wright is a
         4      coin collector?
         5                       MR. FREEDMAN:     Objection.
         6              A.       It seems unlikely anybody --
         7                       MR. FREEDMAN:     I'm sorry.     I'm
         8              just seeing objection.        There was an
         9              objection, or at least there was
       10               supposed to be an objection, between
       11               "Could it have meant to be another
       12               coin?"    And you have the last objection.
       13               Q.       Mr. Andresen, I'm sorry, you got
       14       cut off in the middle of your answer.            What was
       15       your answer?
       16               A.       My answer was 400 million in
       17       collectable coins seems unlikely.           That would
       18       be a large pile of collectable coins.            So I
       19       assume he's not referring to some physical
       20       coin.    But I suppose it could be possible.
       21       Although, in the context of this e-mail where
       22       he talks about signing, it seems unlikely to
       23       me.
       24               Q.       Unlikely.    But you don't know with
       25       any certainty what he's really referring to?
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                                                                         Page 341
         1              A.      I don't know with absolute --
         2                      MR. FREEDMAN:        Objection.
         3              A.      I don't know with absolute
         4      certainty what he's referring to.
         5              Q.      And you don't know what he's
         6      saying is in fact accurate?
         7              A.      Correct.     I don't even know --
         8                      MR. FREEDMAN:        Objection.
         9              A.      -- if craig@rcjbr.org is the Craig
       10       Wright that I met in London.
       11               Q.      Okay.    And let's go to Exhibit 35,
       12       which -- 34.      I apologize.     34.
       13                       Is it your answers apply to this
       14       e-mail also, that again you have no personal
       15       knowledge as to the contents of this e-mail?
       16                       MR. FREEDMAN:      Sorry, Zalman.
       17               This is Bates 372?
       18                       MR. KASS:     Yes.    No, no.     This is
       19               732.
       20                       MR. FREEDMAN:      Oh.    Hold on.    Can
       21               you give me one second to get the
       22               document?    I apologize.
       23                       MR. KASS:     Yes.    And I'm going to
       24               actually rephrase that question.
       25                       MR. FREEDMAN:      I got it.
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                                                                         Page 342
         1      BY MR. KASS:
         2               Q.     Okay.     So let's look at the one
         3      line that says -- second from the bottom
         4      paragraph, "I have sufficient funds that they
         5      can force me to sell" at the bottom.
         6               A.     I see that.
         7               Q.     Do you know if that's true?
         8               A.     No.     I have no independent
         9      knowledge that that's true.
       10               Q.      Sure.    And do you see a reference
       11       on the third paragraph from the top relating to
       12       "They is part" -- stating, "They is part a few
       13       people (not all) in the tax office - years of
       14       hate."
       15                       Do you know anything about that?
       16               A.      I don't have any --
       17                       MR. FREEDMAN:      Objection.
       18               A.      No.    I have no independent
       19       knowledge about what happened between Craig
       20       Wright and a tax office.
       21               Q.      So would it be fair to say that,
       22       at most, you're reading an e-mail that appears
       23       to have been sent, or may have been sent, from
       24       Dr. Wright's e-mail address and just
       25       interpreting what it says based on your -- on
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                                                                         Page 343
         1      your belief?
         2              A.      Sure.    Yes.
         3              Q.      Okay.    Do you recall testifying
         4      yesterday that you believe Dr. Wright lied to
         5      you?
         6              A.      Yes.
         7              Q.      What do you believe the lie was?
         8              A.      I believe he deceived me, which
         9      deception I believe is a form of lying.
       10               Q.      Okay.
       11               A.      He deceived me about the proof
       12       that he would provide to the world that he had
       13       a private key to one of the early Bitcoin
       14       blocks.
       15               Q.      Now, did he say one thing to you
       16       and then do something different?           That he was
       17       going to do this, and then he didn't do it?
       18               A.      I don't think he ever explicitly
       19       said what he was going to do.
       20               Q.      Okay.    So is it fair to say that
       21       you maybe feel misled about what he did?
       22               A.      I definitely feel misled about
       23       what he did.
       24               Q.      Disappointed?
       25               A.      Disappointed, yes.
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                                                                          Page 344
         1              Q.      But he didn't say a direct
         2      untruth?
         3              A.      Yes.
         4                      MR. FREEDMAN:      Objection.
         5              Q.      Are you familiar with SegWit?
         6              A.      Yes.
         7              Q.      What is SegWit?
         8              A.      SegWit is a technical change to
         9      Bitcoin that I could go into detail about, but
       10       I'm not sure you want me to.
       11               Q.      High -- hmm.      Let me ask -- okay,
       12       let's keep it like that, high level, and we'll
       13       see how deep I want to dig.
       14               A.      Okay.
       15               Q.      Did SegWit change the way
       16       transactions are stored on the blockchain?
       17               A.      SegWit introduced a new way of
       18       storing transactions on the blockchain.             The
       19       old way of storing transactions on the
       20       blockchain are still valid with the SegWit
       21       change.
       22               Q.      And if somebody has an old version
       23       of the Bitcoin software pre-SegWit, is it able
       24       to interact with the newer transactions after
       25       SegWit?
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                                                                         Page 345
         1              A.      No.     If you have an old version of
         2      the software, it won't understand the new form
         3      of transactions.
         4              Q.      And is that a widely-accepted
         5      belief in the Bitcoin community?
         6              A.      Yes, I believe so.
         7                      I should amend my previous
         8      statement --
         9              Q.      Okay.
       10               A.      -- because the way SegWit is
       11       implemented, I believe old versions of the
       12       software will falsely accept SegWit
       13       transactions.      It will not properly validate
       14       them.
       15               Q.      Okay.    So -- what do you mean by
       16       that?    I don't want to speak for you.
       17               A.      So the job of the Bitcoin software
       18       is to make sure that only valid transactions
       19       are accepted --
       20               Q.      Mm-hmm.
       21               A.      -- and what's called confirmed.
       22               Q.      Mm-hmm.
       23               A.      And so SegWit introduced a new
       24       kind of transaction to maintain compatibility.
       25                       Old versions of the software
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                                                                         Page 346
         1      accept all SegWit transactions as valid.
         2      Whereas, new versions of the software do you
         3      can think of it as deeper checks to make sure
         4      that they actually are valid.          And the
         5      assumption is the miners who do the ultimate
         6      validation all run the fully-validating
         7      SegWit-compatible latest version of the Bitcoin
         8      software.
         9              Q.      So is it fair to say that an older
       10       version of the Bitcoin software can't validate
       11       the newer SegWit transactions?
       12               A.      Yes.
       13               Q.      So would it also be fair to say
       14       that the actual miner who is going to validate
       15       this transaction, right, who by chance happened
       16       to get the correct hashing and non- -- do the
       17       correct --
       18               A.      A miner who solves the block?
       19               Q.      Thank you.     The miner who solves
       20       the block cannot be a miner running the old
       21       software?
       22               A.      They could get lucky.
       23               Q.      Okay.
       24               A.      So, I mean, they might have some
       25       SegWit transactions that they accept that turn
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                                                                         Page 347
         1      out to be valid.        But if they were to accept --
         2      if they were to create a block containing an
         3      invalid SegWit transaction, according to the
         4      new rules, then the other miners would reject
         5      their block.      And so it would not be accepted.
         6      They would lose money.
         7              Q.      Is it fair to say that it's not
         8      fully compatible --
         9              A.      Yes.
       10               Q.      -- the two versions?
       11               A.      Definitely fair to say they're not
       12       fully compatible.
       13               Q.      And what's your basis for this
       14       knowledge?
       15               A.      I reviewed the SegWit code
       16       changes, or many of the SegWit code changes.
       17               Q.      And is one reason that the older
       18       software can't recognize the newer transactions
       19       is because the way the transaction is
       20       structured is kind of mixed about?
       21               A.      Yes.
       22               Q.      Okay.    Got it.
       23                       Prior to yesterday's deposition,
       24       did you speak with counsel representing Ira
       25       Kleiman or Dave Kleiman?         Let's do Dave
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                                                                         Page 348
         1      Kleiman, or the Estate of Dave Kleiman.
         2              A.      Yes.    They gave me a phone call
         3      informing me that this deposition would happen.
         4              Q.      And do you recall when that phone
         5      call was?
         6              A.      I don't recall.
         7              Q.      Prior to that phone call, did you
         8      have any communication with them?
         9              A.      Yes.    We had a phone call
       10       discussing the subpoena, and going through the
       11       subpoena.
       12               Q.      Okay.    Now, did you have any phone
       13       calls, other than the two phone calls that you
       14       just mentioned?
       15               A.      I don't believe so, no.
       16               Q.      Did you have any e-mail
       17       communications with counsel for doctor -- I
       18       mean, for the Plaintiffs?
       19               A.      Probably.     Yes.
       20                       MR. KASS:     Vel, I'm going to
       21               request those.
       22               Q.      Let's start with the first phone
       23       call regarding the subpoena.          What was
       24       discussed during that phone call?
       25               A.      The scope of the subpoena and
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                                                                         Page 349
         1      mechanics of how I would respond to the
         2      subpoena.
         3              Q.      Did you discuss anything
         4      substantively about the Plaintiffs' claims in
         5      this case?
         6              A.      No, I don't believe so.
         7              Q.      And do you recall which attorneys
         8      were on that phone call, their names?
         9              A.      No, I don't.
       10               Q.      Now, in the second phone call, was
       11       that more recent?
       12               A.      Yes, that was more recent.
       13               Q.      Was it within the past few months?
       14               A.      Yes.
       15               Q.      And what was the substance of the
       16       second phone call?
       17               A.      It was logistics of this
       18       deposition.
       19               Q.      Did they ask you any substantive
       20       questions?
       21               A.      No, not that I recall.
       22               Q.      Did they ask you anything about
       23       your relationship with Dr. Craig Wright?
       24               A.      I don't believe so, no.
       25               Q.      Did they ask you anything about
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                                                                         Page 350
         1      the proof session that happened in London?
         2              A.      I don't think they asked me
         3      anything about it.       I think that they did say
         4      that they would be asking questions about it.
         5              Q.      Okay.    Did they say that they were
         6      going to be asking questions about anything
         7      else?
         8              A.      Not that I recall, no.
         9              Q.      And how long did that phone call
       10       last for?     Approximately.
       11               A.      Maybe ten minutes.
       12               Q.      And do you know the attorneys that
       13       were on that phone call, their names?
       14               A.      No, I don't.
       15               Q.      Could one have been Velvel
       16       Freedman?
       17               A.      Very possibly, yes.
       18                       MR. KASS:     I'm going to mark the
       19               next exhibit, although this is a little
       20               risky, because starting a new sheet I
       21               don't know if there is another sheet
       22               around there.     So I may be jumping.
       23                       COURT REPORTER:       Let me tell you
       24               that.
       25                       (Discussion off the record.)
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                                                                         Page 351
         1                      (Document marked for
         2              identification as Andresen Exhibit 74)
         3                      MR. KASS:     I'm going to introduce
         4              Exhibit 74, and this is GAVIN_0023.
         5                      MR. FREEDMAN:      Is this one of the
         6              ones you sent me?
         7                      MR. KASS:     Yes, it is.      I sent it
         8              in an e-mail.
         9                      MR. FREEDMAN:      Got it.     Thank you.
       10       BY MR. KASS:
       11               Q.      Do you recognize this document?
       12               A.      Yes.
       13               Q.      What is it?
       14               A.      It's an e-mail from Stefan
       15       Matthews to me.
       16               Q.      And what do you say in the
       17       substance of that e-mail?
       18               A.      I say that I signed an NDA
       19       agreement and gave him a Hushmail address to
       20       communicate with me.
       21                       MR. KASS:     Now, I'm going to
       22               introduce as Exhibit 75, and it's Bates
       23               number 0024.
       24                       (Document marked for
       25               identification as Andresen Exhibit 75)
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                                                                         Page 352
         1              Q.      And do you recognize this
         2      document?     If it helps, it's sequentially
         3      numbered.
         4              A.      Sure.    Yes.    It's probably the
         5      signed NDA agreement that was the attachment
         6      from the e-mail.
         7              Q.      Correct.     And if you go to Page 3,
         8      do you see where it says "Signed by Gavin
         9      Andresen."
       10               A.      Yes.
       11               Q.      Is that in fact your signature?
       12               A.      That is my signature.
       13               Q.      And do you believe that you signed
       14       it?
       15               A.      I do believe I signed it, yes.
       16               Q.      Now, do you know if this
       17       non-disclosure agreement was ever revoked?
       18               A.      I don't know.
       19               Q.      And prior to sitting -- now, let's
       20       just look -- I just want to go to the first
       21       page.    Under 1.1, it says, "We EITC."
       22                       And then also if you go to the
       23       last page, Page 3, and then it says -- it's
       24       blank over here, but it seems like it should be
       25       signed by "(a director) for and on behalf of
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         1      EITC Holding Limited"?
         2              A.      Yes.
         3              Q.      So is it fair to say that this
         4      agreement is entered into between you and EITC
         5      Holding Limited?
         6              A.      Assuming that they signed --
         7              Q.      Signed it, yeah.
         8              A.      -- their copy, sure.
         9              Q.      That's who it was intended to be
       10       entered into with?
       11               A.      Yes.
       12               Q.      Prior to being deposed, did you
       13       reach out to EITC to see if they had any
       14       objections to you providing testimony?
       15               A.      No, I did not.
       16               Q.      And let's just look at Paragraph
       17       1.2.    And it seemed like it defines
       18       "Confidential Information."
       19                       Do you see that?
       20               A.      Yes.
       21               Q.      And it says [As Read]:
       22       Confidential Information means all confidential
       23       or proprietary information (however recorded or
       24       preserved) that is associated or made available
       25       before or after the date of this agreement (in
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         1      any form or medium), directly or indirectly, by
         2      the Provider to the recipient.          For the
         3      avoidance of doubt, the fact of any
         4      confirmation or admission concerning the
         5      identity of the creator of blockchain and
         6      Bitcoin is Confidential information.
         7                        Do you see where it says that
         8      there?
         9              A.        I see where it says that, yes.
       10                       MR. KASS:     Okay.    I think I'm
       11               done, Vel.     It's all yours.
       12                       MR. FREEDMAN:      Okay.    Can we take
       13               a five-minute break and then we'll get
       14               back on the record?
       15                       MR. KASS:     Yes.
       16                       VIDEO TECHNICIAN:       The time is
       17               12:54 p.m.     And I'm going to close out
       18               media unit number one of today's
       19               deposition.     We are off the record.
       20                       (Proceedings recessed at
       21               12:54 p.m., and reconvened at 1:03 p.m.)
       22                       VIDEO TECHNICIAN:       The time now is
       23               1:03 p.m.    We're coming back on the
       24               record.    Now beginning media unit number
       25               two in today's deposition with Gavin
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                                                                         Page 355
         1              Andresen.    We're on the record.
         2                      MR. KASS:     And just before we
         3              start, I'm going to designate the entire
         4              deposition transcript confidential,
         5              especially in light of the nondisclosure
         6              agreement.     And I believe the witness
         7              also may have some additional portions
         8              that the witness wants to designate as
         9              confidential.     I'm not sure if the
       10               witness wants to do it now or just send
       11               an e-mail to counsel.        How would you
       12               like to proceed?
       13                       THE WITNESS:      I will send an
       14               e-mail to counsel.       But I would request
       15               that the majority of this remain
       16               confidential.
       17                       MR. KASS:     Okay.
       18       EXAMINATION
       19       BY MR. FREEDMAN:
       20               Q.      All right.     Mr. Andresen, we met
       21       yesterday, so I'm not able to be there in
       22       person today, but thank you for coming back.
       23               A.      You're welcome.
       24               Q.      You mentioned yesterday that you
       25       might have Bitcoin from your short mining
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                                                                         Page 356
         1      activity back in 2010.        Do you recall that?
         2               A.     Yes, I do.
         3               Q.     Did you check last night whether
         4      or not you had any?
         5               A.     No, I did not.
         6               Q.     To the best of your recollection
         7      right now, do any of the coinbases address --
         8      the coinbase addresses of those blocks have all
         9      50 coins remaining in them, or have you
       10       certainly spent at least some out of all of the
       11       coinbase addresses?
       12               A.      I've certainly moved them to other
       13       wallets.
       14               Q.      So would it be fair to say at the
       15       current moment, you do not have any -- you do
       16       not have any Bitcoin that reside in the
       17       coinbase address they were originally mined in
       18       back in 2010?
       19               A.      Correct.
       20               Q.      Okay.    Thank you.
       21                       Where does Jon Matonis live?
       22               A.      I don't know where Jon Matonis
       23       lives.
       24               Q.      Do you know his e-mail address?
       25               A.      Not off the top of my head, but
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                                                                         Page 357
         1      it's in my contact list.
         2              Q.      Could you look that up for me if
         3      we sent you an e-mail after the deposition?
         4              A.      Yes.
         5              Q.      Do you know his phone number?
         6              A.      I may have a phone number in my
         7      contacts for him.
         8              Q.      Would you mind looking that up for
         9      me also after the deposition?
       10               A.      Sure.    I could do that.
       11               Q.      What about his business address?
       12       Do you happen to have that?          Or a home address?
       13               A.      I don't think I have any physical
       14       addresses for him, no.
       15               Q.      Would you expect that Mr. Matonis
       16       has knowledge akin to yours about the proof
       17       session and interactions directly with Craig
       18       Wright?
       19                       MR. KASS:     Objection to form.
       20               A.      I believe Jon told me that he also
       21       witnessed some sort of proof, but I have no
       22       details of whether it was the same sort of
       23       proof session that I had with Dr. Wright or
       24       something completely different.
       25                       I haven't asked him, and he hasn't
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                                                                         Page 358
         1      told me.
         2               Q.     Mr. Andresen, have you ever heard
         3      the name Calvin Ayre [Ire], A-y-r-e?
         4               A.     Yes, I've heard --
         5               Q.     Or Ayre [Air].
         6               A.     Yes, I've heard the name Calvin
         7      Ayre.
         8               Q.     In what context?
         9               A.     He's a personality in the Bitcoin
       10       world.
       11               Q.      Was there any connection -- strike
       12       that.
       13                       To your knowledge, was there any
       14       connection between Calvin Ayre and Craig
       15       Wright?
       16               A.      Not to my knowledge.
       17               Q.      Have you ever heard the name
       18       nChain?
       19               A.      nChain.     Maybe.    There are many
       20       whatever chains in the Bitcoin blockchain
       21       world.
       22               Q.      Would it surprise you -- strike
       23       that.
       24                       Do you recall the name EITC
       25       Holdings Limited?
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                                                                         Page 359
         1              A.      EITC Holdings Limited.         Yes, I
         2      remember that because I was told EITC stands
         3      for East Indian Trading Company.
         4              Q.      And in what context did you hear
         5      that name?
         6              A.      When I flew to London, one of the
         7      people I met with was one of the EITC people,
         8      and the non-disclosure agreement that I signed
         9      was with EITC Holdings.
       10               Q.      So this is the company we
       11       discussed yesterday being the money men?
       12                       MR. KASS:     Object to form.
       13               A.      Yes.    One of the -- one of the --
       14       yes.    EITC Holdings was -- yes, the business
       15       that I was told was getting involved with Craig
       16       Wright in some form.
       17               Q.      I believe you said yesterday they
       18       were a type of venture capital firm; is that
       19       correct?
       20               A.      That was my understanding, yes.           I
       21       might have done some online research --
       22                       MR. KASS:     And object to form.
       23               A.      -- looking at what they did.          But,
       24       yes, some sort of investment, venture
       25       capital --
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                                                                         Page 360
         1               Q.     And the reason that you -- sorry,
         2      go ahead.
         3               A.     Some sort of investment or venture
         4      capital firm.
         5               Q.     And the reason we use the term
         6      money men is because it was your understanding
         7      that they were providing the funding associated
         8      with Craig's coming-out as Satoshi Nakamoto?
         9                      MR. KASS:     Object to form.
       10               A.      Yes.    That was my understanding.
       11               Q.      Mr. Andresen, would it surprise
       12       you to hear that Calvin Ayre is behind the
       13       entire coming-out as Satoshi Nakamoto is Craig
       14       Wright?
       15                       MR. KASS:     Object to form.
       16               A.      Uh, would it surprise me.         Um.
       17       Uh.   I mean, this whole affair has been very
       18       weird.    So, no, I don't think it would surprise
       19       me.
       20               Q.      Was there -- thinking back to your
       21       time in London, was there any reference to a
       22       mysterious backer or a business mogul, or some
       23       other shadowy figure, that might be consistent
       24       with a reference to Calvin Ayre?
       25                       MR. KASS:     Object to form.
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                                                                         Page 361
         1              A.      No, not that I recall.
         2              Q.      Mr. Andresen, you never spoke
         3      directly -- strike that.
         4                      Did you ever speak to Satoshi
         5      Nakamoto via telephone?
         6              A.      No.
         7              Q.      Did you ever speak to him in any
         8      other way besides written correspondence via
         9      your e-mails and private Bitcoin forum
       10       messages?
       11               A.      No.
       12               Q.      So is it possible that the person
       13       you were conversing with in 2010 and 2011 was
       14       actually more than one person?
       15               A.      Yes, that's possible.
       16               Q.      You reviewed many of the e-mails
       17       that appear to have come from Craig Wright's
       18       addresses during this deposition; would that be
       19       a fair characterization?
       20               A.      Yes.
       21               Q.      And you've spoken to Craig --
       22       strike that.
       23                       Do you have any indication that it
       24       wasn't Craig sending you those e-mails?
       25               A.      No, I have no indication that it
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                                                                         Page 362
         1      was not Craig -- the Craig Wright I met in
         2      London sending me those e-mails.
         3              Q.      Did Craig ever tell you that you
         4      should not trust e-mails that appear to come
         5      from him?
         6                      MR. KASS:     Object to form.
         7              A.      I don't think so.
         8              Q.      Do you have any reason to think it
         9      was not Craig that was the sender of those
       10       e-mails?
       11               A.      No, I have no reason to think
       12       that.
       13               Q.      Mr. Andresen, I'm going to read
       14       you an e-mail, the first sentence of an e-mail,
       15       that Craig Wright sent to Louis Kleiman, which
       16       was Dave Kleiman's father.         Is that all right?
       17                       MR. KASS:     I'll object.      But, yes
       18               to the extent you're -- well, I'm just
       19               going to leave it to object to the
       20               document.    I'm not going to do a speech.
       21               If you want, I can flesh out my
       22               argument.
       23               A.      I'm listening.
       24               Q.      It's dated February 11, 2014, and
       25       it begins, "Hello Louis, Your son Dave and I
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                                                                         Page 363
         1      are two of the three key people behind
         2      Bitcoin..."
         3                      Is that very similar to what you
         4      recall as Craig's statement to you that the
         5      person of Satoshi was actually being three
         6      people, Dave Kleiman, Craig Wright, and a
         7      mysterious person you never asked about?
         8                      MR. KASS:     Object to form.
         9              A.      Yes.
       10               Q.      And you testified yesterday that
       11       you recall Craig Wright getting emotional and
       12       telling you about Dave being one of the three
       13       people behind the Satoshi persona.
       14                       Do you recall that?
       15               A.      I think I recall testifying to
       16       that, yes.
       17                       MR. KASS:     Object to form.
       18               Q.      And do you recall testifying that
       19       it was particularly prominent in your mind
       20       because it's unusual; you don't generally see a
       21       grown man almost crying?
       22                       MR. KASS:     Object to form.
       23               A.      Yes, I recall that.
       24               Q.      So if your recollection is
       25       accurate and Craig and Dave -- and Craig told
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                                                                         Page 364
         1      you that he and Dave were each one-third of
         2      Satoshi Nakamoto, then wouldn't it be true that
         3      Craig Wright worked with Dave Kleiman?
         4                      MR. KASS:       Object to form.
         5              A.      Yes, if that -- if my recollection
         6      is correct and if Craig Wright was telling the
         7      truth, then yes.
         8              Q.      It would be accurate to describe
         9      that relationship as working with each other?
       10                       MR. KASS:     Object to form.
       11               A.      Sure.
       12               Q.      And can you turn to Exhibit 69 for
       13       me, which is your blog log post from May 2,
       14       2016?
       15               A.      Okay.    Yes.
       16               Q.      And if you look at the
       17       second-to-last paragraph from the bottom of the
       18       first page, and that last sentence there, can
       19       you read that last sentence that says "But"?
       20               A.      "But I'm going to respect
       21       Dr. Wright's privacy, and let him decide how
       22       much of that story he shares with the world."
       23               Q.      You were expressing intent not to
       24       reveal much of what Dr. Wright told you during
       25       that meeting; is that accurate?
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                                                                         Page 365
         1                      MR. KASS:     Object to form.
         2              A.      Yes.
         3              Q.      It was on Dr. Wright to reveal the
         4      intimate details of his being Satoshi; is that
         5      a fair characterization of your attitude?
         6                      MR. KASS:     Object to form.
         7              A.      Can you ask that again?
         8              Q.      Is it a fair characterization of
         9      your attitude toward disclosing what you were
       10       told -- strike that.
       11                       Would it be fair to say that you
       12       were approaching -- no, strike that, too.
       13                       Would it be fair to say that you
       14       were not going to give many details out about
       15       what Craig told you because you believe that
       16       was for Craig to share?
       17                       MR. KASS:     Objection.
       18               A.      Yes.
       19               Q.      And can you turn back with me to
       20       exhibit I believe it's 73.         It's Bates
       21       GAVIN_1759.
       22               A.      Okay.
       23               Q.      And this is the e-mail
       24       correspondence between you and Ira Kleiman; is
       25       that accurate?
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                                                                         Page 366
         1              A.      Yes.
         2              Q.      Were you sure this was Ira Kleiman
         3      that you were e-mailing with?
         4              A.      No.    Well --
         5              Q.      Is it fair to say that you would
         6      have approached any conversation with the
         7      recipient of this e-mail with any caution?
         8                      MR. KASS:     Object to form.
         9              Q.      Let me rephrase that for you.
       10                       Is it fair to say that you would
       11       be cautious in what you would tell the other
       12       person at the end of this e-mail because you
       13       weren't really sure this was Dave Kleiman's
       14       brother?
       15                       MR. KASS:     Object to form.
       16               A.      Yes, that's fair.       Well, and I'm
       17       not sure --
       18               Q.      If you go down --
       19               A.      I'm not sure the fact that it was
       20       Dave Kleiman's brother has any -- I'm generally
       21       cautious about not -- not taking at face value
       22       if I receive an e-mail from somebody I haven't
       23       met personally and don't have a relationship
       24       with, you know, I'm going to be cautious,
       25       because e-mails can easily be faked.
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                                                                         Page 367
         1              Q.      Right.    So you didn't know who was
         2      on the other end of this e-mail chain.
         3              A.      Correct.     Everything --
         4              Q.      And in -- go ahead.
         5              A.      I was just going to say everything
         6      I know is in this e-mail.
         7              Q.      Right.    And the sender of this
         8      e-mail asks you for information about Craig and
         9      Dave Kleiman; is that accurate?
       10               A.      Yes.
       11               Q.      And you respond that Craig said
       12       that he worked with David.
       13               A.      Yes.
       14               Q.      Beyond that, I don't know much.
       15       Is that fair?
       16               A.      Yes, that's fair.
       17               Q.      Now, isn't it true that if Craig
       18       told you he and Dave were one-third each of
       19       Satoshi, that they worked -- that Craig worked
       20       with David?
       21                       MR. KASS:     Object to form.
       22               A.      Yes.
       23               Q.      So your e-mail would be a true
       24       characterization of your conversation with
       25       Craig Wright even if -- strike that.
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                                                                         Page 368
         1                      Your e-mail would be a true
         2      characterization of your conversation with
         3      Craig Wright, as you recall it, as he said he
         4      and Dave Kleiman were each -- as he said it,
         5      collectively two-thirds of the Satoshi persona;
         6      is that right?
         7                      MR. KASS:     Object to form.
         8              A.      Can you repeat the question?
         9              Q.      Sure.    Isn't it true that this
       10       e-mail is an accurate way to cautiously give
       11       someone information that would reflect the
       12       conversation you had with Craig Wright that he
       13       and Dave Kleiman were two of the three people
       14       behind Satoshi Nakamoto?
       15                       MR. KASS:     Object to form.
       16               A.      I think the only thing I was --
       17       again, I have to say my recollection of who
       18       told me what when is fuzzy.          So --
       19               Q.      But you recall --
       20               A.      I do recall Craig saying that he
       21       and David worked together, and I do recall him
       22       getting emotional when recalling Dave.
       23               Q.      In the context --
       24                       MR. KASS:     I think he's still --
       25               Vel, the witness is in the middle of
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                                                                         Page 369
         1              answering still.
         2              A.      So I'm not -- at this point, I'm
         3      not sure my memory is any more clear than being
         4      able to say I'm reasonably certain that they
         5      worked together.       Beyond that -- for example,
         6      the one-third of Satoshi Nakamoto phrase, I
         7      can't say for certain that Craig Wright ever
         8      said that to me.
         9              Q.      But you have a reasonably --
       10       you're reasonably -- sorry, let me strike that.
       11                       Is it more likely than not that he
       12       told you that?
       13                       MR. KASS:     Object to form.
       14               A.      I don't know.
       15               Q.      Is it less likely than not?
       16                       MR. KASS:     Object to form.
       17               A.      Again, I don't know.        You're
       18       asking me to judge my own memory, and I'm --
       19       I'm a skeptic.      I've seen the research on how
       20       fallible our memories are.         So I'm not a --
       21               Q.      Let's do this --
       22               A.      -- good judge.
       23               Q.      Sorry, go ahead finish.
       24               A.      I'm just not a good judge of my
       25       own certainty of my own memory.
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                                                                         Page 370
         1              Q.      I understand that you can't swear
         2      to that this happened exactly as you recall it.
         3                      Let me ask you the question this
         4      way:    Do you have a memory of Craig Wright
         5      telling you that he and Dave Kleiman were each
         6      one-third Satoshi Nakamoto?
         7                      MR. KASS:     Object to form.
         8              A.      No, I don't --
         9              Q.      I understand you can't -- I
       10       understand you can't swear that that's exactly
       11       what happened.      But do you recall that
       12       happening?
       13                       MR. KASS:     Same objection.
       14               A.      No, I don't have a clear memory of
       15       that happening.
       16               Q.      So yesterday you testified that
       17       you recall this occurring.         Where did that come
       18       from?
       19                       MR. KASS:     Object to form.
       20               A.      Uh, uh, uh...
       21               Q.      In fact, yesterday you said it was
       22       particularly prominent in your mind because you
       23       remember him getting emotional about it.             It's
       24       not every day that you see a grown man crying.
       25                       Did you make up the testimony
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                                                                         Page 371
         1      yesterday that you recall Craig telling you
         2      that?
         3                      MR. KASS:     Wait.    Vel, if you're
         4              purporting to read from the
         5              transcript --
         6                      MR. FREEDMAN:      Zalman --
         7                      MR. KASS: -- we're going to have
         8              the same issue.
         9                      MR. FREEDMAN:      Zalman, I'm going
       10               to -- Zalman, you have to keep your
       11               objection to form just like you asked me
       12               to.
       13                       MR. KASS:     Yes, and like you
       14               didn't do it.
       15       BY MR. FREEDMAN:
       16               Q.      Mr. Andresen, did you make up that
       17       memory in your mind, or did you have a memory
       18       you were thinking about when you testified
       19       about that yesterday?
       20                       MR. KASS:     Object to form.
       21               A.      It's very possible that that
       22       memory is spurious, made up.          It's an
       23       amalgamation of things that I've heard.             That's
       24       very possible.      I don't have a --
       25               Q.      Did you have --
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                                                                         Page 372
         1              A.        I have --
         2              Q.        But you do have a memory?
         3              A.        I have --
         4                        MR. KASS:   Object to form.
         5              A.        I have two memories that are
         6      fuzzy.       Well, I have one memory that is clear,
         7      and that's of Craig Wright getting emotional
         8      when talking about Dave Kleiman.           That's a
         9      fairly clear memory.
       10                        I have a less clear memory about
       11       Craig saying that there were three main people
       12       involved.      I don't have any clear memory of the
       13       phrase one-third coming up.          But three
       14       people -- I do have a vague memory of him
       15       talking about three people, and that the third
       16       mysterious person helped out with the
       17       cryptography.      That's a clear-ish memory.
       18                        Beyond that, everything is fuzz.
       19               Q.       Let's break that down a bit.         You
       20       have a clear memory of Craig telling you there
       21       was a third person who helped out with
       22       cryptography behind the Satoshi Nakamoto
       23       persona; is that fair?
       24                        MR. KASS:    Object to form.
       25               A.       A fairly clear memory.        Again,
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                                                                           Page 373
         1      it's four years ago, and my memory is
         2      infamously bad.
         3              Q.      I understand.      I just want to get
         4      to where -- I just want to get to what you
         5      remember.     I understand you're disclaiming
         6      necessarily the accuracy of your memory.             But
         7      let's just talk about what is in your memory.
         8                      In your memory it's fair to say
         9      there is a particularly clear or fairly clear
       10       memory of Craig Wright telling you that there
       11       was a third person behind the Satoshi Nakamoto
       12       persona that was mysterious or a mystery person
       13       who helped out with the cryptography.
       14                       Is that a fair characterization --
       15                       MR. KASS:     Object to form.
       16               Q.      -- of your memory?
       17               A.      I think that's what I just said,
       18       yes.
       19               Q.      Okay.    Now, necessarily that means
       20       there were two other people; is that fair?
       21                       MR. KASS:     Object to form.
       22               A.      Yes.
       23               Q.      And you have a fairly clear memory
       24       that one of those three people was Craig Wright
       25       and the other was Dave Kleiman?
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                                                                         Page 374
         1                      MR. KASS:     Object to form.
         2              Q.      Is that fair?
         3                      MR. KASS:     Object to form.
         4              A.      Yes, I think that's fair.
         5              Q.      Okay.    When you met with
         6      Dr. Wright and in your correspondence with
         7      Dr. Wright via e-mail -- let me strike that.
         8                      In all of your correspondence and
         9      interactions with Dr. Wright, do you think it's
       10       fair to say that he led you to believe that he
       11       was wealthy?
       12                       MR. KASS:     Object to form.
       13               A.      Yes, I'd say that's fair to say.
       14               Q.      And is it fair to say that during
       15       those interactions he led you to believe that
       16       he owned Satoshi's Bitcoin?
       17                       MR. KASS:     Object to form.
       18               A.      Yes.
       19               Q.      And do you think it's fair to say
       20       that during those interactions he led you to
       21       believe that he had significant resources?
       22                       MR. KASS:     Object to form.
       23               A.      Maybe.    And the only reason I say
       24       maybe is because he was working with EITC, or
       25       appeared to be working with EITC.           And so if he
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         1      had infinite -- near infinite resources or, you
         2      know, lots and lots of resources, then it's not
         3      clear why he was working with the so-called
         4      money men.
         5              Q.      Right.
         6                      MR. FREEDMAN:      No further
         7              questions.
         8                      MR. KASS:     All right.     So, Vel, I
         9              have probably five, maybe ten, minutes
       10               of questioning.
       11                       MR. FREEDMAN:      All right.     I just
       12               want to point out that I was under the
       13               half-hour that I said I reserved.
       14                       MR. KASS:     Yeah.    That is
       15               impressive.     Well, what if we deduct the
       16               time you needed to get your things set
       17               up.   Anyways...
       18       EXAMINATION
       19       BY MR. KASS:
       20               Q.      Do you recall being asked
       21       questions about Calvin Ayre?
       22               A.      Just now?
       23               Q.      Yes.
       24               A.      Yes.
       25               Q.      And do you recall being asked
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                                                                         Page 376
         1      whether you would be surprised if he was
         2      involved in this reveal story in some manner?
         3              A.      Yes.
         4              Q.      And do you recall testifying that
         5      you wouldn't be surprised?
         6              A.      Not particularly.       It would be
         7      interesting.
         8              Q.      Mm-hmm.
         9              A.      Unexpected.
       10               Q.      Mm-hmm.
       11               A.      I'm not sure I would go as far as
       12       to say surprising.
       13               Q.      Okay.    And do you recall stating
       14       something that this whole thing is weird, to
       15       that extent?
       16               A.      This whole thing is definitely
       17       weird, yes.
       18               Q.      So would you be surprised if, I
       19       don't know, maybe the government is somehow
       20       involved in all of this?
       21               A.      That would surprise me.
       22               Q.      Okay.    Well, let me ask you this:
       23       Do you have any reason to believe that Calvin
       24       Ayre actually was behind this whole reveal?
       25               A.      No.
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         1              Q.      All right.     So it's just like it
         2      could be, and it takes a lot to surprise you.
         3              A.      Yes.
         4              Q.      And do you recall whether
         5      throughout all of the exhibits you were shown
         6      today any of them were from Calvin Ayre?
         7              A.      I don't believe any of them were.
         8              Q.      And also all the exhibits you were
         9      shown yesterday; is that accurate?
       10               A.      Correct.     None of them I don't
       11       think mentioned Calvin Ayre.
       12               Q.      Did you ever meet Calvin Ayre?
       13               A.      I never heard of Calvin Ayre until
       14       a couple years ago, as far as I know.
       15               Q.      And by "a couple of years ago," is
       16       that after you had a proof session in London
       17       with Dr. Wright?
       18               A.      I believe so.      Yeah, I don't think
       19       I had ever run across Calvin Ayre.           And I've
       20       never -- as far as I know, I have never met him
       21       personally.
       22               Q.      Now -- this is where it gets
       23       tough -- counsel for Plaintiffs read to you
       24       what they stated was an e-mail between
       25       Dr. Wright and Dave Kleiman's father.
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         1                      Do you recall that?
         2              A.      Yes.
         3              Q.      Have you ever seen that e-mail?
         4              A.      No.
         5              Q.      And they asked if the contents of
         6      that e-mail were similar to things Dave Wright
         7      had told you -- that Craig Wright had told you?
         8              A.      Yes.
         9              Q.      In what way are they similar?
       10               A.      Just the fact that Craig told me
       11       that he and Dave had worked together in the
       12       past.
       13               Q.      Okay.    So that's -- is that the
       14       only connection between that e-mail and what
       15       Craig had told you in the past?
       16               A.      Yes.
       17               Q.      And that's the similarity that you
       18       were referring to?
       19               A.      Yes.
       20               Q.      Okay.    Now, you mentioned
       21       something about a memory amalgamation.
       22                       What do you believe that to be
       23       when you state that?
       24               A.      Memories are fluid.        We think we
       25       remember things that we don't, and we're very
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         1      good at putting together multiple memories into
         2      what we think is one memory.          So that's what I
         3      mean by that.
         4                      It's very easy to hear things from
         5      four different places and then think it's all
         6      one memory that you personally experienced when
         7      you didn't actually personally experience it.
         8              Q.      And are you aware of any factors
         9      that can make a memory amalgamation more likely
       10       to occur?
       11               A.      Sure.    If you're tired.       If you're
       12       stressed.     If you're not paying attention,
       13       because it's, you know, not something that you
       14       think you might need to pay attention to.             All
       15       of those things I think contribute to having a
       16       worse memory of an event.
       17               Q.      And could the frequency of talking
       18       about a certain event or getting information
       19       about it also impact a likelihood of a memory
       20       amalgamation?
       21               A.      Sure.    I think there are very good
       22       studies about the events of our childhood that
       23       are retold in stories.        And if you look at how
       24       accurate they actually turn out to be, they're
       25       usually not very accurate at all because each
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         1      retelling changes the memory of it.
         2              Q.      And have you talked a few times
         3      about this proof session to different people?
         4              A.      Yes, I have talked a few times
         5      about the proof session.
         6              Q.      And you've received information
         7      from different people also, correct?
         8              A.      Yes.    There has been a lot of kind
         9      of public articles and Reddit posts and
       10       discussion and debate about it, yes.
       11               Q.      And have you been reading those
       12       articles and posts?
       13               A.      I have read many of them, yes.
       14               Q.      And could it be that through all
       15       of that, all that you read, sort of filtered
       16       into your memory and made an amalgamation?
       17               A.      That's very possible.        Yes.
       18               Q.      And you certainly can't state with
       19       certainty that that did not happen?
       20               A.      I cannot.
       21               Q.      And one thing I want to clear up
       22       is my understanding is you have two memories
       23       with regards to when you were in London with
       24       Dr. Wright.     Two primary memories -- yeah, with
       25       Dr. Wright, "I have two primary memories."             Is
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         1      that accurate?
         2              A.      Well, I have --
         3              Q.      Let me -- I'll narrow it a little
         4      bit because I'm sure you remember a lot of
         5      stuff.
         6              A.      Yes.
         7              Q.      With regards to Dave Kleiman,
         8      okay, or the identity of Satoshi, do you have
         9      two primary memories?
       10               A.      That's probably accurate, yes.
       11               Q.      Okay.    And what are those two
       12       primary memories?
       13               A.      The two primary memories are I do
       14       remember that Dr. Wright expressed emotion; he
       15       expressed sadness when the subject of Dave
       16       Kleiman came up.
       17               Q.      Okay.
       18               A.      I don't recall how the subject
       19       came up.
       20               Q.      Okay.
       21               A.      And then I do -- I think I recall
       22       Dr. Wright saying that there was a third person
       23       involved somehow in the beginning that helped
       24       him with some of the cryptography, because he
       25       was not himself a cryptographer.
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                                                                         Page 382
         1              Q.      Okay.
         2              A.      And I remember that discussion
         3      because I had said in an interview previously
         4      that Satoshi was not a cryptographer, and I
         5      believe that came up with Craig and him saying
         6      you're right about that.         I was not a
         7      cryptographer.      There was somebody else that
         8      helped me with the cryptography.
         9              Q.      And are those the two memories
       10       that you remember?
       11               A.      Yes.
       12               Q.      Now, let me ask you, if throughout
       13       the deposition -- you've testified numerous
       14       hours yesterday, correct?
       15               A.      Yes.
       16               Q.      And a few hours today?
       17               A.      Yes.
       18               Q.      If throughout those tellings -- if
       19       throughout that time period those memories have
       20       changed over time, what would you chalk that up
       21       to?
       22                       MR. FREEDMAN:      Objection.
       23               A.      I would --
       24               Q.      What would that mean to you?
       25               A.      That would just reinforce my
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                                                                         Page 383
         1      belief --
         2                      MR. FREEDMAN:      Objection.
         3              A.      -- that our memories are fallible,
         4      and I am no more infallible than any other
         5      human being.      And that, in my opinion, the
         6      written documents of the time are more accurate
         7      than what I remember.
         8                      So anything that I wrote down at
         9      the time, or near the time, is almost certainly
       10       more accurate than what I remember.
       11               Q.      Okay.    So, for example, if we go
       12       to Exhibit 73 and there it says, is written, in
       13       less than a month after you had that reveal
       14       with Dr. Wright and you said, beyond that,
       15       Dr. Wright works with David, I don't know much,
       16       that would be more accurate than your current
       17       memory?
       18               A.      Most likely, yes.
       19               Q.      And if you were to put a blog post
       20       up a few weeks after the reveal where you said
       21       Craig Wright is the person behind Satoshi, that
       22       would also be more accurate?
       23               A.      Well --
       24               Q.      Other than you may have learned
       25       things after.
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         1              A.      Yeah, I've learned things after
         2      that give me doubts.
         3              Q.      Right.    But as far as the --
         4              A.      What I believed at the time --
         5              Q.      Exactly, yes.      What you believed
         6      back then.
         7              A.      -- that -- yes, that more
         8      accurately reflects what I believed at the
         9      time.
       10               Q.      Okay.    And would you feel
       11       comfortable telling the jury in this case that
       12       Dr. Wright told you Dave was one-third Satoshi?
       13               A.      No.
       14                       MR. FREEDMAN:      Objection to form.
       15                       MR. KASS:     I'm done.
       16                       MR. FREEDMAN:      I just have one
       17               question.
       18                       MR. KASS:     Okay.
       19       EXAMINATION
       20       BY MR. FREEDMAN:
       21               Q.      Mr. Andresen, would you feel
       22       comfortable telling -- well, let me strike
       23       that.    Actually, I have one -- a couple more
       24       than one question.
       25                       Do you believe that everything you
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         1      said today is your best attempt to tell the
         2      truth?
         3              A.      Yes.
         4              Q.      And so your testimony to me
         5      earlier that you have a reasonably clear memory
         6      was your attempt to tell the truth?
         7              A.      Yes.
         8              Q.      And you just can't be sure of the
         9      accuracy of that memory; is that right?
       10               A.      That's correct.
       11               Q.      So you would be comfortable, then,
       12       would you not, with the jury hearing the entire
       13       presentation of the story; that you have this
       14       memory that you can't be sure is correct.             Is
       15       that fair?
       16               A.      Sure.
       17               Q.      And, Mr. Andresen, is there
       18       anything inconsistent between the statement
       19       Craig said that he worked with Dave, and Craig
       20       and Dave each being one-third of the Satoshi
       21       Nakamoto team?
       22               A.      No.    Those would be consistent
       23       statements.
       24                       MR. FREEDMAN:      I have no further
       25               questions.
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         1                       MR. KASS:    I have one, maybe two
         2              follow-ups.
         3      EXAMINATION
         4      BY MR. KASS:
         5              Q.       So, Mr. Andresen, when you say
         6      those statements aren't inconsistent, is that
         7      consistent as we've been talking about it
         8      earlier on today?
         9              A.       Yes, that's consistent in that
       10       they don't contradict each other.
       11               Q.       Right.    But it doesn't mean that
       12       it was actually said.
       13               A.       Correct.
       14               Q.       Now, you were asked about this
       15       memory which was stated reasonably clear --
       16       that was that you had a reasonably clear
       17       memory.      Do you recall earlier stating it was a
       18       fuzzy memory?
       19               A.       I don't recall, but it's very
       20       possible that I contradicted myself.
       21               Q.       Is that because memory is --
       22               A.       That's because memory is fuzzy.
       23               Q.       Okay.    Now, if you were the jury,
       24       would you feel comfortable relying on that
       25       fuzzy memory in determining the outcome of this
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         1      type of case?
         2                      MR. FREEDMAN:      Objection.
         3              A.      If I was on a jury, no.
         4              Q.      Okay.
         5              A.      I would be skeptical of any memory
         6      longer than events that happened a week ago,
         7      frankly.
         8              Q.      And is this also in particular
         9      knowing your own memory?
       10                       MR. FREEDMAN:      Objection.
       11               A.      Yes.    My wife can tell you all
       12       about how poor my memory tends to be.
       13               Q.      Do you believe your memory is also
       14       suggestible?
       15               A.      Yes, I believe everybody's memory
       16       is suggestible.
       17                       MR. KASS:     That's all I have.
       18                       MR. FREEDMAN:      Just objection to
       19               that last question.       And I have no
       20               further questions.
       21                       MR. KASS:     All right.     I think we
       22               are done.
       23                       VIDEO TECHNICIAN:       The time now is
       24               1:41 p.m., and we're coming to the end
       25               of media unit number two, and we have
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         1              reached the end of today's deposition
         2              with Gavin Andresen.       We are off the
         3              record.
         4                      (Discussion off the record)
         5                      MR. FREEDMAN:      Mr. Andresen, you
         6              have a right to read your deposition
         7              transcript and correct any errors you
         8              think, if, you know, the court reporter
         9              took down yes and you said no, that sort
       10               of thing, you can correct those errors.
       11               Or you can rely on the fact that she got
       12               her job right and there is a video and
       13               waive the right to review that
       14               deposition transcript.
       15                       Which would you like to do?
       16                       THE WITNESS:      I'd like to waive
       17               that right.
       18                       MR. KASS:     Now, I just have one
       19               other question.      But, Mr. Andresen, you
       20               did state that you wanted to designate
       21               certain portions as confidential, that
       22               would require you to read the
       23               deposition, unless you want to state you
       24               want the whole thing confidential.
       25                       THE WITNESS:      I would like the
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         1              whole thing to be confidential.
         2                      MR. KASS:     All right.     I think
         3              that's it, Vel.      Unless you have
         4              anything.
         5                      MR. FREEDMAN:      Nope.
         6                      MR. KASS:     Okay.
         7                      MR. FREEDMAN:      Thank you.
         8                      (Time Noted: 1:42 p.m.)
         9
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                                                                         Page 390
         1                   C E R T I F I C A T E
         2
         3      COMMONWEALTH OF MASSACHUSETTS
         4      SUFFOLK, SS.
         5                   I, MaryJo O'Connor, a Notary Public
         6      in and for the Commonwealth of
         7      Massachusetts, do hereby certify:
         8                   That GAVIN ANDRESEN, the witness
         9      whose testimony is hereinbefore set forth,
       10       was duly sworn by me and that such testimony
       11       is a true and accurate record of my
       12       stenotype notes taken in the foregoing
       13       matter to the best of my knowledge, skill
       14       and ability.
       15                    IN WITNESS WHEREOF, I have hereunto
       16       set my hand and Notarial Seal this 29th day
       17       of February 2020.
       18
       19
       20
       21                          MARYJO O'CONNOR, RDR/RMR
       22                                   Notary Public
       23
       24       My Commission expires:
       25       September 12, 2025
